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In re            USA Commercial Mortgage Company                      ,                                                                      Case No. 06-10725-LBR
                                   Debtor                                                                                                                 (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                              Current Market Value of
                                                                                                                                                Debtor's Interest in
                                                            Description and Location of Property                                                     Property


                                Legal vesting                                      Mailing Address                    Loan Name                Amount     Contingent
        Michael D. Stewart & Mary Jude Stewart Trustees of the Stewart 15 Vista Mirage Way           Fiesta Oak Valley                        Unknown         Y
        Family Trust dated 1/15/98                                      Rancho Mirage, CA 92270
        Michael D. Stewart & Mary Jude Stewart Trustees of the Stewart 15 Vista Mirage Way           HFA- Clear Lake                          Unknown         Y
        Family Trust dated 1/15/98                                      Rancho Mirage, CA 92270
        Michael D. Work and Stacy Snyder, husband and wife, as joint    1406 River Road              Riviera - Homes for America Holdings,    Unknown         Y
        tenants with the rights of survivorship                         Selkirk, NY 12158            L.L.C.
        Michael Dashosh & Elizabeth Dashosh, husband & wife, as joint 8019 160th Avenue              6425 Gess, LTD                           Unknown         Y
        tenants with rights of survivorship                             Howard Beach, NY 11414
        Michael Dashosh & Elizabeth Dashosh, husband & wife, as joint 8019 160th Avenue              Amesbury/Hatters Point                   Unknown         Y
        tenants with rights of survivorship                             Howard Beach, NY 11414
        Michael Dashosh & Elizabeth Dashosh, husband & wife, as joint 8019 160th Avenue              Bay Pompano Beach                        Unknown         Y
        tenants with rights of survivorship                             Howard Beach, NY 11414
        Michael Dashosh & Elizabeth Dashosh, husband & wife, as joint 8019 160th Avenue              Gilroy                                   Unknown         Y
        tenants with rights of survivorship                             Howard Beach, NY 11414
        Michael Donahue, a married man, as his sole & separate property 1795 Newhall Avenue          Marlton Square                           Unknown         Y
                                                                        Cambria, CA 93428
        Michael Donahue, a married man, as his sole & separate property 1795 Newhall Avenue          Gramercy Court Condos                    Unknown         Y
                                                                        Cambria, CA 93428
        Michael Donahue, a married man, as his sole & separate property 1795 Newhall Avenue          Gateway Stone                            Unknown         Y
                                                                        Cambria, CA 93428
        Michael E. Hartley, a single man & Julee Hillenbrand, a single  P.O. Box 11253               Gramercy Court Condos                    Unknown         Y
        wormen, as joint tenants with right of survivorship             Zephyr Cove, Nv 89448
        Michael E. Joyner & Stephanie M. Joyner, Trustees of the 1988 PO Box 110                     Anchor B, LLC                            Unknown         Y
        Joyner Family Trust dtd 12-29-88                                Gunlock, UT 84733
        Michael E. Pile, a single man                                   10225 Coyote Creek Drive     Amesbury/Hatters Point                   Unknown         Y
                                                                        Reno, NV 89521
        Michael E. Pile, a single man                                   10225 Coyote Creek Drive     Gramercy Court Condos                    Unknown         Y
                                                                        Reno, NV 89521
        Michael E. Pile, a single man                                   10225 Coyote Creek Drive     HFA- North Yonkers                       Unknown         Y
                                                                        Reno, NV 89521
        Michael E. Reynolds and Teresa Reynolds, husband and wife, as 8119 Pinnacle Peak             Gramercy Court Condos                    Unknown         Y
        joint tenants with the rights of survivorship                   Las Vegas, NV 89113
        Michael E. Reynolds and Teresa Reynolds, husband and wife, as 8119 Pinnacle Peak             Cabernet                                 Unknown         Y
        joint tenants with the rights of survivorship                   Las Vegas, NV 89113
        Michael E. Reynolds and Teresa Reynolds, husband and wife, as 8119 Pinnacle Peak             Riviera - Homes for America Holdings,    Unknown         Y
        joint tenants with the rights of survivorship                   Las Vegas, NV 89113          L.L.C.
        Michael E. Reynolds and Teresa Reynolds, husband and wife, as 8119 Pinnacle Peak             Bay Pompano Beach                        Unknown         Y
        joint tenants with the rights of survivorship                   Las Vegas, NV 89113
        Michael Eugene Pinney, a single man                             1122 Washington Ave.         Shamrock Tower, LP                       Unknown         Y
                                                                        Greenville, OH 45331
        Michael Eugene Pinney, a single man                             1122 Washington Ave.         Placer Vineyards                         Unknown         Y
                                                                        Greenville, OH 45331
        Michael Eugene Pinney, a single man                             1122 Washington Ave.         Huntsville                               Unknown         Y
                                                                        Greenville, OH 45331
        Michael Eugene Pinney, a single man                             1122 Washington Ave.         6425 Gess, LTD                           Unknown         Y
                                                                        Greenville, OH 45331
        Michael H. Greeley Trustee of the Michael Greeley Trust dated 5631 Granary Way               Amesbury/Hatters Point                   Unknown         Y
        7/27/00                                                         Athens , AL 35611
        Michael H. Greeley Trustee of the Michael Greeley Trust dated 5631 Granary Way               Amesbury/Hatters Point                   Unknown         Y
        7/27/00                                                         Athens, AL 35611
        Michael H. Greeley Trustee of the Michael Greeley Trust dated 5631 Granary Way               Ten-Ninety, Ltd./$4,150,000              Unknown         Y
        7/27/00                                                         Athens , AL 35611
        Michael H. Greeley Trustee of the Michael Greeley Trust dated 5631 Granary Way               Ten-Ninety, Ltd./$4,150,000              Unknown         Y
        7/27/00                                                         Athens, AL 35611
        Michael H. Greeley Trustee of the Michael Greeley Trust dated 5631 Granary Way               HFA- Clear Lake                          Unknown         Y
        7/27/00                                                         Athens , AL 35611
        Michael H. Greeley Trustee of the Michael Greeley Trust dated 5631 Granary Way               HFA- Clear Lake                          Unknown         Y
        7/27/00                                                         Athens, AL 35611
        Michael H. Greeley Trustee of the Michael Greeley Trust dated 5631 Granary Way               Eagle Meadows Development                Unknown         Y
        7/27/00                                                         Athens , AL 35611




SCHEDULES                                                                           Exhibit B-21                                                           PAGE 176
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In re            USA Commercial Mortgage Company                      ,                                                                      Case No. 06-10725-LBR
                                   Debtor                                                                                                                 (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                              Current Market Value of
                                                                                                                                                Debtor's Interest in
                                                            Description and Location of Property                                                     Property


                                Legal vesting                                      Mailing Address                    Loan Name                Amount     Contingent
        Michael H. Greeley Trustee of the Michael Greeley Trust dated 5631 Granary Way               Eagle Meadows Development                Unknown         Y
        7/27/00                                                          Athens, AL 35611
        Michael H. Greeley Trustee of the Michael Greeley Trust dated 5631 Granary Way               Freeway 101                              Unknown         Y
        7/27/00                                                          Athens , AL 35611
        Michael H. Greeley Trustee of the Michael Greeley Trust dated 5631 Granary Way               Freeway 101                              Unknown         Y
        7/27/00                                                          Athens, AL 35611
        Michael H. Ricci, a married man dealing with his sole & separate 1204 Camballeria Drive      Lerin Hills                              Unknown         Y
        property                                                         Carson City, NV 89701
        Michael H. Ricci, a married man dealing with his sole & separate 1204 Camballeria Drive      Placer Vineyards 2nd                     Unknown         Y
        property                                                         Carson City, NV 89701
        Michael H. Ricci, a married man dealing with his sole & separate 1204 Camballeria Drive      Bay Pompano Beach                        Unknown         Y
        property                                                         Carson City, NV 89701
        Michael H. Ricci, a married man dealing with his sole & separate 1204 Camballeria Drive      Cabernet                                 Unknown         Y
        property                                                         Carson City, NV 89701
        Michael Hadjigeorgalis and Brenda G. Hadjigeorgalis, Husband 1 Councilman Avenue             Bay Pompano Beach                        Unknown         Y
        and wife as tenants in common                                    Baltimore, MD 21206
        Michael Hadjigeorgalis and Brenda G. Hadjigeorgalis, Husband 1 Councilman Avenue             Gateway Stone                            Unknown         Y
        and wife as tenants in common                                    Baltimore, MD 21206
        Michael Hedlund & Carol Hedlund, husband & wife, as joint        130 East Adams PO Box 823   Fiesta USA/Stoneridge                    Unknown         Y
        tenants with right of survivorship                               O'Neill, NE 68763
        Michael Hedlund & Carol Hedlund, husband & wife, as joint        130 East Adams PO Box 823   Tapia Ranch                              Unknown         Y
        tenants with right of survivorship                               O'Neill, NE 68763
        Michael Hedlund & Carol Hedlund, husband & wife, as joint        130 East Adams PO Box 823   Brookmere/Matteson $27,050,000           Unknown         Y
        tenants with right of survivorship                               O'Neill, NE 68763
        Michael Hilgenberg & Shellie Hilgenberg, husband & wife, as      370 Pinecrest Dr            HFA- North Yonkers                       Unknown         Y
        joint tenants with right of survivorship                         Laguna Beach, CA 92651
        Michael Hilgenberg & Shellie Hilgenberg, husband & wife, as      370 Pinecrest Dr            HFA- North Yonkers                       Unknown         Y
        joint tenants with right of survivorship                         Laguna beach, CA 92651
        Michael Hilgenberg & Shellie Hilgenberg, husband & wife, as      370 Pinecrest Dr            Placer Vineyards                         Unknown         Y
        joint tenants with right of survivorship                         Laguna Beach, CA 92651
        Michael Hilgenberg & Shellie Hilgenberg, husband & wife, as      370 Pinecrest Dr            Placer Vineyards                         Unknown         Y
        joint tenants with right of survivorship                         Laguna beach, CA 92651
        Michael Hilgenberg & Shellie Hilgenberg, husband & wife, as      370 Pinecrest Dr            Wasco Investments                        Unknown         Y
        joint tenants with right of survivorship                         Laguna Beach, CA 92651
        Michael Hilgenberg & Shellie Hilgenberg, husband & wife, as      370 Pinecrest Dr            Wasco Investments                        Unknown         Y
        joint tenants with right of survivorship                         Laguna beach, CA 92651
        Michael J. Maloney & Jo Ann L. Maloney Trustees of the           2198 Peyten Park St         Margarita Annex                          Unknown         Y
        Michael J. Maloney & Jo Ann L. Maloney Revocable Trust dated Henderson, NV 89052
        12/1/04
        Michael J. McLaws, a single man                                  755 Keokuk Lane             Riviera - Homes for America Holdings,    Unknown         Y
                                                                         Mendota Heights, MN 55120   L.L.C.
        Michael J. McLaws, a single man                                  755 Keokuk Lane             Riviera - Homes for America Holdings,    Unknown         Y
                                                                         Mendota Heights, MN 55120   L.L.C.
        Michael J. McLaws, a single man                                  755 Keokuk Lane             HFA- Windham                             Unknown         Y
                                                                         Mendota Heights, MN 55120
        Michael J. McLaws, a single man                                  755 Keokuk Lane             HFA- Windham                             Unknown         Y
                                                                         Mendota Heights, MN 55120
        Michael J. Messer and Lisa K. Redfern, husband and wife, as      523 Howard Street           6425 Gess, LTD                           Unknown         Y
        joint tenants with the right of survivorship                     Santa Rosa, CA 95404
        Michael J. Pulley & Deborah A. Pulley Trustees of the Pulley     2708 N. Pennington Dr       HFA- North Yonkers                       Unknown         Y
        Living Trust dated 4/30/01                                       Chandler, AZ 85224
        Michael J. Walter & Diane J. Walter, husband & wife, as joint    3 Malachite Road            Gramercy Court Condos                    Unknown         Y
        tenants with right of survivorship                               Yerington, NV 89447
        Michael John Goodwin, an unmarried man                           555 Yellow Pine Rd          Marlton Square                           Unknown         Y
                                                                         Reno, NV 89511
        Michael John Goodwin, an unmarried man                           555 Yellow Pine Rd          Margarita Annex                          Unknown         Y
                                                                         Reno, NV 89511
        Michael John Goodwin, an unmarried man                           555 Yellow Pine Rd          Gramercy Court Condos                    Unknown         Y
                                                                         Reno, NV 89511




SCHEDULES                                                                           Exhibit B-21                                                           PAGE 177
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In re            USA Commercial Mortgage Company                        ,                                                                 Case No. 06-10725-LBR
                                   Debtor                                                                                                              (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                           Current Market Value of
                                                                                                                                             Debtor's Interest in
                                                              Description and Location of Property                                                Property


                                 Legal vesting                                       Mailing Address                    Loan Name           Amount     Contingent
        Michael John Goodwin, an unmarried man                           555 Yellow Pine Rd            BarUSA/$15,300,000                  Unknown         Y
                                                                         Reno, NV 89511
        Michael John Goodwin, an unmarried man                           555 Yellow Pine Rd            Gilroy                              Unknown         Y
                                                                         Reno, NV 89511
        Michael K. M. Au, a married man dealing with his sole and        850 E Desert Inn Rd # PH3     HFA- Clear Lake                     Unknown         Y
        separate property                                                Las Vegas, NV 89109
        Michael K. M. Au, a married man dealing with his sole and        850 E Desert Inn Rd # PH3     Gateway Stone                       Unknown         Y
        separate property                                                Las Vegas, NV 89109
        Michael LaTorra & Joan LaTorra, husband & wife, as joint         42226 N. 10th Avenue          6425 Gess, LTD                      Unknown         Y
        tenants with right of survivorship                               Phoenix, AZ 85086
        Michael LaTorra & Joan LaTorra, husband & wife, as joint         42226 N. 10th Avenue          HFA- Clear Lake                     Unknown         Y
        tenants with right of survivorship                               Phoenix, AZ 85086
        Michael M. Alldredge & Ellen M. Alldredge, husband & wife, as 3270 Socrates Dr                 Hasley Canyon                       Unknown         Y
        joint tenants with right of survivorship                         Reno, NV 89512
        Michael M. Bright & Anne E. Bright, husband & wife, as joint     P. O. Box 883                 HFA- North Yonkers                  Unknown         Y
        tenants with right of survivorship                               Sandwich, MA 2563
        Michael Marinchak and Jennifer Marinchak, husband and wife as 967 Willow Glen Way              Bay Pompano Beach                   Unknown         Y
        joint tenants with the right of survivorship                     San Jose, CA 95125
        Michael Pelczar, M.D., a married man dealing with his sole &     133 River Run                 BarUSA/$15,300,000                  Unknown         Y
        separate property                                                Queenstown, MD 21658
        Michael Percy & Carol Percy Trustees of the Percy Family Trust 1902 Deep Springs Lane          Fiesta Oak Valley                   Unknown         Y
        U/A 9/28/99                                                      Lincoln, CA 95648
        Michael Pezzano & Lisa Pezzano, husband & wife, as joint         2216 Harrison Ave             Hasley Canyon                       Unknown         Y
        tenants with right of survivorship                               Medford, OR 97504
        Michael Pezzano & Lisa Pezzano, husband & wife, as joint         2216 Harrison Ave             Placer Vineyards                    Unknown         Y
        tenants with right of survivorship                               Medford, OR 97504
        Michael Pezzano & Lisa Pezzano, husband & wife, as joint         2216 Harrison Ave             Bay Pompano Beach                   Unknown         Y
        tenants with right of survivorship                               Medford, OR 97504
        Michael Pezzano & Lisa Pezzano, husband & wife, as joint         2216 Harrison Ave             BarUSA/$15,300,000                  Unknown         Y
        tenants with right of survivorship                               Medford, OR 97504
        Michael Pezzano & Lisa Pezzano, husband & wife, as joint         2216 Harrison Ave             Shamrock Tower, LP                  Unknown         Y
        tenants with right of survivorship                               Medford, OR 97504
        Michael R. Brines & Cindy G. Brines Trustees of the Michael R. 4935 El Sereno Ave              BarUSA/$15,300,000                  Unknown         Y
        Brines & Cindy G. Brines Revocable Family Trust U/A dated        La Crescenta, CA 91214
        11/5/94
        Michael R. Brines & Cindy G. Brines Trustees of the Michael R. 4935 El Sereno Ave              Gramercy Court Condos               Unknown         Y
        Brines & Cindy G. Brines Revocable Family Trust U/A dated        La Crescenta, CA 91214
        11/5/94
        Michael R. Brines & Cindy G. Brines Trustees of the Michael R. 4935 El Sereno Ave              Amesbury/Hatters Point              Unknown         Y
        Brines & Cindy G. Brines Revocable Family Trust U/A dated        La Crescenta, CA 91214
        11/5/94
        Michael R. Brines & Cindy G. Brines Trustees of the Michael R. 4935 El Sereno Ave              Harbor Georgetown                   Unknown         Y
        Brines & Cindy G. Brines Revocable Family Trust U/A dated        La Crescenta, CA 91214
        11/5/94
        Michael R. McCartney & Teresa R. McCartney, husband & wife, 7678 East Windrose Dr              Tapia Ranch                         Unknown         Y
        as tenants in common                                             Scottsdale, AZ 85260
        Michael R. Riley and Carol M. Riley Trustees of the Riley        2025 Hot Oak Ridge            Marlton Square                      Unknown         Y
        Family Trust dated 8/12/04                                       Las Vegas, NV 89134
        Michael R. Sparks & Muriel S. Sparks Co-Trustees of the Sparks 1812 Cypress Green Avenue       Tapia Ranch                         Unknown         Y
        Family Trust dated 2/26/93                                       Henderson, NV 89012
        Michael Raichbart and Irit Raichbart, husband and wife, as joint 4450 Enterprise St Ste #107   Margarita Annex                     Unknown         Y
        tenants with the rights of survivorship                          Fremont, CA 94538
        Michael Raichbart and Irit Raichbart, husband and wife, as joint 4450 Enterprise St Ste #107   Shamrock Tower, LP                  Unknown         Y
        tenants with the rights of survivorship                          Fremont, CA 94538
        Michael S. Blau and Shamiran Blau, husband and wife as joint     1204 Palomar Drive            Gramercy Court Condos               Unknown         Y
        tenants with right of survivorship                               Tracy, CA 95377
        Michael S. Blau and Shamiran Blau, husband and wife as joint     1204 Palomar Drive            Gateway Stone                       Unknown         Y
        tenants with right of survivorship                               Tracy, CA 95377
        Michael S. Blau and Shamiran Blau, husband and wife as joint     1204 Palomar Drive            6425 Gess, LTD                      Unknown         Y
        tenants with right of survivorship                               Tracy, CA 95377




SCHEDULES                                                                             Exhibit B-21                                                      PAGE 178
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In re            USA Commercial Mortgage Company                      ,                                                                Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                            Description and Location of Property                                               Property


                                Legal vesting                                      Mailing Address                   Loan Name           Amount     Contingent
        Michael S. Blau and Shamiran Blau, husband and wife as joint     1204 Palomar Drive          Bay Pompano Beach                  Unknown           Y
        tenants with right of survivorship                               Tracy, CA 95377
        Michael S. Freedus & Helen C. Freedus, husband & wife, as joint 2535 Lake Road               6425 Gess, LTD                     Unknown           Y
        tenants with right of survivorship                               Delanson, NY 12053
        Michael S. Freedus & Helen C. Freedus, husband & wife, as joint 2535 Lake Road               6425 Gess, LTD                     Unknown           Y
        tenants with right of survivorship                               Delanson, NY 12053
        Michael S. Freedus & Helen C. Freedus, husband & wife, as joint 2535 Lake Road               Placer Vineyards                   Unknown           Y
        tenants with right of survivorship                               Delanson, NY 12053
        Michael S. Freedus & Helen C. Freedus, husband & wife, as joint 2535 Lake Road               Placer Vineyards                   Unknown           Y
        tenants with right of survivorship                               Delanson, NY 12053
        Michael S. Freedus, DDS, PC Defined Benefit Pension Plan         2535 Lake Road              Eagle Meadows Development          Unknown           Y
                                                                         Delanson, NY 12053
        Michael S. Freedus, DDS, PC Defined Benefit Pension Plan         2535 Lake Road              Eagle Meadows Development          Unknown           Y
                                                                         Delanson, NY 12053
        Michael S. Freedus, DDS, PC Defined Benefit Pension Plan         2535 Lake Road              Harbor Georgetown                  Unknown           Y
                                                                         Delanson, NY 12053
        Michael S. Freedus, DDS, PC Defined Benefit Pension Plan         2535 Lake Road              Harbor Georgetown                  Unknown           Y
                                                                         Delanson, NY 12053
        Michael S. Simcock & Dina M. Simcock, husband & wife, as         7601 Killdeer Way           Lerin Hills                        Unknown           Y
        joint tenants with right of survivorship                         Elk Grove, CA 95758
        Michael S. Simcock & Dina M. Simcock, husband & wife, as         7601 Killldeer Way          Lerin Hills                        Unknown           Y
        joint tenants with right of survivorship                         Elk Grove, CA 95758
        Michael Spinelli, a single man                                   16636 Fairfax Court         Hasley Canyon                      Unknown           Y
                                                                         Tinley Park, IL 60477
        Michael Spinelli, a single man                                   16636 Fairfax Court         Hasley Canyon                      Unknown           Y
                                                                         Tinley Park, IL 60477
        Michael Spinelli, a single man                                   16636 Fairfax Court         Marlton Square 2nd                 Unknown           Y
                                                                         Tinley Park, IL 60477
        Michael Spinelli, a single man                                   16636 Fairfax Court         Marlton Square 2nd                 Unknown           Y
                                                                         Tinley Park, IL 60477
        Michael T. Bridges, Trustee of the Bridges Family Trust          4235 Citrus Circle          Bay Pompano Beach                  Unknown           Y
                                                                         Yorba Linda, CA 92886
        Michael T. Bridges, Trustee of the Bridges Family Trust          4235 Citrus Circle          Eagle Meadows Development          Unknown           Y
                                                                         Yorba Linda, CA 92886
        Michael T. Bridges, Trustee of the Bridges Family Trust          4235 Citrus Circle          Lerin Hills                        Unknown           Y
                                                                         Yorba Linda, CA 92886
        Michael T. Bridges, Trustee of the Bridges Family Trust          4235 Citrus Circle          Margarita Annex                    Unknown           Y
                                                                         Yorba Linda, CA 92886
        Michael T. Bridges, Trustee of the Bridges Family Trust          4235 Citrus Circle          Marquis Hotel                      Unknown           Y
                                                                         Yorba Linda, CA 92886
        Michael T. Heffner & Barbara C. Heffner Trustees of the Heffner 1705 Caughlin Creek Road     HFA- Clear Lake                    Unknown           Y
        Family Trust dated 9/10/02                                       Reno, NV 89509
        Michael T. Heffner & Barbara C. Heffner Trustees of the Heffner 1705 Caughlin Creek Road     Shamrock Tower, LP                 Unknown           Y
        Family Trust dated 9/10/02                                       Reno, NV 89509
        Michael T. McGrath Trustee of the 2001 Michael T. McGrath        66 Schanda Dr               6425 Gess, LTD                     Unknown           Y
        Revocable Trust dated 12/11/01                                   New Market, NH 3857
        Michael T. McGrath Trustee of the 2001 Michael T. McGrath        66 Schanda Dr               Freeway 101                        Unknown           Y
        Revocable Trust dated 12/11/01                                   New Market, NH 3857
        Michael T. McGrath Trustee of the 2001 Michael T. McGrath        66 Schanda Dr               HFA- Riviera 2nd                   Unknown           Y
        Revocable Trust dated 12/11/01                                   New Market, NH 3857
        Michael Tarr, a single man                                       2812 Toronja Way            Placer Vineyards                   Unknown           Y
                                                                         Sacramento, CA 95833
        Michael W. Carlton & Helen I. Carlton, husband & wife, as joint 416 North 10th               Brookmere/Matteson $27,050,000     Unknown           Y
        tenants with right of survivorship                               Blythe, CA 92225
        Michael W. Cecil, a married man dealing with his sole & separate 899 Timberlake Drive        Placer Vineyards                   Unknown           Y
        property                                                         Ashland, OR 97520
        Michael W. Cecil, a married man dealing with his sole & separate 899 Timberlake Drive        Placer Vineyards                   Unknown           Y
        property                                                         Ashland, OR 97520
        Michaelian Holdings, LLC, a Nevada limited liability company 413 Canyon Greens Drive         HFA- North Yonkers                 Unknown           Y
                                                                         Las Vegas, NV 89144




SCHEDULES                                                                           Exhibit B-21                                                     PAGE 179
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In re            USA Commercial Mortgage Company                        ,                                                                 Case No. 06-10725-LBR
                                   Debtor                                                                                                              (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                           Current Market Value of
                                                                                                                                             Debtor's Interest in
                                                              Description and Location of Property                                                Property


                                 Legal vesting                                       Mailing Address                    Loan Name           Amount     Contingent
        Michaelian Holdings, LLC, a Nevada limited liability company     413 Canyon Greens Drive       Placer Vineyards                    Unknown         Y
                                                                         Las Vegas, NV 89144
        Michaelian Holdings, LLC, a Nevada limited liability company 413 Canyon Greens Drive           Marquis Hotel                       Unknown         Y
                                                                         Las Vegas, NV 89144
        Michaelian Holdings, LLC, a Nevada limited liability company 413 Canyon Greens Drive           Huntsville                          Unknown         Y
                                                                         Las Vegas, NV 89144
        Michaelian Holdings, LLC, a Nevada limited liability company 413 Canyon Greens Drive           HFA- Clear Lake                     Unknown         Y
                                                                         Las Vegas, NV 89144
        Michaelian Holdings, LLC, a Nevada limited liability company 413 Canyon Greens Drive           Ashby Financial $7,200,000          Unknown         Y
                                                                         Las Vegas, NV 89144
        Michaelian Holdings, LLC, a Nevada limited liability company 413 Canyon Greens Drive           Amesbury/Hatters Point              Unknown         Y
                                                                         Las Vegas, NV 89144
        Michaelian Holdings, LLC, a Nevada limited liability company 413 Canyon Greens Drive           Margarita Annex                     Unknown         Y
                                                                         Las Vegas, NV 89144
        Michaelian Holdings, LLC, a Nevada limited liability company 413 Canyon Greens Drive           Brookmere/Matteson $27,050,000      Unknown         Y
                                                                         Las Vegas, NV 89144
        Michaelian Holdings, LLC, a Nevada limited liability company 413 Canyon Greens Drive           Clear Creek Plantation              Unknown         Y
                                                                         Las Vegas, NV 89144
        Michel Tessel. an unmarried man, Jean-Jacques Berthelot with     9328 Sienna Vista Drive       Bay Pompano Beach                   Unknown         Y
        POA                                                              Las Vegas, NV 89117
        Michele Gilbert Custodian For Lauren J. Gilbert & Erin M.        3331 S. Park Street           Gramercy Court Condos               Unknown         Y
        Gilbert, her minor children                                      Las Vegas, NV 89117
        Michele Gilbert Custodian For Lauren J. Gilbert & Erin M.        3331 S. Park Street           Gramercy Court Condos               Unknown         Y
        Gilbert, her minor children                                      Las Vegas, NV 89117
        Michele Gilbert Custodian For Lauren J. Gilbert, her minor child 3331 S. Park Street           Brookmere/Matteson $27,050,000      Unknown         Y
                                                                         Las Vegas, NV 89117
        Michele Gilbert Custodian For Lauren J. Gilbert, her minor child 3331 S. Park Street           Brookmere/Matteson $27,050,000      Unknown         Y
                                                                         Las Vegas, NV 89117
        Michele Spinelli Trustee of the Giovanni Spinelli Trust          16636 Fairfax Court           HFA-Clear Lake 2nd                  Unknown         Y
                                                                         Tinley Park, IL 60477
        Michelle Buys, a single woman                                    P O Box 3715                  BarUSA/$15,300,000                  Unknown         Y
                                                                         Olympic Valley, CA 96146
        Mieko Donovan & Richard Donovan, as joint tenants with right 3603 Herring Gull LAne            Marlton Square                      Unknown         Y
        of survivorship                                                  North Las Vegas, NV 89084
        Mieko Donovan & Richard Donovan, as joint tenants with right 3603 Herring Gull LAne            HFA- Clear Lake                     Unknown         Y
        of survivorship                                                  North Las Vegas, NV 89084
        Mike Wagnon, a married man dealing with his sole & separate      1613 Laskin Rd.               Hasley Canyon                       Unknown         Y
        property                                                         Virginia Beach, VA 23451
        Mike Wagnon, a married man dealing with his sole & separate      1613 Laskin Rd.               Margarita Annex                     Unknown         Y
        property                                                         Virginia Beach, VA 23451
        Miklos Steuer Trustee of the MS Trust, dated 3/2/05              P O Box 60267                 Copper Sage Commerce Center, LLC    Unknown         Y
                                                                         Las Vegas, NV 89160
        Mila Horak, an unmarried woman                                   2319 Meadowland Ct            HFA- Clear Lake                     Unknown         Y
                                                                         Westlake Village, CA 91361
        Mila Horak, an unmarried woman                                   2319 Meadowland Ct            Marlton Square                      Unknown         Y
                                                                         Westlake Village, CA 91361
        Mildred P. Kesler Trustee of the Lindsey H. Kesler Family        4847 Damon Circle             Placer Vineyards                    Unknown         Y
        Revocable Trust dated 10/15/80                                   Salt Lake City, UT 84117
        Miller Properties, A Nevada Limited Partnership                  P O Box 495                   Placer Vineyards                    Unknown         Y
                                                                         Zephyr Cove, NV 89448
        Miller Properties, A Nevada Limited Partnership                  P O Box 495                   Placer Vineyards                    Unknown         Y
                                                                         Zephyr Cove, NV 89448
        Milton B. Senfeld & Barbara A. Senfeld, husband & wife, as joint 12422 Crystal Pointe Dr 201   Amesbury/Hatters Point              Unknown         Y
        tenants with right of survivorship                               Boyton Beach, FL 33437
        Milton B. Senfeld & Barbara A. Senfeld, husband & wife, as joint 12422 Crystal Pointe Dr 201   Eagle Meadows Development           Unknown         Y
        tenants with right of survivorship                               Boyton Beach, FL 33437
        Milton B. Senfeld & Barbara A. Senfeld, husband & wife, as joint 12422 Crystal Pointe Dr 201   Freeway 101                         Unknown         Y
        tenants with right of survivorship                               Boyton Beach, FL 33437
        Milton B. Senfeld & Barbara A. Senfeld, husband & wife, as joint 12422 Crystal Pointe Dr 201   HFA- Clear Lake                     Unknown         Y
        tenants with right of survivorship                               Boyton Beach, FL 33437




SCHEDULES                                                                             Exhibit B-21                                                      PAGE 180
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In re            USA Commercial Mortgage Company                     ,                                                                   Case No. 06-10725-LBR
                                   Debtor                                                                                                             (If known)




                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                           Description and Location of Property                                                  Property


                                Legal vesting                                     Mailing Address                      Loan Name           Amount     Contingent
        Milton H. Lees III, an unmarried man                          P. O. Box 315                    Huntsville                         Unknown         Y
                                                                      Tahoe Vista, CA 96148
        Milton Leroy Owens, Trustee of the Milton Leroy Owens, M. D., 1094 7th St                      Hasley Canyon                      Unknown         Y
        Inc. Defined Benefit Pension Plan and Trust                   San Pedro, CA 90731
        Milton P Kaplan, MD, TTEE FBO the Milton P Kaplan Profit      18370 Burbank Blvd, Ste 501      Placer Vineyards                   Unknown         Y
        Sharing Plan Dtd 10/1/77                                      Tarzana, CA 91356
        Milton P Kaplan, MD, TTEE FBO the Milton P Kaplan Profit      18370 Burbank Blvd, Ste 501      Bay Pompano Beach                  Unknown         Y
        Sharing Plan Dtd 10/1/77                                      Tarzana, CA 91356
        Milton W. Laird & Beverly J. Laird, husband & wife, as joint  712 Pinnacle Court               Hasley Canyon                      Unknown         Y
        tenants with right of survivorship                            Mesquite, NV 89027
        Miriam Franklin Trustee of the The Levy Family Trust dated    2550 Dana Street Apt 8D          Amesbury/Hatters Point             Unknown         Y
        5/5/94                                                        Berkeley, CA 94704
        Mitose Catherine Yonai Trustee of the Mitose Catherine Yonai  2316 Bleakwood Drive             Opaque/Mt. Edge $7,350,000         Unknown         Y
        Trust                                                         Monterey Park, CA 91754
        MJ Jellison, Inc, a Minnesota corporation                     1415 Lakeview Avenue South       Opaque/Mt. Edge $7,350,000         Unknown         Y
                                                                      Minneapolis, MN 55416
        MJ Jellison, Inc, a Minnesota corporation                     1415 Lakeview Avenue South       Opaque/Mt. Edge $7,350,000         Unknown         Y
                                                                      Minneapolis, MN 55416
        MJ Jellison, Inc, a Minnesota corporation                     1415 Lakeview Ave South          Opaque/Mt. Edge $7,350,000         Unknown         Y
                                                                      Minneapolis, MN 55416
        MLH Family Investment Limited, a Texas company                8912 E Pinnacle Peak Rd F9-602   HFA- Clear Lake                    Unknown         Y
                                                                      Scottsdale, AZ 85255
        MLH Family Investment Limited, a Texas company                8912 E Pinnacle Peak Rd F9-602   Gramercy Court Condos              Unknown         Y
                                                                      Scottsdale, AZ 85255
        MLH Family Investment Limited, a Texas company                8912 E Pinnacle Peak Rd F9-602   Placer Vineyards                   Unknown         Y
                                                                      Scottsdale, AZ 85255
        MLH Family Investment Limited, a Texas company                8912 E Pinnacle Peak Rd F9-602   Marquis Hotel                      Unknown         Y
                                                                      Scottsdale, AZ 85255
        MLH Family Investment Limited, a Texas company                8912 E Pinnacle Peak Rd F9-602   Lerin Hills                        Unknown         Y
                                                                      Scottsdale, AZ 85255
        MLH Family Investment Limited, a Texas company                8912 E Pinnacle Peak Rd F9-602   HFA- North Yonkers                 Unknown         Y
                                                                      Scottsdale, AZ 85255
        MLH Family Investment Limited, a Texas company                8912 E Pinnacle Peak Rd F9-602   Harbor Georgetown                  Unknown         Y
                                                                      Scottsdale, AZ 85255
        MLH Family Investment Limited, a Texas company                8912 E Pinnacle Peak Rd F9-602   Eagle Meadows Development          Unknown         Y
                                                                      Scottsdale, AZ 85255
        MLH Family Investment Limited, a Texas company                8912 E Pinnacle Peak Rd F9-602   Bay Pompano Beach                  Unknown         Y
                                                                      Scottsdale, AZ 85255
        MLH Family Investment Limited, a Texas company                8912 E Pinnacle Peak Rd F9-602   6425 Gess, LTD                     Unknown         Y
                                                                      Scottsdale, AZ 85255
        MLH Family Investment Limited, a Texas company                8912 E Pinnacle Peak Rd F9-602   Hasley Canyon                      Unknown         Y
                                                                      Scottsdale, AZ 85255
        MLH Family Investment Limited, a Texas company                8912 E Pinnacle Peak Rd F9-602   Brookmere/Matteson $27,050,000     Unknown         Y
                                                                      Scottsdale, AZ 85255
        Mohammad Kianjah                                              P O Box 3412                     HFA- North Yonkers                 Unknown         Y
                                                                      Cedar City, UT 84721
        Mohammad Kianjah                                              P O Box 3412                     Brookmere/Matteson $27,050,000     Unknown         Y
                                                                      Cedar City, UT 84721
        Mojave Canyon, Inc., a Nevada Corporation; J.B. Partain,      1400 Colorado St #C              Gramercy Court Condos              Unknown         Y
        President                                                     Boulder City, NV 89005
        Mojave Canyon, Inc., a Nevada Corporation; J.B. Partain,      1400 Colorado St #C              HFA- Clear Lake                    Unknown         Y
        President                                                     Boulder City, NV 89005
        Mojave Canyon, Inc., a Nevada Corporation; J.B. Partain,      1400 Colorado St #C              Midvale Marketplace, LLC           Unknown         Y
        President                                                     Boulder City, NV 89005
        Mollie Shoichet, a married woman & Henrietta Aronson, a       21150 Point Place Apt 606        HFA- Clear Lake                    Unknown         Y
        married woman, as joint tenants with rights of survivorship   Aventura, FL 33180
        Monica C. Ebaugh, a single woman                              412 Elk Circle                   Eagle Meadows Development          Unknown         Y
                                                                      Basalt, CO 81621
        Monica M. Hruby, an unmarried woman                           P O Box 3191                     Placer Vineyards                   Unknown         Y
                                                                      Incline Village, NV 89450




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In re             USA Commercial Mortgage Company                       ,                                                                   Case No. 06-10725-LBR
                                    Debtor                                                                                                               (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                             Current Market Value of
                                                                                                                                               Debtor's Interest in
                                                              Description and Location of Property                                                  Property


                                 Legal vesting                                      Mailing Address                       Loan Name           Amount     Contingent
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                HFA- Windham                        Unknown         Y
                                                                        Prunedale, CA 93907
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                Placer Vineyards                    Unknown         Y
                                                                        Prunedale, CA 93907
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                Opaque/Mt. Edge $7,350,000          Unknown         Y
                                                                        Prunedale, CA 93907
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                Midvale Marketplace, LLC            Unknown         Y
                                                                        Prunedale, CA 93907
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                Marquis Hotel                       Unknown         Y
                                                                        Prunedale, CA 93907
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                HFA- Clear Lake                     Unknown         Y
                                                                        Prunedale, CA 93907
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                Harbor Georgetown                   Unknown         Y
                                                                        Prunedale, CA 93907
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                Fiesta Oak Valley                   Unknown         Y
                                                                        Prunedale, CA 93907
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                Eagle Meadows Development           Unknown         Y
                                                                        Prunedale, CA 93907
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                Bay Pompano Beach                   Unknown         Y
                                                                        Prunedale, CA 93907
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                Ashby Financial $7,200,000          Unknown         Y
                                                                        Prunedale, CA 93907
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                Anchor B, LLC                       Unknown         Y
                                                                        Prunedale, CA 93907
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                6425 Gess, LTD                      Unknown         Y
                                                                        Prunedale, CA 93907
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                Gateway Stone                       Unknown         Y
                                                                        Prunedale, CA 93907
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                HFA- North Yonkers                  Unknown         Y
                                                                        Prunedale, CA 93907
        Monighetti, Inc., a Nevada corporation                          6515 Frankie Lane                Clear Creek Plantation              Unknown         Y
                                                                        Prunedale, CA 93907
        Monique A. Markwell, a single women                             100 N. Arlington Ave Apt # 9-H   Eagle Meadows Development           Unknown         Y
                                                                        Reno, NV 89501
        Monroe Mayo & Louise Mayo Trustees of the Mayo Family           8635 W Sahara Ave # 532          Amesbury/Hatters Point              Unknown         Y
        Trust                                                           Las Vegas, NV 89117
        Monroe Mayo & Louise Mayo Trustees of the Mayo Family           8635 W Sahara Ave # 532          BarUSA/$15,300,000                  Unknown         Y
        Trust                                                           Las Vegas, NV 89117
        Monroe Mayo & Louise Mayo Trustees of the Mayo Family           8635 W Sahara Ave # 532          Bay Pompano Beach                   Unknown         Y
        Trust                                                           Las Vegas, NV 89117
        Monroe Mayo & Louise Mayo Trustees of the Mayo Family           8635 W Sahara Ave # 532          Freeway 101                         Unknown         Y
        Trust                                                           Las Vegas, NV 89117
        Morningstar Limited Partnership                                 11271 Ventura Blvd Suite 326     HFA- North Yonkers                  Unknown         Y
                                                                        Studio City, CA 91604
        Morris Massry, a married man dealing with his sole & separate   255 Washington Ave Extension     Placer Vineyards                    Unknown         Y
        property                                                        Albany, NY 12205
        Morris Massry, a married man dealing with his sole & separate   255 Washington Ave Extension     Tapia Ranch                         Unknown         Y
        property                                                        Albany, NY 12205
        Morris Massry, a married man dealing with his sole & separate   255 Washington Ave Extension     Marlton Square                      Unknown         Y
        property                                                        Albany, NY 12205
        Morris Massry, a married man dealing with his sole & separate   255 Washington Ave Extension     HFA- North Yonkers                  Unknown         Y
        property                                                        Albany, NY 12205
        Morris Massry, a married man dealing with his sole & separate   255 Washington Ave Extension     Gateway Stone                       Unknown         Y
        property                                                        Albany, NY 12205
        Morris Massry, a married man dealing with his sole & separate   255 Washington Ave Extension     Eagle Meadows Development           Unknown         Y
        property                                                        Albany, NY 12205
        Morris Massry, a married man dealing with his sole & separate   255 Washington Ave Extension     Bay Pompano Beach                   Unknown         Y
        property                                                        Albany, NY 12205
        Morris Massry, a married man dealing with his sole & separate   255 Washington Ave Extension     6425 Gess, LTD                      Unknown         Y
        property                                                        Albany, NY 12205




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In re            USA Commercial Mortgage Company                         ,                                                                     Case No. 06-10725-LBR
                                   Debtor                                                                                                                   (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                              Description and Location of Property                                                     Property


                                 Legal vesting                                       Mailing Address                    Loan Name                Amount     Contingent
        Morton J. Port, a married man dealing with his sole & separate   P O Box 7724                  6425 Gess, LTD                           Unknown         Y
        property                                                         Incline Village, NV 89452
        Morton J. Port, a married man dealing with his sole & separate   P O Box 7724                  HFA- Clear Lake                          Unknown         Y
        property                                                         Incline Village, NV 89452
        Moshe Ram & Barbara Ram Trustees for the benefit of The Ram      8063 Alpine Fir Avenue        Placer Vineyards                         Unknown         Y
        Family Trust dated 6/22/01                                       Las Vegas, NV 89117
        Moshe Ram & Barbara Ram Trustees for the benefit of The Ram      8063 Alpine Fir Avenue        Gramercy Court Condos                    Unknown         Y
        Family Trust dated 6/22/01                                       Las Vegas, NV 89117
        Muks Realty, LLC., a California limited liability company        77-251 Iroquois Dr            Gateway Stone                            Unknown         Y
                                                                         Indian Wells, CA 92210
        Murlyn F. Ronk & Penny Ronk Trustees of the Ronk Trust dated 1413 Clover Hills Drive           HFA- Windham                             Unknown         Y
        05/18/00                                                         Elko, NV 89801
        Murlyn F. Ronk & Penny Ronk Trustees of the Ronk Trust dated 1413 Clover Hills Drive           Amesbury/Hatters Point                   Unknown         Y
        05/18/00                                                         Elko, NV 89801
        Murray Marcus, an unmarried man                                  545 Canosa Avenue             Bay Pompano Beach                        Unknown         Y
                                                                         Las Vegas, NV 89104
        Myrtle C. Roscelli, a married woman, and Georgette M. Chiappe, 1671 Northwood Dr               Placer Vineyards                         Unknown         Y
        a married woman, as joint tenants with the right of survivorship Hayden, ID 83835

        N.V. Milanowski & J. Marlene Milanowski                        1004 Haley Place                Brookmere/Matteson $27,050,000           Unknown         Y
                                                                       Delta, CO 81416
        Nadine Morton, an unmarried woman                              2708 La Solana Way              6425 Gess, LTD                           Unknown         Y
                                                                       Las Vegas, NV 89102
        Nancy Golden, a married woman dealing with her sole & separate 3456 Ridgecrest Drive           Placer Vineyards                         Unknown         Y
        property                                                       Reno, NV 89512
        Nancy Golden, a married woman dealing with her sole & separate 3456 Ridgecrest Drive           Wasco Investments                        Unknown         Y
        property                                                       Reno, NV 89512
        Nancy K. Haugarth Trustee of the Nancy K. Haugarth Revocable 20010 N Alta Loma Dr              Marlton Square                           Unknown         Y
        Trust                                                          Sun City West, AZ 85375
        Nancy K. Rivard & David L. Olden Trustees of the Nancy         P O Box 31257                   Huntsville                               Unknown         Y
        Kathryn Rivard & David Lee Olden Trust dated 7/20/83           Las Vegas, NV 89173
        Nancy K. Rivard & David L. Olden Trustees of the Nancy         P O Box 31257                   Placer Vineyards                         Unknown         Y
        Kathryn Rivard & David Lee Olden Trust dated 7/20/83           Las Vegas, NV 89173
        Nancy L. Gouveia Trustee of the Nancy L. Gouveia Trust dated 1543 Alisal Avenue                Midvale Marketplace, LLC                 Unknown         Y
        10/23/98                                                       San Jose, CA 95125
        Nancy L. Gouveia Trustee of the Nancy L. Gouveia Trust dated 1543 Alisal Avenue                Placer Vineyards                         Unknown         Y
        10/23/98                                                       San Jose, CA 95125
        Nancy M. Brauer, a single woman                                2222 Albion Street              HFA-Clear Lake 2nd                       Unknown         Y
                                                                       Denver, CO 80207
        Nancy M. Brauer, a single woman                                2222 Albion Street              HFA-Clear Lake 2nd                       Unknown         Y
                                                                       Denver , CO 80207
        Nancy M. Brauer, a single woman                                2222 Albion Street              Marquis Hotel                            Unknown         Y
                                                                       Denver, CO 80207
        Nancy M. Brauer, a single woman                                2222 Albion Street              Marquis Hotel                            Unknown         Y
                                                                       Denver , CO 80207
        Nancy M. Brauer, a single woman                                2222 Albion Street              Riviera - Homes for America Holdings,    Unknown         Y
                                                                       Denver, CO 80207                L.L.C.
        Nancy M. Brauer, a single woman                                2222 Albion Street              Riviera - Homes for America Holdings,    Unknown         Y
                                                                       Denver , CO 80207               L.L.C.
        Nancy N. LaFleur, A Married Woman, Transfer on Death to        9508 Grenville Ave              Fiesta Oak Valley                        Unknown         Y
        Stephen M. LaFleur and James R. LaFleur Jr.                    Las Vegas, NV 89134
        Nancy R. Davis Trustee of the Nancy R. Davis Defined Benefit 12261 Prosser Dam Road            Bay Pompano Beach                        Unknown         Y
        Plan                                                           Truckee, CA 96161
        Nancy R. Davis Trustee of the Nancy R. Davis Defined Benefit 12261 Prosser Dam Road            6425 Gess, LTD                           Unknown         Y
        Plan                                                           Truckee, CA 96161
        Naomi F. Stearns Trustee of the Naomi F. Stearns Trust Dated   3200 Port Royale Dr N Apt 412   Bay Pompano Beach                        Unknown         Y
        8/9/1985                                                       Ft. Lauderdale, FL 33308
        Naomi F. Stearns Trustee of the Naomi F. Stearns Trust Dated   3200 Port Royale Dr N Apt 412   Marlton Square                           Unknown         Y
        8/9/1985                                                       Ft. Lauderdale, FL 33308




SCHEDULES                                                                             Exhibit B-21                                                           PAGE 183
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In re             USA Commercial Mortgage Company                        ,                                                                 Case No. 06-10725-LBR
                                     Debtor                                                                                                             (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                                Description and Location of Property                                               Property


                                  Legal vesting                                      Mailing Address                     Loan Name           Amount     Contingent
        NBNA Unique Properties, LLC, an Washington State limited         74478 Highway 111 #342         Marlton Square                      Unknown         Y
        liability company                                                Palm Desert, CA 92260
        Neal J. Stehly & Kam E. Stehly Trustees of the Neal & Kam        6586 Windflower Drive          Placer Vineyards                    Unknown         Y
        Stehly Family Trust dated 1/8/00                                 Carlsbad, CA 92009
        Neil A. Xavier and Josephine E. Xavier, husband and wife as      2506 Libretto Ave              Marquis Hotel                       Unknown         Y
        joint tenants with the rights of survivorship                    Henderson, NV 89052
        Neil G. Buckwald Trustee of the Buckwald Revocable Trust         5000 North Valdez Street       Placer Vineyards                    Unknown         Y
        dated 2/11/92                                                    Las Vegas, NV 89149
        Neil G. Buckwald Trustee of the Buckwald Revocable Trust         5000 North Valdez Street       HFA- North Yonkers                  Unknown         Y
        dated 2/11/92                                                    Las Vegas, NV 89149
        Neil Tobias, a married man                                       1994 East 4th Street           Bay Pompano Beach                   Unknown         Y
                                                                         Brooklyn, NY 11223
        Neil Tobias, a married man                                       1994 East 4th Street           Lerin Hills                         Unknown         Y
                                                                         Brooklyn, NY 11223
        Nellie Pleser Trustee of the Pleser Family Trust dated 1/28/00   2836 Meadow Park Avenue        Amesbury/Hatters Point              Unknown         Y
                                                                         Henderson, NV 89052
        Nelson Chardoul & Virginia Chardoul Trustees of the Nelson &     7013 Hershberger Court         Marlton Square 2nd                  Unknown         Y
        Virginia Chardoul Trust dated 10/7/91                            Citrus Heights, CA 95610
        Nelson Chardoul & Virginia Chardoul Trustees of the Nelson &     7013 Hershberger Court         6425 Gess, LTD                      Unknown         Y
        Virginia Chardoul Trust dated 10/7/91                            Citrus Heights, CA 95610
        Nelson Chardoul & Virginia Chardoul Trustees of the Nelson &     7013 Hershberger Court         Amesbury/Hatters Point              Unknown         Y
        Virginia Chardoul Trust dated 10/7/91                            Citrus Heights, CA 95610
        Nelson Chardoul & Virginia Chardoul Trustees of the Nelson &     7013 Hershberger Court         Gramercy Court Condos               Unknown         Y
        Virginia Chardoul Trust dated 10/7/91                            Citrus Heights, CA 95610
        Nelson R. Greene & Eunice A. Greene Trustees of the Greene       PO Box 62328                   Marlton Square                      Unknown         Y
        Family Trust dated 4/25/91                                       Boulder City, NV 89006
        Nelson R. Greene & Eunice A. Greene Trustees of the Greene       PO Box 62328                   Ten-Ninety, Ltd./$4,150,000         Unknown         Y
        Family Trust dated 4/25/91                                       Boulder City, NV 89006
        Nemo Harding & Erin Harding, joint tenants with right of         419A Atkinson Drive 504        Bay Pompano Beach                   Unknown         Y
        survivorship                                                     Honolulu, HI 96814
        Nevada Trust Company Custodian for Cal-Mark Beverage             440 Corte Sur Suite 200        Marlton Square                      Unknown         Y
        Company Defined Benefit Plan                                     Ignacio, CA 94949
        Nevada Trust Company Custodian for Cal-Mark Beverage             440 Corte Sur Ste 200          Marlton Square                      Unknown         Y
        Company Defined Benefit Plan                                     Ignacio, CA 94949
        Nevada Trust Company Custodian for Cal-Mark Beverage             440 Corte Sur Suite 200        Placer Vineyards                    Unknown         Y
        Company Defined Benefit Plan                                     Ignacio, CA 94949
        Nevada Trust Company Custodian for Cal-Mark Beverage             440 Corte Sur Ste 200          Placer Vineyards                    Unknown         Y
        Company Defined Benefit Plan                                     Ignacio, CA 94949
        Nevada Trust Company Custodian for Cal-Mark Beverage             440 Corte Sur Suite 200        Ashby Financial $7,200,000          Unknown         Y
        Company Defined Benefit Plan                                     Ignacio, CA 94949
        Nevada Trust Company Custodian for Cal-Mark Beverage             440 Corte Sur Ste 200          Ashby Financial $7,200,000          Unknown         Y
        Company Defined Benefit Plan                                     Ignacio, CA 94949
        Nevada Trust Company Custodian for Cal-Mark Beverage             440 Corte Sur Suite 200        Lerin Hills                         Unknown         Y
        Company Defined Benefit Plan                                     Ignacio, CA 94949
        Nevada Trust Company Custodian for Cal-Mark Beverage             440 Corte Sur Ste 200          Lerin Hills                         Unknown         Y
        Company Defined Benefit Plan                                     Ignacio, CA 94949
        Nicholas A. Steinmetz & Cynthia M. Steinmetz Trustees of the     1390 Willow Pass Rd Ste #190   Placer Vineyards                    Unknown         Y
        2001 Steinmetz Family Trust                                      Concord, CA 94520
        Nicholas A. Steinmetz & Cynthia M. Steinmetz Trustees of the     2006 Marconi Way               Placer Vineyards                    Unknown         Y
        2001 Steinmetz Family Trust                                      South Lake Tahoe, CA 96150
        Nicholas A. Steinmetz & Cynthia M. Steinmetz Trustees of the     1390 Willow Pass Rd Ste #190   6425 Gess, LTD                      Unknown         Y
        2001 Steinmetz Family Trust                                      Concord, CA 94520
        Nicholas A. Steinmetz & Cynthia M. Steinmetz Trustees of the     2006 Marconi Way               6425 Gess, LTD                      Unknown         Y
        2001 Steinmetz Family Trust                                      South Lake Tahoe, CA 96150
        Nicholas A. Steinmetz & Cynthia M. Steinmetz Trustees of the     1390 Willow Pass Rd Ste #190   Bay Pompano Beach                   Unknown         Y
        2001 Steinmetz Family Trust                                      Concord, CA 94520
        Nicholas A. Steinmetz & Cynthia M. Steinmetz Trustees of the     2006 Marconi Way               Bay Pompano Beach                   Unknown         Y
        2001 Steinmetz Family Trust                                      South Lake Tahoe, CA 96150
        Nicholas A. Steinmetz & Cynthia M. Steinmetz Trustees of the     1390 Willow Pass Rd Ste #190   Hasley Canyon                       Unknown         Y
        2001 Steinmetz Family Trust                                      Concord, CA 94520




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In re             USA Commercial Mortgage Company                          ,                                                                       Case No. 06-10725-LBR
                                     Debtor                                                                                                                     (If known)




                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                    EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                    Current Market Value of
                                                                                                                                                      Debtor's Interest in
                                                                Description and Location of Property                                                       Property


                                  Legal vesting                                        Mailing Address                      Loan Name                Amount     Contingent
        Nicholas A. Steinmetz & Cynthia M. Steinmetz Trustees of the       2006 Marconi Way                Hasley Canyon                            Unknown         Y
        2001 Steinmetz Family Trust                                        South Lake Tahoe, CA 96150
        Nicholas J. Santoro and Juanita Santoro, Trustees of the Santoro   2312 Pearl Crest Street         Gateway Stone                            Unknown         Y
        Family Trust U/T/D 4/29/02                                         Las Vegas, NV 89134
        Nicholas J. Santoro and Juanita Santoro, Trustees of the Santoro   2312 Pearl Crest Street         Marlton Square                           Unknown         Y
        Family Trust U/T/D 4/29/02                                         Las Vegas, NV 89134
        Nicholas Loader Trustee of the Nicholas Loader Trust U/A           101425 Overseas Hwy PMB 706     HFA-Clear Lake 2nd                       Unknown         Y
                                                                           Key Largo, FL 33037
        Nicholas Loader Trustee of the Nicholas Loader Trust U/A           101425 Overseas Hwy PMB 706     Lerin Hills                              Unknown         Y
                                                                           Key Largo, FL 33037
        Nicholas Loader Trustee of the Nicholas Loader Trust U/A           101425 Overseas Hwy PMB 706     Riviera - Homes for America Holdings,    Unknown         Y
                                                                           Key Largo, FL 33037             L.L.C.
        Nicholas Loader Trustee of the Nicholas Loader Trust U/A           101425 Overseas Hwy PMB 706     Cabernet                                 Unknown         Y
                                                                           Key Largo, FL 33037
        Nicholas Loader Trustee of the Nicholas Loader Trust U/A           101425 Overseas Hwy PMB 706     Goss Road                                Unknown         Y
                                                                           Key Largo, FL 33037
        Nicholas Perrone Trustee of the Nicholas Perrone Trust dated       5112 San Anselmo St             Bay Pompano Beach                        Unknown         Y
        7/12/99                                                            Las Vegas, NV 89120
        Nicholas Perrone Trustee of the Nicholas Perrone Trust dated       5112 San Anselmo St             Fiesta Oak Valley                        Unknown         Y
        7/12/99                                                            Las Vegas, NV 89120
        Nicholas Perrone Trustee of the Nicholas Perrone Trust dated       5112 San Anselmo St             Harbor Georgetown                        Unknown         Y
        7/12/99                                                            Las Vegas, NV 89120
        Nicholas Perrone Trustee of the Nicholas Perrone Trust dated       5112 San Anselmo St             Opaque/Mt. Edge $7,350,000               Unknown         Y
        7/12/99                                                            Las Vegas, NV 89120
        Nicholas Perrone Trustee of the Nicholas Perrone Trust dated       5112 San Anselmo St             Tapia Ranch                              Unknown         Y
        7/12/99                                                            Las Vegas, NV 89120
        Nick Springer, an unmarried man                                    General Delivery                HFA-Clear Lake 2nd                       Unknown         Y
                                                                           Elwood, IN 46036
        Nick Springer, an unmarried man                                    General Delivery                Bay Pompano Beach                        Unknown         Y
                                                                           Elwood, IN 46036
        Nick Springer, an unmarried man                                    General Delivery                Copper Sage Commerce Center, LLC         Unknown         Y
                                                                           Elwood, IN 46036
        Nickolas Verlinich & Beverly Verlinich, joint tenants with right   3749 S 4th Ave Unit 209         Amesbury/Hatters Point                   Unknown         Y
        of survivorship                                                    Yuma, AZ 85365
        Nicole Dana Flier, a single woman                                  21574 St Andrews Grand Circle   Amesbury/Hatters Point                   Unknown         Y
                                                                           Boca Raton, FL 33486
        Nicole Dana Flier, a single woman                                  21574 St Andrews Grand Circle   Gramercy Court Condos                    Unknown         Y
                                                                           Boca Raton, FL 33486
        Nicole Dana Flier, a single woman                                  21574 St Andrews Grand Circle   HFA- Riviera 2nd                         Unknown         Y
                                                                           Boca Raton, FL 33486
        Nienke A. Lels-Hohmann, Trustee of the Nienke A. Lels-             1559 Francisco St.              Marlton Square                           Unknown         Y
        Hohmann Revocable Trust Agreement, dated 3/8/00                    San Francisco, CA 94123
        Nili Weingart, an unmarried woman                                  1406 Camden Avenue 201          Bay Pompano Beach                        Unknown         Y
                                                                           Los Angeles, CA 90025
        Nimrod Barashy, Trustee of The Sapphire 18 Trust                   2868 Redwood Street             Eagle Meadows Development                Unknown         Y
                                                                           Las Vegas, NV 89146
        Nimrod Barashy, Trustee of The Sapphire 18 Trust                   P O Box 81191                   Eagle Meadows Development                Unknown         Y
                                                                           Las Vegas, NV 89180
        Nina M. Schwartz Trustee of the NMS Living Trust dated             2112 Plaza Del Fuentes          Amesbury/Hatters Point                   Unknown         Y
        12/27/01                                                           Las Vegas, NV 89102
        Nina M. Schwartz Trustee of the NMS Living Trust dated             2112 Plaza Del Fuentes          Brookmere/Matteson $27,050,000           Unknown         Y
        12/27/01                                                           Las Vegas, NV 89102
        Noel E. Rees and Mary Ann Rees Trustees of the Noel and Mary       2304 Sun Cliff St               Riviera - Homes for America Holdings,    Unknown         Y
        Ann Rees Family Trust                                              Las Vegas, NV 89134             L.L.C.
        Noel E. Rees and Mary Ann Rees Trustees of the Noel and Mary       2304 Sun Cliff St               Eagle Meadows Development                Unknown         Y
        Ann Rees Family Trust                                              Las Vegas, NV 89134
        Noel S. Gouveia, a married man dealing with his sole & separate    1543 Alisal Ave                 Placer Vineyards                         Unknown         Y
        property                                                           San Jose, CA 95125
        Noel S. Gouveia, a married man dealing with his sole & separate    1543 Alisal Ave                 BarUSA/$15,300,000                       Unknown         Y
        property                                                           San Jose, CA 95125




SCHEDULES                                                                               Exhibit B-21                                                             PAGE 185
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In re            USA Commercial Mortgage Company                      ,                                                                 Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                            Description and Location of Property                                                Property


                                Legal vesting                                      Mailing Address                      Loan Name         Amount     Contingent
        Noel S. Gouveia, a married man dealing with his sole & separate 1543 Alisal Ave                Fiesta USA/Stoneridge             Unknown          Y
        property                                                        San Jose, CA 95125
        Noemi N. Turok, a widow                                         8808 Rainbow Ridge Dr          Fiesta USA/Stoneridge             Unknown          Y
                                                                        Las Vegas, NV 89117
        Noemi N. Turok, a widow                                         8808 Rainbow Ridge Dr          Gramercy Court Condos             Unknown          Y
                                                                        Las Vegas, NV 89117
        Nogah Gaynor, Laurie Merlis & Steven Elster, joint tenants with 110 Scoter Lane                Fiesta USA/Stoneridge             Unknown          Y
        right of survivorship                                           Hicksville, NY 11801
        Norm Webster, a single man                                      2219 E Thousand Oaks Ste 277   Brookmere/Matteson $27,050,000    Unknown          Y
                                                                        Thousand Oaks, CA 91362
        Norma M. Deull, an unmarried women                              140 Riverside Dr Apt 8A        Bay Pompano Beach                 Unknown          Y
                                                                        New York, NY 10024
        Norma M. Deull, an unmarried women                              140 Riverside Dr Apt 8A        Gramercy Court Condos             Unknown          Y
                                                                        New York, NY 10024
        Norma M. Deull, an unmarried women                              140 Riverside Dr Apt 8A        HFA- North Yonkers                Unknown          Y
                                                                        New York, NY 10024
        Norma M. Kerner Trustee of the Eugene H. & Norma M. Stokes 15758 Sunset Drive                  Placer Vineyards                  Unknown          Y
        Trust dated 5/16/84                                             Poway, CA 92064
        Norma Wagman Trustee of the Wagman Family Trust dated           4436 Coventry Circle           Ten-Ninety, Ltd./$4,150,000       Unknown          Y
        8/13/93                                                         Las Vegas, NV 89121
        Norma Wilson, an unmarried woman                                P O Box 248                    Opaque/Mt. Edge $7,350,000        Unknown          Y
                                                                        Grizzly Flats, CA 95636
        Norman D. Prins & Charlene J. Prins Trustees of the Norman & 7425 W 104th St                   Amesbury/Hatters Point            Unknown          Y
        Charlene Prins Revocable Living Trust dated 10/29/03            Bloomington, MN 55438
        Norman D. Prins & Charlene J. Prins Trustees of the Norman & 7425 W 104th St                   BarUSA/$15,300,000                Unknown          Y
        Charlene Prins Revocable Living Trust dated 10/29/03            Bloomington, MN 55438
        Norman D. Prins & Charlene J. Prins Trustees of the Norman & 7425 W 104th St                   Marlton Square                    Unknown          Y
        Charlene Prins Revocable Living Trust dated 10/29/03            Bloomington, MN 55438
        Norman Kiven, a married man dealing with his sole & separate    5 Barnard Ct                   HFA- North Yonkers                Unknown          Y
        property                                                        Rancho Mirage, CA 92270
        Norman Kiven, a married man dealing with his sole & separate    5 Barnard Ct                   Marquis Hotel                     Unknown          Y
        property                                                        Rancho Mirage, CA 92270
        Norman Kiven, a married man dealing with his sole & separate    5 Barnard Ct                   Gateway Stone                     Unknown          Y
        property                                                        Rancho Mirage, CA 92270
        Norman Kiven, a married man dealing with his sole & separate    5 Barnard Ct                   Fiesta USA/Stoneridge             Unknown          Y
        property                                                        Rancho Mirage, CA 92270
        Norman Kiven, a married man dealing with his sole & separate    5 Barnard Ct                   Anchor B, LLC                     Unknown          Y
        property                                                        Rancho Mirage, CA 92270
        Norman Martineau & Kathryn J. Martineau, husband & wife, as P O Box 575                        Bay Pompano Beach                 Unknown          Y
        joint tenants with right of survivorship                        Valley Center, CA 92082
        Norman Teeter, a single man                                     4201 Via Marina 300            Placer Vineyards                  Unknown          Y
                                                                        Marina Del Rey, CA 90292
        Norman Teeter, a single man                                     4201 Via Marina #300           Placer Vineyards                  Unknown          Y
                                                                        Marina Del Rey, CA 90292
        Norman Teeter, a single man                                     4201 Via Marina 300            Bay Pompano Beach                 Unknown          Y
                                                                        Marina Del Rey, CA 90292
        Norman Teeter, a single man                                     4201 Via Marina #300           Bay Pompano Beach                 Unknown          Y
                                                                        Marina Del Rey, CA 90292
        Norman Teeter, a single man                                     4201 Via Marina 300            Amesbury/Hatters Point            Unknown          Y
                                                                        Marina Del Rey, CA 90292
        Norman Teeter, a single man                                     4201 Via Marina #300           Amesbury/Hatters Point            Unknown          Y
                                                                        Marina Del Rey, CA 90292
        Norman Teeter, a single man                                     4201 Via Marina 300            Fiesta Oak Valley                 Unknown          Y
                                                                        Marina Del Rey, CA 90292
        Norman Teeter, a single man                                     4201 Via Marina #300           Fiesta Oak Valley                 Unknown          Y
                                                                        Marina Del Rey, CA 90292
        Norman Teeter, a single man                                     4201 Via Marina 300            Gateway Stone                     Unknown          Y
                                                                        Marina Del Rey, CA 90292
        Norman Teeter, a single man                                     4201 Via Marina #300           Gateway Stone                     Unknown          Y
                                                                        Marina Del Rey, CA 90292




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In re            USA Commercial Mortgage Company                        ,                                                                      Case No. 06-10725-LBR
                                   Debtor                                                                                                                   (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                              Description and Location of Property                                                     Property


                                 Legal vesting                                       Mailing Address                    Loan Name                Amount     Contingent
        Norman Teeter, a single man                                        4201 Via Marina 300         Brookmere/Matteson $27,050,000           Unknown         Y
                                                                           Marina Del Rey, CA 90292
        Norman Teeter, a single man                                        4201 Via Marina #300        Brookmere/Matteson $27,050,000           Unknown         Y
                                                                           Marina Del Rey, CA 90292
        Norman Tiano, a married man dealing with his sole and separate 7070 Rock Dove St               Eagle Meadows Development                Unknown         Y
        property                                                           Carlsbad, CA 92011
        Norris R. Coit Trustee of the Norris R. Coit Family Trust dated    P O Box 86                  Clear Creek Plantation                   Unknown         Y
        5/19/04                                                            Genoa, NV 89411
        Norscot Financial Corp., a Nevada corporation                      185 Gymkhana Ln             Amesbury/Hatters Point                   Unknown         Y
                                                                           Reno, NV 89506
        Norscot Financial Corp., a Nevada corporation                      185 Gymkhana Ln             Amesbury/Hatters Point                   Unknown         Y
                                                                           Reno, NV 89506
        Nounna Family Partnership, Annee Nounna, General Partner           8057 Lands End              Anchor B, LLC                            Unknown         Y
                                                                           Las Vegas, NV 89117
        Nounna Family Partnership, Annee Nounna, General Partner           8057 Lands End              Anchor B, LLC                            Unknown         Y
                                                                           Las Vegas, NV 89117
        Oakwood Financial, LLC                                             5737 Kanan Rd # 125         Marlton Square                           Unknown         Y
                                                                           Agoura Hills, CA 91301
        Oakwood Financial, LLC                                             28955 Bardell Dr            Marlton Square                           Unknown         Y
                                                                           Agoura Hills, CA 91301
        Olga O'Buch Trustee of the Olga O'Buch Trust dated 5/28/98         140 Gazelle Rd              Placer Vineyards                         Unknown         Y
                                                                           Reno, NV 89511
        Olga O'Buch Trustee of the Olga O'Buch Trust dated 5/28/98         140 Gazelle Rd              Riviera - Homes for America Holdings,    Unknown         Y
                                                                           Reno, NV 89511              L.L.C.
        Olga O'Buch Trustee of the Olga O'Buch Trust dated 5/28/98         140 Gazelle Rd              Marlton Square 2nd                       Unknown         Y
                                                                           Reno, NV 89511
        Olga O'Buch Trustee of the Olga O'Buch Trust dated 5/28/98         140 Gazelle Rd              Hasley Canyon                            Unknown         Y
                                                                           Reno, NV 89511
        Olga O'Buch Trustee of the Olga O'Buch Trust dated 5/28/98         140 Gazelle Rd              Gramercy Court Condos                    Unknown         Y
                                                                           Reno, NV 89511
        Olga O'Buch Trustee of the Olga O'Buch Trust dated 5/28/98         140 Gazelle Rd              Shamrock Tower, LP                       Unknown         Y
                                                                           Reno, NV 89511
        Oliver F. Smith Trustee of the Oliver F. Smith Incorporated Profit 2871 Joseph Ave             6425 Gess, LTD                           Unknown         Y
        Sharing Plan                                                       Sacramento, CA 95864
        Oliver F. Smith Trustee of the Oliver F. Smith Incorporated Profit 2871 Joseph Ave             HFA- North Yonkers                       Unknown         Y
        Sharing Plan                                                       Sacramento, CA 95864
        Olynnda Parmer Trustee of the Olynnda Long Living Trust dated P O Box 62404                    Gramercy Court Condos                    Unknown         Y
        1/18/80                                                            Boulder City, NV 89006
        Orban H. Reich Trustee of the Orban H. Reich Trust dated           P O Box 1844                Placer Vineyards                         Unknown         Y
        12/27/00                                                           Reno, NV 89505
        Orvin Calhoun & Anita J. Calhoun, husband & wife, as joint         2026 Bel Air Avenue         Amesbury/Hatters Point                   Unknown         Y
        tenants with right of survivorship                                 San Jose, CA 95128
        Orvin Calhoun & Anita J. Calhoun, husband & wife, as joint         2026 Bel Air Ave            Amesbury/Hatters Point                   Unknown         Y
        tenants with right of survivorship                                 San Jose, CA 95128
        Orvin Calhoun & Anita J. Calhoun, husband & wife, as joint         2026 Bel Air Avenue         BarUSA/$15,300,000                       Unknown         Y
        tenants with right of survivorship                                 San Jose, CA 95128
        Orvin Calhoun & Anita J. Calhoun, husband & wife, as joint         2026 Bel Air Ave            BarUSA/$15,300,000                       Unknown         Y
        tenants with right of survivorship                                 San Jose, CA 95128
        Osvaldo Zunino Trustee of the Osvaldo Zunino Living Trust          3575 Tioga Way              Tapia Ranch                              Unknown         Y
        dated 12/18/98                                                     Las Vegas, NV 89109
        Osvaldo Zunino Trustee of the Osvaldo Zunino Living Trust          3575 Tioga Way              Marlton Square                           Unknown         Y
        dated 12/18/98                                                     Las Vegas, NV 89109
        Osvaldo Zunino Trustee of the Osvaldo Zunino Living Trust          3575 Tioga Way              Bay Pompano Beach                        Unknown         Y
        dated 12/18/98                                                     Las Vegas, NV 89109
        Othmar Klay and Christine Klay, Trustees of the Klay Living        5530 Lausanne Dr            Eagle Meadows Development                Unknown         Y
        Trust dated 7/11/90                                                Reno , NV 89511
        Othmar Klay and Christine Klay, Trustees of the Klay Living        5530 Lausanne Dr            Marlton Square                           Unknown         Y
        Trust dated 7/11/90                                                Reno , NV 89511
        Palms & Pines, LLC, a Nevada limited liability company             202 N Curry St Ste 100      Margarita Annex                          Unknown         Y
                                                                           Carson City, NV 89703




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In re            USA Commercial Mortgage Company                        ,                                                                  Case No. 06-10725-LBR
                                   Debtor                                                                                                               (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                              Description and Location of Property                                                 Property


                                 Legal vesting                                        Mailing Address                       Loan Name        Amount     Contingent
        Pamela A.L. Curtis Trustee of The Lepp Trust                      1101 Cambridge Manor Drive        BarUSA/$15,300,000              Unknown         Y
                                                                          Scotia, NY 12302
        Pamela Jean Marton an unmarried woman transfer on death to        2652 1/2 Lake View Terrace East   Bay Pompano Beach               Unknown         Y
        James Dickinson                                                   Los Angeles, CA 90039
        Pamela M. Conboy, an unmarried woman                              2310 Oak Park Rd                  HFA- North Yonkers              Unknown         Y
                                                                          Glendora, CA 91741
        Pamela M. Conboy, an unmarried woman                              2310 Oak Park Rd                  Placer Vineyards                Unknown         Y
                                                                          Glendora, CA 91741
        Panagiotis Dovanidis and Aikaterini Giannopoulou as husband       14, Mikinon Street                Cabernet                        Unknown         Y
        and wife, joint tenants with rights of survivorship               166 74 Glyfada, Athens Hellas
        Panagiotis Dovanidis and Aikaterini Giannopoulou as husband       14 Mikinon Street                 Cabernet                        Unknown         Y
        and wife, joint tenants with rights of survivorship               16675 Glyfada, Athens
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14, Mikinon Street                Marquis Hotel                   Unknown         Y
        married woman dealing with her sole & separate property, as joint 166 74 Glyfada, Athens Hellas
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14 Mikinon Street                 Marquis Hotel                   Unknown         Y
        married woman dealing with her sole & separate property, as joint 16675 Glyfada, Athens
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14, Mikinon Street                Marlton Square 2nd              Unknown         Y
        married woman dealing with her sole & separate property, as joint 166 74 Glyfada, Athens Hellas
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14 Mikinon Street                 Marlton Square 2nd              Unknown         Y
        married woman dealing with her sole & separate property, as joint 16675 Glyfada, Athens
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14, Mikinon Street                Lerin Hills                     Unknown         Y
        married woman dealing with her sole & separate property, as joint 166 74 Glyfada, Athens Hellas
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14 Mikinon Street                 Lerin Hills                     Unknown         Y
        married woman dealing with her sole & separate property, as joint 16675 Glyfada, Athens
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14, Mikinon Street                HFA- North Yonkers              Unknown         Y
        married woman dealing with her sole & separate property, as joint 166 74 Glyfada, Athens Hellas
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14 Mikinon Street                 HFA- North Yonkers              Unknown         Y
        married woman dealing with her sole & separate property, as joint 16675 Glyfada, Athens
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14, Mikinon Street                HFA- Clear Lake                 Unknown         Y
        married woman dealing with her sole & separate property, as joint 166 74 Glyfada, Athens Hellas
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14 Mikinon Street                 HFA- Clear Lake                 Unknown         Y
        married woman dealing with her sole & separate property, as joint 16675 Glyfada, Athens
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14, Mikinon Street                Amesbury/Hatters Point          Unknown         Y
        married woman dealing with her sole & separate property, as joint 166 74 Glyfada, Athens Hellas
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14 Mikinon Street                 Amesbury/Hatters Point          Unknown         Y
        married woman dealing with her sole & separate property, as joint 16675 Glyfada, Athens
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14, Mikinon Street                Placer Vineyards 2nd            Unknown         Y
        married woman dealing with her sole & separate property, as joint 166 74 Glyfada, Athens Hellas
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14 Mikinon Street                 Placer Vineyards 2nd            Unknown         Y
        married woman dealing with her sole & separate property, as joint 16675 Glyfada, Athens
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14, Mikinon Street                Hasley Canyon                   Unknown         Y
        married woman dealing with her sole & separate property, as joint 166 74 Glyfada, Athens Hellas
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a         14 Mikinon Street                 Hasley Canyon                   Unknown         Y
        married woman dealing with her sole & separate property, as joint 16675 Glyfada, Athens
        tenants with right of survivorship




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In re            USA Commercial Mortgage Company                        ,                                                                            Case No. 06-10725-LBR
                                   Debtor                                                                                                                         (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                      Current Market Value of
                                                                                                                                                        Debtor's Interest in
                                                              Description and Location of Property                                                           Property


                                 Legal vesting                                       Mailing Address                          Loan Name                Amount     Contingent
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a            14, Mikinon Street              Brookmere/Matteson $27,050,000           Unknown         Y
        married woman dealing with her sole & separate property, as joint 166 74 Glyfada, Athens Hellas
        tenants with right of survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a            14 Mikinon Street               Brookmere/Matteson $27,050,000           Unknown         Y
        married woman dealing with her sole & separate property, as joint 16675 Glyfada, Athens
        tenants with right of survivorship
        Pasquale C. Mauro Trustee of the Pasquale C. Mauro Family            7768 Painted Sunset Drive       HFA- Riviera 2nd                         Unknown         Y
        Trust dated 4/19/95                                                  Las Vegas, NV 89149
        Pat A Dolce & Lora Dean Dolce, husband & wife, as joint tenants 4410 W Jefferson Blvd                HFA- North Yonkers                       Unknown         Y
        with right of survivorship                                           Los Angeles, CA 90016
        Pat A Dolce & Lora Dean Dolce, husband & wife, as joint tenants 4410 W Jefferson Blvd                Tapia Ranch                              Unknown         Y
        with right of survivorship                                           Los Angeles, CA 90016
        Pat A Dolce & Lora Dean Dolce, husband & wife, as joint tenants 4410 W Jefferson Blvd                Placer Vineyards                         Unknown         Y
        with right of survivorship                                           Los Angeles, CA 90016
        Pat A Dolce & Lora Dean Dolce, husband & wife, as joint tenants 4410 W Jefferson Blvd                Marlton Square 2nd                       Unknown         Y
        with right of survivorship                                           Los Angeles, CA 90016
        Pat A Dolce & Lora Dean Dolce, husband & wife, as joint tenants 4410 W Jefferson Blvd                HFA- Riviera 2nd                         Unknown         Y
        with right of survivorship                                           Los Angeles, CA 90016
        Pat A Dolce & Lora Dean Dolce, husband & wife, as joint tenants 4410 W Jefferson Blvd                Hasley Canyon                            Unknown         Y
        with right of survivorship                                           Los Angeles, CA 90016
        Pat A Dolce & Lora Dean Dolce, husband & wife, as joint tenants 4410 W Jefferson Blvd                Fiesta Oak Valley                        Unknown         Y
        with right of survivorship                                           Los Angeles, CA 90016
        Pat A Dolce & Lora Dean Dolce, husband & wife, as joint tenants 4410 W Jefferson Blvd                Bay Pompano Beach                        Unknown         Y
        with right of survivorship                                           Los Angeles, CA 90016
        Pat A Dolce & Lora Dean Dolce, husband & wife, as joint tenants 4410 W Jefferson Blvd                6425 Gess, LTD                           Unknown         Y
        with right of survivorship                                           Los Angeles, CA 90016
        Pat A Dolce & Lora Dean Dolce, husband & wife, as joint tenants 4410 W Jefferson Blvd                Margarita Annex                          Unknown         Y
        with right of survivorship                                           Los Angeles, CA 90016
        Pat A Dolce & Lora Dean Dolce, husband & wife, as joint tenants 4410 W Jefferson Blvd                Cabernet                                 Unknown         Y
        with right of survivorship                                           Los Angeles, CA 90016
        Pat M. Chiappetta & Joann Chiappetta Trustees of The                 7043 Cinnamon Drive             Lerin Hills                              Unknown         Y
        Chiappetta Trust dated 4/1/03                                        Sparks, NV 89436
        Pat M. Chiappetta & Joann Chiappetta Trustees of The                 7043 Cinnamon Drive             Placer Vineyards 2nd                     Unknown         Y
        Chiappetta Trust dated 4/1/03                                        Sparks, NV 89436
        Pat M. Chiappetta & Joann Chiappetta Trustees of The                 7043 Cinnamon Drive             HFA- Riviera 2nd                         Unknown         Y
        Chiappetta Trust dated 4/1/03                                        Sparks, NV 89436
        Pat M. Chiappetta & Joann Chiappetta Trustees of The                 7043 Cinnamon Drive             Amesbury/Hatters Point                   Unknown         Y
        Chiappetta Trust dated 4/1/03                                        Sparks, NV 89436
        Pat M. Chiappetta & Joann Chiappetta Trustees of The                 7043 Cinnamon Drive             Cabernet                                 Unknown         Y
        Chiappetta Trust dated 4/1/03                                        Sparks, NV 89436
        Patricia A. Boschetto, Trustee of the Patricia A. Boschetto Living 1294 West Bloomington Dr. South   Marlton Square                           Unknown         Y
        Trust dtd 4/29/04                                                    St. George, UT 84790
        Patricia A. Boschetto, Trustee of the Patricia A. Boschetto Living 1294 West Bloomington Dr. South   Gateway Stone                            Unknown         Y
        Trust dtd 4/29/04                                                    St. George, UT 84790
        Patricia A. Herrin & Terry W. Royder, wife & husband, as joint 9404 Mountainair Ave                  Eagle Meadows Development                Unknown         Y
        tenants with right of survivorship                                   Las Vegas, NV 89134
        Patricia A. Herrin & Terry W. Royder, wife & husband, as joint 9404 Mountainair Ave                  Placer Vineyards                         Unknown         Y
        tenants with right of survivorship                                   Las Vegas, NV 89134
        Patricia A. Pontak and Darrell M. Wong, Trustees of the Pontak 130 Scott Road                        Riviera - Homes for America Holdings,    Unknown         Y
        Wong Revocable Trust dated Jan 19, 2004                              Bishop, CA 93514                L.L.C.
        Patricia A. Pontak and Darrell M. Wong, Trustees of the Pontak 130 Scott Road                        Lerin Hills                              Unknown         Y
        Wong Revocable Trust dated Jan 19, 2004                              Bishop, CA 93514
        Patricia E. Von Euw, Trustee of the Patricia E. Von Euw              10405 Shoalhaven Dr             Marlton Square 2nd                       Unknown         Y
        Revocable Trust Dated 11/23/04                                       Las Vegas, NV 89134
        Patricia L. Port Trustee of the Patricia L. Port Trust dated 1/28/04 PO Box 7724                     Amesbury/Hatters Point                   Unknown         Y
                                                                             Incline Village, NV 89452
        Patricia L. Stampfli Trustee of the Stampfli Family Decedent's       1270 Greenwich                  Ashby Financial $7,200,000               Unknown         Y
        Trust dated 12/17/93                                                 Reno, NV 89509
        Patricia L. Tiede, an unmarried woman                                5225 Pooks Hill Rd #1520-N      Tapia Ranch                              Unknown         Y
                                                                             Bethesda, MD 20814




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In re            USA Commercial Mortgage Company                     ,                                                                 Case No. 06-10725-LBR
                                  Debtor                                                                                                            (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                            Description and Location of Property                                               Property


                                Legal vesting                                     Mailing Address                    Loan Name           Amount     Contingent
        Patricia M. Briggs Trustee of the John McGarry and Maxine     23301 Arminta St              Marlton Square                      Unknown           Y
        McGarry 1990 Trust dated August 17, 1990 and amended August West Hills, CA 91304
        1, 1999
        Patricia R. Lietz, a married woman dealing with her sole &    3676 Woodhurst Drive          Eagle Meadows Development           Unknown           Y
        separate property                                             Covina, CA 91724
        Patricia R. Lietz, a married woman dealing with her sole &    3676 Woodhurst Drive          Marlton Square                      Unknown           Y
        separate property                                             Covina, CA 91724
        Patrick Davis & Susan Davis, husband & wife, as joint tenants 104 Van Buren Court           Amesbury/Hatters Point              Unknown           Y
        with right of survivorship                                    Colleyville, TX 76034
        Patrick Davis & Susan Davis, husband & wife, as joint tenants 104 Van Buren Court           Amesbury/Hatters Point              Unknown           Y
        with right of survivorship                                    Colleyville, TX 76034
        Patrick Davis & Susan Davis, husband & wife, as joint tenants 104 Van Buren Court           Amesbury/Hatters Point              Unknown           Y
        with right of survivorship                                    Colleyville, TX 76034
        Patrick Davis & Susan Davis, husband & wife, as joint tenants 104 Van Buren Court           Brookmere/Matteson $27,050,000      Unknown           Y
        with right of survivorship                                    Colleyville, TX 76034
        Patrick Davis & Susan Davis, husband & wife, as joint tenants 104 Van Buren Court           Brookmere/Matteson $27,050,000      Unknown           Y
        with right of survivorship                                    Colleyville, TX 76034
        Patrick Davis & Susan Davis, husband & wife, as joint tenants 104 Van Buren Court           Brookmere/Matteson $27,050,000      Unknown           Y
        with right of survivorship                                    Colleyville, TX 76034
        Patrick Edward O'Sullivan & Soon Young O'Sullivan, husband & 7328 Gentle Valley St.         Amesbury/Hatters Point              Unknown           Y
        wife, as joint tenants with right of survivorship             Las Vegas, NV 89149
        Patrick Edward O'Sullivan & Soon Young O'Sullivan, husband & 7328 Gentle Valley St.         HFA-Clear Lake 2nd                  Unknown           Y
        wife, as joint tenants with right of survivorship             Las Vegas, NV 89149
        Patrick Edward O'Sullivan & Soon Young O'Sullivan, husband & 7328 Gentle Valley St.         Placer Vineyards 2nd                Unknown           Y
        wife, as joint tenants with right of survivorship             Las Vegas, NV 89149
        Patrick Edward O'Sullivan & Soon Young O'Sullivan, husband & 7328 Gentle Valley St.         Copper Sage Commerce Center, LLC    Unknown           Y
        wife, as joint tenants with right of survivorship             Las Vegas, NV 89149
        Patrick F. Fenlon and Angela B. Fenlon, husband and wife as   121 W. Harmont Drive          BarUSA/$15,300,000                  Unknown           Y
        joint tenants with the rights of survivorship                 Phoenix, AK 85021
        Patrick F. Fenlon and Angela B. Fenlon, husband and wife as   121 W. Harmont Drive          Gramercy Court Condos               Unknown           Y
        joint tenants with the rights of survivorship                 Phoenix, AK 85021
        Patrick F. Fenlon and Angela B. Fenlon, husband and wife as   121 W. Harmont Drive          Lerin Hills                         Unknown           Y
        joint tenants with the rights of survivorship                 Phoenix, AK 85021
        Patrick Gonzales and Rosemary Gonzales, husband and wife, as 5114 E Kingsgrove Drive        Lerin Hills                         Unknown           Y
        joint tenants with the rights of survivorship                 Somis, CA 93066
        Patrick J. Anglin, an unmarried man                           5130 Dunn Road                Bay Pompano Beach                   Unknown           Y
                                                                      East Dubuque, IL 61025
        Patrick J. Anglin, an unmarried man                           5130 Dunn Road                Tapia Ranch                         Unknown           Y
                                                                      East Dubuque, IL 61025
        Patrick J. Dreikosen & Marion T. Dreikosen Trustees of the    9321 Queen Charlotte Drive    Marlton Square 2nd                  Unknown           Y
        Dreikosen Revocable Trust dated 9/25/97                       Las Vegas, NV 89145
        Patrick J. Dreikosen & Marion T. Dreikosen Trustees of the    9321 Queen Charlotte Drive    Freeway 101                         Unknown           Y
        Dreikosen Revocable Trust dated 9/25/97                       Las Vegas, NV 89145
        Patrick J. Horgan, a single man                               1560 Kestrel Court            HFA- North Yonkers                  Unknown           Y
                                                                      Reno, NV 89509
        Patrick J. Horgan, a single man                               1560 Kestrel Court            Eagle Meadows Development           Unknown           Y
                                                                      Reno, NV 89509
        Patrick J. Murphy & Penny E. Murphy, husband & wife, as joint 20 Lacrosse Court             Freeway 101                         Unknown           Y
        tenants with right of survivorship                            Henderson, NV 89052
        Patrick J. Murphy & Penny E. Murphy, husband & wife, as joint 20 Lacrosse Court             Marlton Square                      Unknown           Y
        tenants with right of survivorship                            Henderson, NV 89052
        Patrick P. Lynch, a single man                                25130 Genuine Risk Rd         Placer Vineyards 2nd                Unknown           Y
                                                                      Monterey, CA 93940
        Patrick P. Lynch, a single man                                25130 Genuine Risk Rd         Marlton Square 2nd                  Unknown           Y
                                                                      Monterey, CA 93940
        Patrick P. Lynch, a single man                                25130 Genuine Risk Rd         Hasley Canyon                       Unknown           Y
                                                                      Monterey, CA 93940
        Patrick P. Lynch, a single man                                25130 Genuine Risk Rd         HFA- Riviera 2nd                    Unknown           Y
                                                                      Monterey, CA 93940




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In re             USA Commercial Mortgage Company                      ,                                                                   Case No. 06-10725-LBR
                                    Debtor                                                                                                              (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                             Description and Location of Property                                                  Property


                                 Legal vesting                                       Mailing Address                       Loan Name         Amount     Contingent
        Patrick P. Lynch, a single man                                     25130 Genuine Risk Rd          Cabernet                          Unknown         Y
                                                                           Monterey, CA 93940
        Patti Ossen Trustee of The Patti Ossen 1999 Revocable Trust        7841 E. Berner St.             Hasley Canyon                     Unknown         Y
                                                                           Long Beach, CA 90808
        Patti Page, a single woman                                         1225 Triumph Court             Hasley Canyon                     Unknown         Y
                                                                           Las Vegas, NV 89117
        Patti Page, a single woman                                         1225 Triumph Court             Marlton Square 2nd                Unknown         Y
                                                                           Las Vegas, NV 89117
        Paul Bloch Trustee of the Paul Bloch Living Trust UA 10/29/02 2111 Strada Mia                     Lerin Hills                       Unknown         Y
                                                                           Las Vegas, NV 89117
        Paul Bloch Trustee of the Paul Bloch Living Trust UA 10/29/02 2111 Strada Mia                     Lerin Hills                       Unknown         Y
                                                                           Las Vegas, NV 89117
        Paul Bloch Trustee of the Paul Bloch Living Trust UA 10/29/02 2111 Strada Mia                     Marlton Square                    Unknown         Y
                                                                           Las Vegas, NV 89117
        Paul Bloch Trustee of the Paul Bloch Living Trust UA 10/29/02 2111 Strada Mia                     Marlton Square                    Unknown         Y
                                                                           Las Vegas, NV 89117
        Paul Bruggemans                                                    385 West Tahquitz Canyon Way   Margarita Annex                   Unknown         Y
                                                                           Palm Springs, CA 92262
        Paul Bruggemans                                                    385 West Tahquitz Canyon Way   BarUSA/$15,300,000                Unknown         Y
                                                                           Palm Springs, CA 92262
        Paul Bruggemans                                                    385 West Tahquitz Canyon Way   Fiesta Oak Valley                 Unknown         Y
                                                                           Palm Springs, CA 92262
        Paul D. Bradshaw Trustee of the Bradshaw Family Trust dated        1015 Sundown Ct                HFA- Riviera 2nd                  Unknown         Y
        8/18/99                                                            Gardnerville, NV 89410
        Paul D. Bradshaw Trustee of the Bradshaw Family Trust dated        1015 Sundown Ct                Placer Vineyards                  Unknown         Y
        8/18/99                                                            Gardnerville, NV 89410
        Paul D. Graf and Margaret A. Graf, husband and wife, as joint      2530 Great Highway             Fiesta USA/Stoneridge             Unknown         Y
        tenants with the right of survivorship                             San Francisco, CA 94116
        Paul D. Graf and Margaret A. Graf, husband and wife, as joint      2530 Great Highway             Castaic Partners II, LLC          Unknown         Y
        tenants with the right of survivorship                             San Francisco, CA 94116
        Paul Fedrizzi & Jane E. Fedrizzi, husband & wife, as joint tenants 11005 S E 18th Street          Eagle Meadows Development         Unknown         Y
        with right of survivorship                                         Vancouver, WA 98664
        Paul Fedrizzi & Jane E. Fedrizzi, husband & wife, as joint tenants 11005 SE 18th Street           Eagle Meadows Development         Unknown         Y
        with right of survivorship                                         Vancouver, WA 98664
        Paul Fedrizzi & Jane E. Fedrizzi, husband & wife, as joint tenants 11005 S E 18th Street          Fiesta Oak Valley                 Unknown         Y
        with right of survivorship                                         Vancouver, WA 98664
        Paul Fedrizzi & Jane E. Fedrizzi, husband & wife, as joint tenants 11005 SE 18th Street           Fiesta Oak Valley                 Unknown         Y
        with right of survivorship                                         Vancouver, WA 98664
        Paul Fedrizzi & Jane E. Fedrizzi, husband & wife, as joint tenants 11005 S E 18th Street          Placer Vineyards                  Unknown         Y
        with right of survivorship                                         Vancouver, WA 98664
        Paul Fedrizzi & Jane E. Fedrizzi, husband & wife, as joint tenants 11005 SE 18th Street           Placer Vineyards                  Unknown         Y
        with right of survivorship                                         Vancouver, WA 98664
        Paul Fedrizzi, a married man dealing with his sole & separate      11005 S E 18th Street          6425 Gess, LTD                    Unknown         Y
        property                                                           Vancouver, WA 98664
        Paul Fedrizzi, a married man dealing with his sole & separate      11005 SE 18th Street           6425 Gess, LTD                    Unknown         Y
        property                                                           Vancouver, WA 98664
        Paul G. Chelew, an unmarried man                                   P. O. Box 370                  Marlton Square                    Unknown         Y
                                                                           Dayton, NV 89403
        Paul G. Chelew, an unmarried man                                   2855 Telegraph Ave Ste 601     Marlton Square                    Unknown         Y
                                                                           Berkeley, CA 94705
        Paul G. Chelew, an unmarried man                                   P. O. Box 370                  Eagle Meadows Development         Unknown         Y
                                                                           Dayton, NV 89403
        Paul G. Chelew, an unmarried man                                   2855 Telegraph Ave Ste 601     Eagle Meadows Development         Unknown         Y
                                                                           Berkeley, CA 94705
        Paul G. Chelew, an unmarried man                                   P. O. Box 370                  Bay Pompano Beach                 Unknown         Y
                                                                           Dayton, NV 89403
        Paul G. Chelew, an unmarried man                                   2855 Telegraph Ave Ste 601     Bay Pompano Beach                 Unknown         Y
                                                                           Berkeley, CA 94705
        Paul Ggem & Eve Sylvie Ggem Trustees of the Ggem Family            17950 Lazy Dog Rd              HFA- Windham                      Unknown         Y
        Trust dated 1/23/03                                                Nevada City, CA 95959




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In re            USA Commercial Mortgage Company                          ,                                                            Case No. 06-10725-LBR
                                    Debtor                                                                                                          (If known)




                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                              Description and Location of Property                                             Property


                                 Legal vesting                                     Mailing Address                    Loan Name           Amount    Contingent
        Paul Ggem & Eve Sylvie Ggem Trustees of the Ggem Family         17950 Lazy Dog Rd            Gramercy Court Condos              Unknown            Y
        Trust dated 1/23/03                                             Nevada City, CA 95959
        Paul Hargis & Susan Gail Hargis, husband & wife, as joint       6950 Darby Avenue            Fiesta Oak Valley                  Unknown            Y
        tenants with right of survivorship                              Las Vegas, NV 89117
        Paul Hargis & Susan Gail Hargis, husband & wife, as joint       6950 Darby Avenue            Marquis Hotel                      Unknown            Y
        tenants with right of survivorship                              Las Vegas, NV 89117
        Paul Hargis & Susan Gail Hargis, husband & wife, as joint       6950 Darby Avenue            Marlton Square                     Unknown            Y
        tenants with right of survivorship                              Las Vegas, NV 89117
        Paul Hargis & Susan Gail Hargis, husband & wife, as joint       6950 Darby Avenue            Margarita Annex                    Unknown            Y
        tenants with right of survivorship                              Las Vegas, NV 89117
        Paul Hargis & Susan Gail Hargis, husband & wife, as joint       6950 Darby Avenue            Castaic Partners II, LLC           Unknown            Y
        tenants with right of survivorship                              Las Vegas, NV 89117
        Paul Hargis & Susan Gail Hargis, husband & wife, as joint       6950 Darby Avenue            BarUSA/$15,300,000                 Unknown            Y
        tenants with right of survivorship                              Las Vegas, NV 89117
        Paul Hargis & Susan Gail Hargis, husband & wife, as joint       6950 Darby Avenue            6425 Gess, LTD                     Unknown            Y
        tenants with right of survivorship                              Las Vegas, NV 89117
        Paul Hargis & Susan Gail Hargis, husband & wife, as joint       6950 Darby Avenue            Eagle Meadows Development          Unknown            Y
        tenants with right of survivorship                              Las Vegas, NV 89117
        Paul L. Kwiatkowski and Colita Jo Kwiatkowski, Trustees of the  15380 Hamilton Street        Amesbury/Hatters Point             Unknown            Y
        Kwiatkowski Revocable Trust, dated 12/17/04                     Omaha, NE 68154
        Paul L. Kwiatkowski and Colita Jo Kwiatkowski, Trustees of the  15380 Hamilton Street        Fiesta USA/Stoneridge              Unknown            Y
        Kwiatkowski Revocable Trust, dated 12/17/04                     Omaha, NE 68154
        Paul L. Kwiatkowski and Colita Jo Kwiatkowski, Trustees of the  15380 Hamilton Street        Gateway Stone                      Unknown            Y
        Kwiatkowski Revocable Trust, dated 12/17/04                     Omaha, NE 68154
        Paul L. Kwiatkowski and Colita Jo Kwiatkowski, Trustees of the  15380 Hamilton Street        Marquis Hotel                      Unknown            Y
        Kwiatkowski Revocable Trust, dated 12/17/04                     Omaha, NE 68154
        Paul N. Kron Trustee of the Paul Kron Estate Trust dtd 06/12/90 1108 Villeroy Drive          Gateway Stone                      Unknown            Y
                                                                        Sun City Center, FL 33573
        Paul Oster, an unmarried man                                    P.O. Box 2618                Marlton Square                     Unknown            Y
                                                                        Mammoth Lakes, CA 93546
        Paul Oster, an unmarried man                                    P.O. Box 2618                Harbor Georgetown                  Unknown            Y
                                                                        Mammoth Lakes, CA 93546
        Paul P. Backes & Loretta D. Backes Co-Trustees of the Backes    1570 East Level Street       Amesbury/Hatters Point             Unknown            Y
        Family Trust dated 8/8/88                                       Covina, CA 91724
        Paul P. Backes & Loretta D. Backes Co-Trustees of the Backes    1570 East Level Street       Gilroy                             Unknown            Y
        Family Trust dated 8/8/88                                       Covina, CA 91724
        Paul P. Backes & Loretta D. Backes Co-Trustees of the Backes    1570 East Level Street       Shamrock Tower, LP                 Unknown            Y
        Family Trust dated 8/8/88                                       Covina, CA 91724
        Paul P. Backes & Loretta D. Backes Co-Trustees of the Backes    1570 East Level Street       Wasco Investments                  Unknown            Y
        Family Trust dated 8/8/88                                       Covina, CA 91724
        Paul Rogan, a married man dealing with his sole & separate      P O Box 1687                 Marquis Hotel                      Unknown            Y
        property                                                        Crystal Bay, NV 89402
        Paul Rogan, a married man dealing with his sole & separate      P.O. Box 1687                Marquis Hotel                      Unknown            Y
        property                                                        Crystal Bay, NV 89402
        Paul Rogan, a married man dealing with his sole & separate      P O Box 1687                 Huntsville                         Unknown            Y
        property                                                        Crystal Bay, NV 89402
        Paul Rogan, a married man dealing with his sole & separate      P.O. Box 1687                Huntsville                         Unknown            Y
        property                                                        Crystal Bay, NV 89402
        Paul Winard Trustee of the Paul Winard Revocable Trust dated 4200 Spring Mountain Rd         BarUSA/$15,300,000                 Unknown            Y
        1/27/95                                                         Las Vegas, NV 89102
        Paula A. Morgan Trustee of the P. Morgan Trust dated 7/1/88     1005 Windfair Village St     HFA- Clear Lake                    Unknown            Y
                                                                        Las Vegas, NV 89145
        Paulius Mosinskis, a married man dealing with his sole &        1545 Gruversvile Road        6425 Gess, LTD                     Unknown            Y
        separate property                                               Richland Town, PA 18955
        Pedro Luis Barroso & Carol Ann Barroso Trustees for the benefit 3231 Cambridgeshire St       Freeway 101                        Unknown            Y
        of the Pedro L. & Carol A. Barroso Trust dated 11/29/90         Las Vegas, NV 89146
        Pedro Luis Barroso & Carol Ann Barroso Trustees for the benefit 3231 Cambridgeshire St       Hasley Canyon                      Unknown            Y
        of the Pedro L. & Carol A. Barroso Trust dated 11/29/90         Las Vegas, NV 89146
        Pedro Luis Barroso & Carol Ann Barroso Trustees for the benefit 3231 Cambridgeshire St       Placer Vineyards                   Unknown            Y
        of the Pedro L. & Carol A. Barroso Trust dated 11/29/90         Las Vegas, NV 89146




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In re            USA Commercial Mortgage Company                      ,                                                                     Case No. 06-10725-LBR
                                   Debtor                                                                                                                (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                             Current Market Value of
                                                                                                                                               Debtor's Interest in
                                                            Description and Location of Property                                                    Property


                                Legal vesting                                      Mailing Address                         Loan Name          Amount     Contingent
        Pedro Luis Barroso & Carol Ann Barroso Trustees for the benefit 3231 Cambridgeshire St             Cabernet                          Unknown         Y
        of the Pedro L. & Carol A. Barroso Trust dated 11/29/90         Las Vegas, NV 89146
        Peggy Ann Valley Trustee as her sole & separate property under 1952 Dolphin Place                  6425 Gess, LTD                    Unknown         Y
        the McLaughlin-Valley Trust dated 2/24/97                       Discovery Bay, CA 94514
        Peggy Ann Valley Trustee as her sole & separate property under 1952 Dolphin Place                  6425 Gess, LTD                    Unknown         Y
        the McLaughlin-Valley Trust dated 2/24/97                       Discovery Bay, CA 94514
        Peggy Ann Valley Trustee as her sole & separate property under 1952 Dolphin Place                  6425 Gess, LTD                    Unknown         Y
        the McLaughlin-Valley Trust dated 2/24/97                       Discovery Bay, CA 94514
        Peggy Ann Valley Trustee as her sole & separate property under 1952 Dolphin Place                  Huntsville                        Unknown         Y
        the McLaughlin-Valley Trust dated 2/24/97                       Discovery Bay, CA 94514
        Peggy Ann Valley Trustee as her sole & separate property under 1952 Dolphin Place                  Huntsville                        Unknown         Y
        the McLaughlin-Valley Trust dated 2/24/97                       Discovery Bay, CA 94514
        Peggy Ann Valley Trustee as her sole & separate property under 1952 Dolphin Place                  Huntsville                        Unknown         Y
        the McLaughlin-Valley Trust dated 2/24/97                       Discovery Bay, CA 94514
        Penny L. Brock Trustee of the Brock Family Trust dated 5/25/95 355 Mugo Pine Circle                Opaque/Mt. Edge $7,350,000        Unknown         Y
                                                                        Reno, NV 89511
        Penny L. Brock Trustee of the Brock Family Trust dated 5/25/95 355 Mugo Pine Circle                Wasco Investments                 Unknown         Y
                                                                        Reno, NV 89511
        Penny L. Brock Trustee of the Brock Family Trust dated 5/25/95 355 Mugo Pine Circle                Bay Pompano Beach                 Unknown         Y
                                                                        Reno, NV 89511
        Penny L. Brock Trustee of the Brock Family Trust dated 5/25/95 355 Mugo Pine Circle                HFA- North Yonkers                Unknown         Y
                                                                        Reno, NV 89511
        Penny Lee Comsia, Trustee of the Penny Lee Comsia Revocable 53 Encantado Canyon                    Gateway Stone                     Unknown         Y
        Trust UDT 4/10/00                                               Rancho Santa Margarita, CA 92688
        Penny Lee Comsia, Trustee of the Penny Lee Comsia Revocable 53 Encantado Canyon                    Lerin Hills                       Unknown         Y
        Trust UDT 4/10/00                                               Rancho Santa Margarita, CA 92688
        Penny Miller and Brian J. Miller, husband and wife, as joint    P O Box 495                        Placer Vineyards                  Unknown         Y
        tenants with right of survivorship                              Zephyr Cove, NV 89448
        Penny Stanard, a Single Woman                                   16004-D Village Green Dr           Amesbury/Hatters Point            Unknown         Y
                                                                        Mill Creek, WA 98012
        Penny Stanard, a Single Woman                                   16004-D Village Green Dr           HFA- Riviera 2nd                  Unknown         Y
                                                                        Mill Creek, WA 98012
        Penny Stanard, a Single Woman                                   16004-D Village Green Dr           Shamrock Tower, LP                Unknown         Y
                                                                        Mill Creek, WA 98012
        Pensco Trust Company Custodian for Gary Deppe, IRA              5961 Cross Rd                      Gramercy Court Condos             Unknown         Y
                                                                        Seguin, TX 78155
        Pensco Trust Company Custodian for Gary Deppe, IRA              5961 Cross Rd                      Gramercy Court Condos             Unknown         Y
                                                                        Seguin, TX 78155
        Pensco Trust Company Custodian for Gary Deppe, IRA              5961 Cross Rd                      Bay Pompano Beach                 Unknown         Y
                                                                        Seguin, TX 78155
        Pensco Trust Company Custodian for Gary Deppe, IRA              5961 Cross Rd                      Bay Pompano Beach                 Unknown         Y
                                                                        Seguin, TX 78155
        Pensco Trust Company Custodian for Gary Deppe, IRA              5961 Cross Rd                      6425 Gess, LTD                    Unknown         Y
                                                                        Seguin, TX 78155
        Pensco Trust Company Custodian for Gary Deppe, IRA              5961 Cross Rd                      6425 Gess, LTD                    Unknown         Y
                                                                        Seguin, TX 78155
        Pensco Trust Company Custodian for Gary Deppe, IRA              5961 Cross Rd                      Midvale Marketplace, LLC          Unknown         Y
                                                                        Seguin, TX 78155
        Pensco Trust Company Custodian for Gary Deppe, IRA              5961 Cross Rd                      Midvale Marketplace, LLC          Unknown         Y
                                                                        Seguin, TX 78155
        Pensco Trust Company Custodian For Gary Hogan IRA H01BD 9900 Wilbur May Pkwy # 1604                Placer Vineyards                  Unknown         Y
                                                                        Reno, NV 89521
        Pensco Trust Company Custodian For Gary Hogan IRA H01BD 9900 Wilbur May Pkwy #1604                 Placer Vineyards                  Unknown         Y
                                                                        Reno, NV 89521
        Pensco Trust Company Custodian For James E. Reardon IRA         120 S Main Street                  Amesbury/Hatters Point            Unknown         Y
                                                                        Mansfield, MA 2048
        Pensco Trust Company Custodian For James Rogers IRA             22 Lopez Avenue                    HFA- Riviera 2nd                  Unknown         Y
                                                                        San Francisco, CA 94116
        Pensco Trust Company Custodian For James Rogers IRA             22 Lopez Avenue                    HFA- Riviera 2nd                  Unknown         Y
                                                                        San Francisco, CA 94116




SCHEDULES                                                                           Exhibit B-21                                                          PAGE 193
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In re             USA Commercial Mortgage Company                        ,                                                              Case No. 06-10725-LBR
                                    Debtor                                                                                                           (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                               Description and Location of Property                                             Property


                                 Legal vesting                                       Mailing Address                   Loan Name          Amount     Contingent
        Pensco Trust Company Custodian for Robert S. Angel IRA           13419 W. Ballard Drive        Lerin Hills                       Unknown           Y
                                                                         Sun City West, AZ 85375
        Pensco Trust Company Custodian for Robert S. Angel IRA           13419 W. Ballard Drive        Gateway Stone                     Unknown           Y
                                                                         Sun City West, AZ 85375
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          Fiesta Oak Valley                 Unknown           Y
                                                                         St Marys, GA 31558
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          Fiesta Oak Valley                 Unknown           Y
                                                                         St Marys, GA 31558
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          Placer Vineyards                  Unknown           Y
                                                                         St Marys, GA 31558
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          Placer Vineyards                  Unknown           Y
                                                                         St Marys, GA 31558
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          HFA- North Yonkers                Unknown           Y
                                                                         St Marys, GA 31558
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          HFA- North Yonkers                Unknown           Y
                                                                         St Marys, GA 31558
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          HFA- Clear Lake                   Unknown           Y
                                                                         St Marys, GA 31558
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          HFA- Clear Lake                   Unknown           Y
                                                                         St Marys, GA 31558
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          Eagle Meadows Development         Unknown           Y
                                                                         St Marys, GA 31558
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          Eagle Meadows Development         Unknown           Y
                                                                         St Marys, GA 31558
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          BarUSA/$15,300,000                Unknown           Y
                                                                         St Marys, GA 31558
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          BarUSA/$15,300,000                Unknown           Y
                                                                         St Marys, GA 31558
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          Gilroy                            Unknown           Y
                                                                         St Marys, GA 31558
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          Gilroy                            Unknown           Y
                                                                         St Marys, GA 31558
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          Cabernet                          Unknown           Y
                                                                         St Marys, GA 31558
        Pensco Trust Company Custodian For Robert William Ulm IRA        414 Morning Glory Rd          Cabernet                          Unknown           Y
                                                                         St Marys, GA 31558
        Percy Young & Ruth Young, husband & wife                         1814 W.Olney Ave.             Tapia Ranch                       Unknown           Y
                                                                         Phoenix, AZ 85041
        Perlman Investment Partners, L.P., a California limited          P O Box 8636                  Fiesta Oak Valley                 Unknown           Y
        partnership                                                      Truckee, CA 96162
        Perry Becker Shirley & Susan A. Shirley Trustees of the Perry    3634 Darren Thornton Way      Gramercy Court Condos             Unknown           Y
        Becker Shirley & Susan A. Shirley Living Trust of 1991           Las Vegas, NV 89120
        Perry Becker Shirley & Susan A. Shirley Trustees of the Perry    3634 Darren Thornton Way      Gramercy Court Condos             Unknown           Y
        Becker Shirley & Susan A. Shirley Living Trust of 1991           Las Vegas, NV 89120
        Peter A. Bolino & Fabiola A. Bolino Trustees of the Bolino       17412 Serene Drive            Bay Pompano Beach                 Unknown           Y
        Family Revocable Trust dated 3/6/95                              Morgan Hill, CA 95037
        Peter Bellas & Joyce Bellas Trustees of the Bellas 1996 Family   3201 Plumas Street #293       Bay Pompano Beach                 Unknown           Y
        Trust                                                            Reno, NV 89509
        Peter Bellas & Joyce Bellas Trustees of the Bellas 1996 Family   3201 Plumas Street #293       Freeway 101                       Unknown           Y
        Trust                                                            Reno, NV 89509
        Peter De Luca, an unmarried man                                  2316 Hermosita Dr.            Shamrock Tower, LP                Unknown           Y
                                                                         Glendale, CA 91208
        Peter E. Sprock Trustee of the Peter E. Sprock 2001 Trust        P O Box 4517                  Ashby Financial $7,200,000        Unknown           Y
                                                                         Stateline, NV 89449
        Peter E. Sprock Trustee of the Peter E. Sprock 2001 Trust        P O Box 4517                  HFA- North Yonkers                Unknown           Y
                                                                         Stateline, NV 89449
        Peter E. Sprock Trustee of the Peter E. Sprock 2001 Trust        P O Box 4517                  Midvale Marketplace, LLC          Unknown           Y
                                                                         Stateline, NV 89449
        Peter E. Sprock Trustee of the Peter E. Sprock 2001 Trust        P O Box 4517                  Placer Vineyards                  Unknown           Y
                                                                         Stateline, NV 89449




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In re             USA Commercial Mortgage Company                      ,                                                                      Case No. 06-10725-LBR
                                    Debtor                                                                                                                 (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                               Current Market Value of
                                                                                                                                                 Debtor's Interest in
                                                               Description and Location of Property                                                   Property


                                 Legal vesting                                      Mailing Address                           Loan Name         Amount     Contingent
        Peter E. Sprock Trustee of the Peter E. Sprock 2001 Trust          P O Box 4517                      Amesbury/Hatters Point            Unknown         Y
                                                                           Stateline, NV 89449
        Peter L. Backes Trustee of the Peter L. Backes Trust               9448 Quail Ridge Drive            Tapia Ranch                       Unknown         Y
                                                                           Las Vegas, NV 89134
        Peter L. Backes Trustee of the Peter L. Backes Trust               9448 Quail Ridge Drive            HFA- North Yonkers                Unknown         Y
                                                                           Las Vegas, NV 89134
        Peter L. Backes Trustee of the Peter L. Backes Trust               9448 Quail Ridge Drive            Shamrock Tower, LP                Unknown         Y
                                                                           Las Vegas, NV 89134
        Peter Labadia and Beverly Labadia, husband and wife as joint       1604 Wandering Winds Way          Bay Pompano Beach                 Unknown         Y
        tenants with the right of survivorship                             Las Vegas, NV 89128
        Peter Sarmanian & Helena Sarmanian, husband & wife, as joint 14 Cushing Road                         Eagle Meadows Development         Unknown         Y
        tenants with right of survivorship                                 Wellesley, MA 2481
        Peter Valve Company, Inc., a Nevada corporation                    2800 A Wrondel Way                Marlton Square 2nd                Unknown         Y
                                                                           Reno, NV 89502
        Peter W. Capone & Deidre D. Capone, husband & wife, as joint P O Box 1470                            Hasley Canyon                     Unknown         Y
        tenants with right of survivorship                                 Gardnerville, NV 89410
        Peter W. Capone & Deidre D. Capone, husband & wife, as joint P O Box 1470                            Placer Vineyards 2nd              Unknown         Y
        tenants with right of survivorship                                 Gardnerville, NV 89410
        Peter W. Capone & Deidre D. Capone, husband & wife, as joint P O Box 1470                            Marquis Hotel                     Unknown         Y
        tenants with right of survivorship                                 Gardnerville, NV 89410
        Peter W. Capone & Deidre D. Capone, husband & wife, as joint P O Box 1470                            Marlton Square                    Unknown         Y
        tenants with right of survivorship                                 Gardnerville, NV 89410
        Peter W. Capone & Deidre D. Capone, husband & wife, as joint P O Box 1470                            Anchor B, LLC                     Unknown         Y
        tenants with right of survivorship                                 Gardnerville, NV 89410
        Peter W. Capone & Deidre D. Capone, husband & wife, as joint P O Box 1470                            HFA- Clear Lake                   Unknown         Y
        tenants with right of survivorship                                 Gardnerville, NV 89410
        Peter W. Capone & Deidre D. Capone, husband & wife, as joint P O Box 1470                            Harbor Georgetown                 Unknown         Y
        tenants with right of survivorship                                 Gardnerville, NV 89410
        Peter W. Capone & Deidre D. Capone, husband & wife, as joint P O Box 1470                            Golden State Investments II       Unknown         Y
        tenants with right of survivorship                                 Gardnerville, NV 89410
        Peter W. Capone & Deidre D. Capone, husband & wife, as joint P O Box 1470                            Gateway Stone                     Unknown         Y
        tenants with right of survivorship                                 Gardnerville, NV 89410
        Peter W. Capone & Deidre D. Capone, husband & wife, as joint P O Box 1470                            Bay Pompano Beach                 Unknown         Y
        tenants with right of survivorship                                 Gardnerville, NV 89410
        Peter W. Capone & Deidre D. Capone, husband & wife, as joint P O Box 1470                            BarUSA/$15,300,000                Unknown         Y
        tenants with right of survivorship                                 Gardnerville, NV 89410
        Peter W. Capone & Deidre D. Capone, husband & wife, as joint P O Box 1470                            HFA- North Yonkers                Unknown         Y
        tenants with right of survivorship                                 Gardnerville, NV 89410
        Peter W. Capone & Deidre D. Capone, husband & wife, as joint P O Box 1470                            Brookmere/Matteson $27,050,000    Unknown         Y
        tenants with right of survivorship                                 Gardnerville, NV 89410
        Petuck Capital Corporation, a Nevada Corporation                   80 Doubling Rd                    Lerin Hills                       Unknown         Y
                                                                           Greenwich, CT 6830
        Phil L. Pfeiler & Loy E. Pfeiler, husband & wife, as joint tenants 806 Buchanan Blvd #115 PMB #249   Harbor Georgetown                 Unknown         Y
        with right of survivorship                                         Boulder City, NV 89005
        Phil L. Pfeiler & Loy E. Pfeiler, husband & wife, as joint tenants 806 Buchanan Blvd #115 PMB #249   Placer Vineyards                  Unknown         Y
        with right of survivorship                                         Boulder City, NV 89005
        Phil Teri                                                          PO Box 96331                      6425 Gess, LTD                    Unknown         Y
                                                                           Las Vegas, NV 89193
        Philip A. Palmintere & Nanci S. Palmintere Trustees of the         11219 Stauffer Lane               Gilroy                            Unknown         Y
        Palmintere Revocable Trust dated 6/19/98                           Cupertino, CA 95014
        Philip A. Palmintere & Nanci S. Palmintere Trustees of the         11219 Stauffer Lane               Amesbury/Hatters Point            Unknown         Y
        Palmintere Revocable Trust dated 6/19/98                           Cupertino, CA 95014
        Philip A. Palmintere & Nanci S. Palmintere Trustees of the         11219 Stauffer Lane               Margarita Annex                   Unknown         Y
        Palmintere Revocable Trust dated 6/19/98                           Cupertino, CA 95014
        Philip A. Palmintere & Nanci S. Palmintere Trustees of the         11219 Stauffer Lane               Hasley Canyon                     Unknown         Y
        Palmintere Revocable Trust dated 6/19/98                           Cupertino, CA 95014
        Philip A. Palmintere & Nanci S. Palmintere Trustees of the         11219 Stauffer Lane               Gateway Stone                     Unknown         Y
        Palmintere Revocable Trust dated 6/19/98                           Cupertino, CA 95014
        Philip A. Palmintere & Nanci S. Palmintere Trustees of the         11219 Stauffer Lane               Eagle Meadows Development         Unknown         Y
        Palmintere Revocable Trust dated 6/19/98                           Cupertino, CA 95014




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In re            USA Commercial Mortgage Company                      ,                                                                  Case No. 06-10725-LBR
                                   Debtor                                                                                                             (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                            Description and Location of Property                                                 Property


                                Legal vesting                                      Mailing Address                       Loan Name         Amount     Contingent
        Philip A. Palmintere & Nanci S. Palmintere Trustees of the        11219 Stauffer Lane           Fiesta Oak Valley                 Unknown         Y
        Palmintere Revocable Trust dated 6/19/98                          Cupertino, CA 95014
        Philip Aldred & Hedwig J Aldred Trustees of the Aldred Living 2485 W. Wigwam Ave. #86           Huntsville                        Unknown         Y
        Trust 2002 U/A dated 10/18/02                                     Las Vegas, NV 89123
        Philip Benjamin and Maureen Benjamin, husband and wife, as        P.O. Box 376                  Marlton Square                    Unknown         Y
        joint tenants with the right of survivorship                      Indian Springs, NV 89018
        Philip Benjamin and Maureen Benjamin, husband and wife, as        P O Box 376                   Marlton Square                    Unknown         Y
        joint tenants with the right of survivorship                      Indian Springs, NV 89018
        Philip C. Higerd, Trustee of The Philip Higerd Family Trust dated P O Box 2535                  Eagle Meadows Development         Unknown         Y
        5-30-03                                                           Mammoth Lake, CA 93546
        Philip Castiglia and Alis Kurtliyan-Castiglia, Trustees of the    10115 La Tuna Canyon Road     Eagle Meadows Development         Unknown         Y
        Castiglia Family Trust dated 11-10-04                             Sun Valley, CA 91352
        Philip H. Lynch, a single man                                     410 East 17th Street          Eagle Meadows Development         Unknown         Y
                                                                          Escondido, CA 92025
        Philip H. Lynch, a single man                                     410 East 17th Street          Brookmere/Matteson $27,050,000    Unknown         Y
                                                                          Escondido, CA 92025
        Philip J. Stidham & Martha L. Stidham Trustees of the Stidham 1930 Village Center Circle 3326   Shamrock Tower, LP                Unknown         Y
        Revocable Trust dated 5/15/02                                     Las Vegas, NV 89134
        Philip J. Stidham & Martha L. Stidham Trustees of the Stidham 1930 Village Center Circle 3326   Shamrock Tower, LP                Unknown         Y
        Revocable Trust dated 5/15/02                                     Las Vegas, NV 89134
        Philip L. Haagenson & Carol H. Haagenson, husband & wife, as 597 Maxwell Dr                     Amesbury/Hatters Point            Unknown         Y
        joint tenants with right of survivorship                          Grand Junction, CO 81504
        Philip Lyons & Dora Lyons Trustees of the Philip & Dora Lyons 2008 Marble Gorge Drive           HFA- Windham                      Unknown         Y
        Trust UA 8/9/99                                                   Las Vegas, NV 89117
        Philip Lyons & Dora Lyons Trustees of the Philip & Dora Lyons 2008 Marble Gorge Drive           Bay Pompano Beach                 Unknown         Y
        Trust UA 8/9/99                                                   Las Vegas, NV 89117
        Philip Lyons & Dora Lyons Trustees of the Philip & Dora Lyons 2008 Marble Gorge Drive           Fiesta USA/Stoneridge             Unknown         Y
        Trust UA 8/9/99                                                   Las Vegas, NV 89117
        Philip Lyons & Dora Lyons Trustees of the Philip & Dora Lyons 2008 Marble Gorge Drive           Gateway Stone                     Unknown         Y
        Trust UA 8/9/99                                                   Las Vegas, NV 89117
        Philip Ruffino & Grace Ruffino, husband & wife, as joint tenants 3047 Van Buskirk               Brookmere/Matteson $27,050,000    Unknown         Y
        with right of survivorship                                        Las Vegas, NV 89121
        Philip Stephen Howell and Lisa Beth Howell, husband and wife, 15 Eastridge                      Margarita Annex                   Unknown         Y
        as joint tenants with the rights of survivorship                  Coto de Caza, CA 92679
        Philip T. Ansuini & Carol J. Ansuini, husband & wife, as joint    10716 Clear Meadows Dr        Gramercy Court Condos             Unknown         Y
        tenants with right of survivorship                                Las Vegas, NV 89134
        Philip T. Cleary and Katherine Cleary Trustees of the Cleary      9705 ShadowStone Ct.          Brookmere/Matteson $27,050,000    Unknown         Y
        Family Revocable Living Trust                                     Reno, NV 89521
        Phillip Darin Goforth & Francesca M. Goforth, husband & wife, 13301 Silver Peak Place NE        BarUSA/$15,300,000                Unknown         Y
        as joint tenants with rights of survivorship                      Albuquerque, NM 87111
        Phillip E. McMullin & Rosemarie L. McMullin Trustees and/or 578 Sutton Way PMB 223              Bay Pompano Beach                 Unknown         Y
        their successors under the Phillip E. McMullin & Rosemarie L.     Grass Valley, CA 95945
        McMullin Family Trust dated 4/4/80 as amended 3/19/94
        Phillip E. McMullin & Rosemarie L. McMullin Trustees and/or 578 Sutton Way PMB 223              Bay Pompano Beach                 Unknown         Y
        their successors under the Phillip E. McMullin & Rosemarie L.     Grass Valley, CA 95945
        McMullin Family Trust dated 4/4/80 as amended 3/19/94
        Phillip E. McMullin & Rosemarie L. McMullin Trustees and/or 578 Sutton Way PMB 223              Bay Pompano Beach                 Unknown         Y
        their successors under the Phillip E. McMullin & Rosemarie L.     Grass Valley, CA 95945
        McMullin Family Trust dated 4/4/80 as amended 3/19/94
        Phillip E. McMullin & Rosemarie L. McMullin Trustees and/or 578 Sutton Way PMB 223              Eagle Meadows Development         Unknown         Y
        their successors under the Phillip E. McMullin & Rosemarie L.     Grass Valley, CA 95945
        McMullin Family Trust dated 4/4/80 as amended 3/19/94
        Phillip E. McMullin & Rosemarie L. McMullin Trustees and/or 578 Sutton Way PMB 223              Eagle Meadows Development         Unknown         Y
        their successors under the Phillip E. McMullin & Rosemarie L.     Grass Valley, CA 95945
        McMullin Family Trust dated 4/4/80 as amended 3/19/94
        Phillip E. McMullin & Rosemarie L. McMullin Trustees and/or 578 Sutton Way PMB 223              Eagle Meadows Development         Unknown         Y
        their successors under the Phillip E. McMullin & Rosemarie L.     Grass Valley, CA 95945
        McMullin Family Trust dated 4/4/80 as amended 3/19/94




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In re             USA Commercial Mortgage Company                         ,                                                                    Case No. 06-10725-LBR
                                    Debtor                                                                                                                  (If known)




                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                               Description and Location of Property                                                    Property


                                 Legal vesting                                       Mailing Address                    Loan Name                Amount     Contingent
        Phillip E. McMullin & Rosemarie L. McMullin Trustees and/or       578 Sutton Way PMB 223       Goss Road                                Unknown         Y
        their successors under the Phillip E. McMullin & Rosemarie L.     Grass Valley, CA 95945
        McMullin Family Trust dated 4/4/80 as amended 3/19/94
        Phillip E. McMullin & Rosemarie L. McMullin Trustees and/or       578 Sutton Way PMB 223       Goss Road                                Unknown         Y
        their successors under the Phillip E. McMullin & Rosemarie L.     Grass Valley, CA 95945
        McMullin Family Trust dated 4/4/80 as amended 3/19/94
        Phillip E. McMullin & Rosemarie L. McMullin Trustees and/or       578 Sutton Way PMB 223       Goss Road                                Unknown         Y
        their successors under the Phillip E. McMullin & Rosemarie L.     Grass Valley, CA 95945
        McMullin Family Trust dated 4/4/80 as amended 3/19/94
        Phillip E. McMullin Trustee as his separate property under the    578 Sutton Way PMB 223       Eagle Meadows Development                Unknown         Y
        Phillip E. McMullin & Rosemarie L. McMullin Family Trust          Grass Valley, CA 95945
        dated 4/4/80 amended 3/19/94
        Phillip E. McMullin Trustee as his separate property under the    578 Sutton Way PMB 223       Eagle Meadows Development                Unknown         Y
        Phillip E. McMullin & Rosemarie L. McMullin Family Trust          Grass Valley, CA 95945
        dated 4/4/80 amended 3/19/94
        Phillip E. McMullin Trustee as his separate property under the    578 Sutton Way PMB 223       Eagle Meadows Development                Unknown         Y
        Phillip E. McMullin & Rosemarie L. McMullin Family Trust          Grass Valley, CA 95945
        dated 4/4/80 amended 3/19/94
        Phillip E. McMullin Trustee as his separate property under the    578 Sutton Way PMB 223       Wasco Investments                        Unknown         Y
        Phillip E. McMullin & Rosemarie L. McMullin Family Trust          Grass Valley, CA 95945
        dated 4/4/80 amended 3/19/94
        Phillip E. McMullin Trustee as his separate property under the    578 Sutton Way PMB 223       Wasco Investments                        Unknown         Y
        Phillip E. McMullin & Rosemarie L. McMullin Family Trust          Grass Valley, CA 95945
        dated 4/4/80 amended 3/19/94
        Phillip E. McMullin Trustee as his separate property under the    578 Sutton Way PMB 223       Wasco Investments                        Unknown         Y
        Phillip E. McMullin & Rosemarie L. McMullin Family Trust          Grass Valley, CA 95945
        dated 4/4/80 amended 3/19/94
        Phillip Eugene Shelton, Trustee of the Restated Shelton          75653 Camino De Paco          Marlton Square                           Unknown         Y
        Revocable Trust dated 1/19/96                                    Indian Wells, CA 92210
        Phillip Eugene Shelton, Trustee of the Restated Shelton          75653 Camino De Paco          6425 Gess, LTD                           Unknown         Y
        Revocable Trust dated 1/19/96                                    Indian Wells, CA 92210
        Phillip M. Rulon & Shirley S. Rulon, husband and wife, as joint  2800 A Wrondel Way            Bay Pompano Beach                        Unknown         Y
        tenants with right of survivorship                               Reno, NV 89502
        Phillip M. Rulon & Shirley S. Rulon, husband and wife, as joint  2800 A Wrondel Way            Riviera - Homes for America Holdings,    Unknown         Y
        tenants with right of survivorship                               Reno, NV 89502                L.L.C.
        Phyllis Johnson, a single woman                                  2270 Watt St.                 Eagle Meadows Development                Unknown         Y
                                                                         Reno, NV 89509
        Pierre G. Candau, a married man dealing with his sole & separate 1550 Apt A 20th Ave           Brookmere/Matteson $27,050,000           Unknown         Y
        property                                                         San Francisco, CA 94122
        Pioneer Accounting & Investments, LLC a Colorado LLC ,           10333 Fairlawn Trail          Marlton Square                           Unknown         Y
        Christian Elbert Manager                                         Highlands Ranch, CO 80130
        Pioneer Accounting & Investments, LLC a Colorado LLC ,           10333 Fairlawn Trail          Gateway Stone                            Unknown         Y
        Christian Elbert Manager                                         Highlands Ranch, CO 80130
        PLB Enterprises, LLC                                             P O Box 67405                 Hasley Canyon                            Unknown         Y
                                                                         Phoenix, AZ 85082
        PLB Enterprises, LLC                                             P O Box 67405                 Marlton Square                           Unknown         Y
                                                                         Phoenix, AZ 85082
        PLB Enterprises, LLC                                             P O Box 67405                 Gramercy Court Condos                    Unknown         Y
                                                                         Phoenix, AZ 85082
        PLB Enterprises, LLC                                             P O Box 67405                 Lerin Hills                              Unknown         Y
                                                                         Phoenix, AZ 85082
        Pompeo J. Lombardi, an unmarried man                             572 Sugarpine Drive           Hasley Canyon                            Unknown         Y
                                                                         Incline Village, NV 89451
        Pompeo J. Lombardi, an unmarried man                             2660 W Lakeridge Shores       Hasley Canyon                            Unknown         Y
                                                                         Reno , NV 89509
        Pompeo J. Lombardi, an unmarried man                             572 Sugarpine Drive           HFA- Riviera 2nd                         Unknown         Y
                                                                         Incline Village, NV 89451
        Pompeo J. Lombardi, an unmarried man                             2660 W Lakeridge Shores       HFA- Riviera 2nd                         Unknown         Y
                                                                         Reno , NV 89509




SCHEDULES                                                                             Exhibit B-21                                                           PAGE 197
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In re             USA Commercial Mortgage Company                        ,                                                               Case No. 06-10725-LBR
                                       Debtor                                                                                                         (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                               Description and Location of Property                                              Property


                                 Legal vesting                                       Mailing Address                     Loan Name         Amount     Contingent
        Pompeo J. Lombardi, an unmarried man, and Sarah A. Grant, a      572 Sugarpine Drive            Bay Pompano Beach                 Unknown          Y
        married woman, as joint tenants with the right of survivorship   Incline Village, NV 89451
        Pompeo J. Lombardi, an unmarried man, and Sarah A. Grant, a      2660 W Lakeridge Shores        Bay Pompano Beach                 Unknown          Y
        married woman, as joint tenants with the right of survivorship   Reno , NV 89509
        Pompeo J. Lombardi, an unmarried man, and Sarah A. Grant, a      572 Sugarpine Drive            Eagle Meadows Development         Unknown          Y
        married woman, as joint tenants with the right of survivorship   Incline Village, NV 89451
        Pompeo J. Lombardi, an unmarried man, and Sarah A. Grant, a      2660 W Lakeridge Shores        Eagle Meadows Development         Unknown          Y
        married woman, as joint tenants with the right of survivorship   Reno , NV 89509
        Pompeo J. Lombardi, an unmarried man, and Sarah A. Grant, a      572 Sugarpine Drive            Shamrock Tower, LP                Unknown          Y
        married woman, as joint tenants with the right of survivorship   Incline Village, NV 89451
        Pompeo J. Lombardi, an unmarried man, and Sarah A. Grant, a      2660 W Lakeridge Shores        Shamrock Tower, LP                Unknown          Y
        married woman, as joint tenants with the right of survivorship   Reno , NV 89509
        Portal Venture, LLC, a California limited liability company      728 N Rockbury Dr              Marlton Square                    Unknown          Y
                                                                         Beverly Hills, CA 90210
        Porter A. Hurt, a single man                                     4833 N Hidden Terrace          Fiesta USA/Stoneridge             Unknown          Y
                                                                         Litchfield Park, AZ 85340
        Portnoff Building                                                P O Box 97593                  Marlton Square                    Unknown          Y
                                                                         Las Vegas, NV 89193
        Premier Trust Inc., as agent for Matthew K. Lamph Account        2980 S Monte Cristo Way        Harbor Georgetown                 Unknown          Y
                                                                         Las Vegas, NV 89117
        Premiere Holdings Inc. Defined Benefit Pension Plan & Trust      10120 W Flamingo Rd Ste 4-12   Placer Vineyards                  Unknown          Y
                                                                         Las Vegas, NV 89147
        Premiere Holdings Inc. Defined Benefit Pension Plan & Trust      10120 W Flamingo Rd Ste 4-12   Placer Vineyards 2nd              Unknown          Y
                                                                         Las Vegas, NV 89147
        Prescia Investments, LLC a Nevada Company, Anthony Prescia       5475 W Teco Ave                HFA- Clear Lake                   Unknown          Y
        and Nancy Prescia Managers                                       Las Vegas, NV 89118
        Preswick Corp., a Nevada corporation                             1400 Colorado S Ste C          6425 Gess, LTD                    Unknown          Y
                                                                         Boulder City, NV 89005
        Preswick Corp., a Nevada corporation                             1400 Colorado S Ste C          Bay Pompano Beach                 Unknown          Y
                                                                         Boulder City, NV 89005
        Preswick Corp., a Nevada corporation                             1400 Colorado S Ste C          Gramercy Court Condos             Unknown          Y
                                                                         Boulder City, NV 89005
        Preswick Corp., a Nevada corporation                             1400 Colorado S Ste C          Harbor Georgetown                 Unknown          Y
                                                                         Boulder City, NV 89005
        Preswick Corp., a Nevada corporation                             1400 Colorado S Ste C          Brookmere/Matteson $27,050,000    Unknown          Y
                                                                         Boulder City, NV 89005
        Prince Emmanuel, a single man                                    643 Woodside Sierra #2         Marlton Square 2nd                Unknown          Y
                                                                         Sacramento, CA 95825
        Priscilla M. Guptail, an unmarried woman                         P O Box 9550                   Bay Pompano Beach                 Unknown          Y
                                                                         Bend, OR 97708
        Priscilla M. Guptail, an unmarried woman                         P O Box 9550                   Bay Pompano Beach                 Unknown          Y
                                                                         Bend, OR 97708
        Priscilla M. Guptail, an unmarried woman                         P O Box 9550                   Placer Vineyards 2nd              Unknown          Y
                                                                         Bend, OR 97708
        Priscilla M. Guptail, an unmarried woman                         P O Box 9550                   Placer Vineyards 2nd              Unknown          Y
                                                                         Bend, OR 97708
        PS II Management, LLC                                            1800 Valley View Ln Ste 300    Gramercy Court Condos             Unknown          Y
                                                                         Dallas, TX 75234
        Queen Butcher Trustee of the Separate Property Subtrust of the   5555 Mount Diablo Drive        Amesbury/Hatters Point            Unknown          Y
        Butcher Family Trust dated 8/30/95                               Las Vegas, NV 89118
        Queen Butcher Trustee of the Separate Property Subtrust of the   5555 Mount Diablo Drive        Brookmere/Matteson $27,050,000    Unknown          Y
        Butcher Family Trust dated 8/30/95                               Las Vegas, NV 89118
        R & N Real Estate Investments LP, Robert J. Verchota, General    8365 So Bonita Vista           Marlton Square 2nd                Unknown          Y
        Partner                                                          Las Vegas, NV 89148
        R & N Real Estate Investments LP, Robert J. Verchota, General    8365 So Bonita Vista           Bay Pompano Beach                 Unknown          Y
        Partner                                                          Las Vegas, NV 89148
        R. David Ferrera & Evelyn C. Ferrera, husband & wife, as joint   621 Mills Road                 BarUSA/$15,300,000                Unknown          Y
        tenants with the right of survivorship                           Sacramento, CA 95864
        R. David Ferrera Trustee of the Sacramento Research Medical      621 Mills Road                 HFA- Clear Lake                   Unknown          Y
        Group Defined Benefit Pension Plan                               Sacramento, CA 95864




SCHEDULES                                                                            Exhibit B-21                                                      PAGE 198
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In re            USA Commercial Mortgage Company                       ,                                                              Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                             Description and Location of Property                                             Property


                                Legal vesting                                     Mailing Address                    Loan Name           Amount    Contingent
        R. David Ferrera Trustee of the Sacramento Research Medical   621 Mills Road                HFA- Clear Lake                    Unknown            Y
        Group Defined Benefit Pension Plan                            Sacramento, CA 95864
        R. David Ferrera Trustee of the Sacramento Research Medical   621 Mills Road                Clear Creek Plantation             Unknown            Y
        Group Defined Benefit Pension Plan                            Sacramento, CA 95864
        R. David Ferrera Trustee of the Sacramento Research Medical   621 Mills Road                Clear Creek Plantation             Unknown            Y
        Group Defined Benefit Pension Plan                            Sacramento, CA 95864
        R. G. Messersmith & Deaun Messersmith, as joint tenants with  2705 Sun Meadow Dr            Gateway Stone                      Unknown            Y
        right of survivorship                                         Twin Falls, ID 83301
        R. G. Messersmith & Deaun Messersmith, as joint tenants with  2705 Sun Meadow Dr            6425 Gess, LTD                     Unknown            Y
        right of survivorship                                         Twin Falls, ID 83301
        R. G. Messersmith & Deaun Messersmith, as joint tenants with  2705 Sun Meadow Dr            Marlton Square                     Unknown            Y
        right of survivorship                                         Twin Falls, ID 83301
        R. Lance Loughlin, a married man                              12286 Clipper Creek Road      Placer Vineyards                   Unknown            Y
                                                                      Nevada City, CA 95959
        Rabinder Maheshwari and Usha Maheshwari, husband and wife, 101 Utah St Room 130             HFA-Clear Lake 2nd                 Unknown            Y
        as joint tenants with the rights of survivorship              San Francisco, CA 94103
        Rabinder Maheshwari and Usha Maheshwari, husband and wife, 101 Utah St Room 130             Castaic Partners II, LLC           Unknown            Y
        as joint tenants with the rights of survivorship              San Francisco, CA 94103
        Rachel Riehle, an unmarried woman                             9962 Westhaven Circle         Placer Vineyards 2nd               Unknown            Y
                                                                      Westminster, CA 92683
        Rachel Riehle, an unmarried woman                             9962 Westhaven Circle         Fiesta Oak Valley                  Unknown            Y
                                                                      Westminster, CA 92683
        Rachel Riehle, an unmarried woman                             9962 Westhaven Circle         Placer Vineyards                   Unknown            Y
                                                                      Westminster, CA 92683
        Rachel Riehle, an unmarried woman                             9962 Westhaven Circle         Cabernet                           Unknown            Y
                                                                      Westminster, CA 92683
        Rachel Wheeler, Trustee of the Rachel Wheeler Trust           739 W Windsor Drive           Lerin Hills                        Unknown            Y
                                                                      St George, UT 84770
        Rachelle A. Goodness Trustee of the Goodness Living Trust     3985 Lake Placid Drive        Eagle Meadows Development          Unknown            Y
        dated 6/28/00                                                 Reno, NV 89511
        Rains Properties, LP, a Nevada limited partnership            P O Box 12088                 Placer Vineyards                   Unknown            Y
                                                                      Las Vegas, NV 89112
        Rains Properties, LP, a Nevada limited partnership            P O Box 12088                 Ten-Ninety, Ltd./$4,150,000        Unknown            Y
                                                                      Las Vegas, NV 89112
        Rains Properties, LP, a Nevada limited partnership            P O Box 12088                 Marquis Hotel                      Unknown            Y
                                                                      Las Vegas, NV 89112
        Rains Properties, LP, a Nevada limited partnership            P O Box 12088                 Marlton Square                     Unknown            Y
                                                                      Las Vegas, NV 89112
        Rains Properties, LP, a Nevada limited partnership            P O Box 12088                 Harbor Georgetown                  Unknown            Y
                                                                      Las Vegas, NV 89112
        Rains Properties, LP, a Nevada limited partnership            P O Box 12088                 Fiesta USA/Stoneridge              Unknown            Y
                                                                      Las Vegas, NV 89112
        Ralph C. Holder & Naomi S. Holder Trustees of the Holder      526 Greenbriar DR             Tapia Ranch                        Unknown            Y
        Revocable Trust dated 10/21/91                                Carson City, NV 89701
        Ralph C. Holder & Naomi S. Holder Trustees of the Holder      526 Greenbriar DR             6425 Gess, LTD                     Unknown            Y
        Revocable Trust dated 10/21/91                                Carson City, NV 89701
        Ralph C. Holder & Naomi S. Holder Trustees of the Holder      526 Greenbriar DR             Huntsville                         Unknown            Y
        Revocable Trust dated 10/21/91                                Carson City, NV 89701
        Ralph C. Holder & Naomi S. Holder Trustees of the Holder      526 Greenbriar DR             Marquis Hotel                      Unknown            Y
        Revocable Trust dated 10/21/91                                Carson City, NV 89701
        Ralph E. Worthing & Maryanne H. Worthing, husband & wife, as 443 Arboles RR2                Amesbury/Hatters Point             Unknown            Y
        joint tenants with right of survivorship                      Bishop, CA 93514
        Ralph E. Worthing & Maryanne H. Worthing, husband & wife, as 443 Arboles RR2                BarUSA/$15,300,000                 Unknown            Y
        joint tenants with right of survivorship                      Bishop, CA 93514
        Ralph E. Worthing & Maryanne H. Worthing, husband & wife, as 443 Arboles RR2                Huntsville                         Unknown            Y
        joint tenants with right of survivorship                      Bishop, CA 93514
        Ralph F. Cameron Trustee of the Cameron Survivors Trust dated 25482 Cadillac Dr.            HFA- North Yonkers                 Unknown            Y
        12/22/97 For the Benefit of his children John Cameron &       Laguna Hills, CA 92653
        Katherine Cameron-Hoffman




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In re            USA Commercial Mortgage Company                         ,                                                                     Case No. 06-10725-LBR
                                   Debtor                                                                                                                   (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                             Description and Location of Property                                                      Property


                                Legal vesting                                        Mailing Address                    Loan Name                Amount     Contingent
        Ralph F. Cameron Trustee of the Cameron Survivors Trust dated    25482 Cadillac Dr.            Huntsville                               Unknown         Y
        12/22/97 For the Benefit of his children John Cameron &          Laguna Hills, CA 92653
        Katherine Cameron-Hoffman
        Ralph F. Cameron Trustee of the Cameron Survivors Trust dated    25482 Cadillac Dr.            Bay Pompano Beach                        Unknown         Y
        12/22/97 For the Benefit of his children John Cameron &          Laguna Hills, CA 92653
        Katherine Cameron-Hoffman
        Ralph F. Cameron Trustee of the Cameron Survivors Trust dated    25482 Cadillac Dr.            Tapia Ranch                              Unknown         Y
        12/22/97 For the Benefit of his children John Cameron &          Laguna Hills, CA 92653
        Katherine Cameron-Hoffman
        Ralph F. Catalanello & Mary Ann Catalanello Trustees of the      10421 Button Willow Dr        Marlton Square 2nd                       Unknown         Y
        Catalanello Trust dated 2/1/99                                   Las Vegas, NV 89134
        Ralph V. Hogue, a married man dealing with his sole & separate   1367 E Rosemary Trail         Gramercy Court Condos                    Unknown         Y
        property                                                         Casa Grande, AZ 85222
        Randall L. Fela & Roberta L. Fela, husband & wife, as joint      3661 E Elderberry Street      Marlton Square 2nd                       Unknown         Y
        tenants with the right of survivorship                           Pahrump, NV 89048
        Randall L. Fela & Roberta L. Fela, husband & wife, as joint      3661 E Elderberry Street      Riviera - Homes for America Holdings,    Unknown         Y
        tenants with the right of survivorship                           Pahrump, NV 89048             L.L.C.
        Randi E. McHugh                                                  4790 Caughlin Pkwy #239       Fiesta Oak Valley                        Unknown         Y
                                                                         Reno, NV 89509
        Randy M. Sanchez & Sharon Sanchez Trustees of the Sanchez        5713 N White Sands Rd         Tapia Ranch                              Unknown         Y
        Living Trust dated 10/13/03                                      Reno, NV 89511
        Randy M. Sanchez & Sharon Sanchez Trustees of the Sanchez        5713 N White Sands Rd         Tapia Ranch                              Unknown         Y
        Living Trust dated 10/13/03                                      Reno, NV 89511
        Randy M. Sanchez & Sharon Sanchez Trustees of the Sanchez        5713 N White Sands Rd         Placer Vineyards                         Unknown         Y
        Living Trust dated 10/13/03                                      Reno, NV 89511
        Randy M. Sanchez & Sharon Sanchez Trustees of the Sanchez        5713 N White Sands Rd         Placer Vineyards                         Unknown         Y
        Living Trust dated 10/13/03                                      Reno, NV 89511
        Randy M. Sanchez & Sharon Sanchez Trustees of the Sanchez        5713 N White Sands Rd         Cabernet                                 Unknown         Y
        Living Trust dated 10/13/03                                      Reno, NV 89511
        Randy M. Sanchez & Sharon Sanchez Trustees of the Sanchez        5713 N White Sands Rd         Cabernet                                 Unknown         Y
        Living Trust dated 10/13/03                                      Reno, NV 89511
        Rare Earth Real Estate, a Nevada Corporation                     3885 Sleepy Hollow Dr         Marlton Square                           Unknown         Y
                                                                         Reno, NV 89502
        Raul A. Domiguez, an unmarried man                               P O Box 1531                  BarUSA/$15,300,000                       Unknown         Y
                                                                         Lovelock, NV 89419
        Raul A. Domiguez, an unmarried man                               P O Box 1531                  Cabernet                                 Unknown         Y
                                                                         Lovelock, NV 89419
        Raul A. Wood, an unmarried man                                   5211 N Lisa Lane              Amesbury/Hatters Point                   Unknown         Y
                                                                         Las Vegas, NV 89149
        Ray L. Coffin & Toni H. Coffin, husband & wife, as joint tenants 4179 Mentone Avenue           Placer Vineyards                         Unknown         Y
        with right of survivorship                                       Culver City, CA 90232
        Ray L. Coffin, a married man dealing with his sole & separate    4179 Mentone Avenue           Gateway Stone                            Unknown         Y
        property                                                         Culver City, CA 90232
        Ray Properties, LLC, a Nevada limited liability company          1202 Jessie Rd                Opaque/Mt. Edge $7,350,000               Unknown         Y
                                                                         Henderson, NV 89015
        Ray Properties, LLC, a Nevada limited liability company          1202 Jessie Rd                HFA- Windham                             Unknown         Y
                                                                         Henderson, NV 89015
        Raymond Brahy & Rita Brahy, husband & wife, as joint tenants 323 S Academy                     HFA- Clear Lake                          Unknown         Y
        with right of survivorship                                       New Braunfels, TX 78130
        Raymond Brahy & Rita Brahy, husband & wife, as joint tenants 323 S Academy                     Tapia Ranch                              Unknown         Y
        with right of survivorship                                       New Braunfels, TX 78130
        Raymond E. Brown, a single man dealing with his sole &           24 Danbury lane               HFA- North Yonkers                       Unknown         Y
        separate property                                                Irvine, CA 92618
        Raymond E. Brown, a single man dealing with his sole &           24 Danbury Lane               HFA- North Yonkers                       Unknown         Y
        separate property                                                Irvine, CA 92618
        Raymond E. Brown, a single man dealing with his sole &           24 Danbury lane               Opaque/Mt. Edge $7,350,000               Unknown         Y
        separate property                                                Irvine, CA 92618
        Raymond E. Brown, a single man dealing with his sole &           24 Danbury Lane               Opaque/Mt. Edge $7,350,000               Unknown         Y
        separate property                                                Irvine, CA 92618




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In re            USA Commercial Mortgage Company                        ,                                                             Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                              Description and Location of Property                                            Property


                                 Legal vesting                                       Mailing Address                    Loan Name        Amount    Contingent
        Raymond E. Harshman & Margaret E. Harshman Trustees of the      PO Box 716                     Eagle Meadows Development       Unknown            Y
        Raymond E. & Margaret Elise Harshman Family Trust dated         Oceanside, CA 92049
        3/4/87
        Raymond E. Harshman & Margaret E. Harshman Trustees of the      PO Box 716                     Fiesta USA/Stoneridge           Unknown            Y
        Raymond E. & Margaret Elise Harshman Family Trust dated         Oceanside, CA 92049
        3/4/87
        Raymond E. Harshman & Margaret E. Harshman Trustees of the      PO Box 716                     Bay Pompano Beach               Unknown            Y
        Raymond E. & Margaret Elise Harshman Family Trust dated         Oceanside, CA 92049
        3/4/87
        Raymond E. Harshman & Margaret E. Harshman Trustees of the      PO Box 716                     Marlton Square                  Unknown            Y
        Raymond E. & Margaret Elise Harshman Family Trust dated         Oceanside, CA 92049
        3/4/87
        Raymond F. Brant and Ann L. Brant Trustees of the Raymond F.     P.O. Box 728                  Eagle Meadows Development       Unknown            Y
        Brant and Ann L. Brant Trust, dated 12/22/92                     Diablo, CA 94528
        Raymond F. Brant and Ann L. Brant Trustees of the Raymond F.     P O Box 728                   Eagle Meadows Development       Unknown            Y
        Brant and Ann L. Brant Trust, dated 12/22/92                     Diablo, CA 94528
        Raymond F. Brant Trustee of the Anne E. Brant Survivor Trust,    P.O. Box 728                  BarUSA/$15,300,000              Unknown            Y
        dated 5/22/87                                                    Diablo, CA 94528
        Raymond F. Brant Trustee of the Anne E. Brant Survivor Trust,    P O Box 728                   BarUSA/$15,300,000              Unknown            Y
        dated 5/22/87                                                    Diablo, CA 94528
        Raymond G. Hawkins, an unmarried man                             940 Venetian Shores Blvd.     Gateway Stone                   Unknown            Y
                                                                         Islamorada, FL 33036
        Raymond G. Hawkins, an unmarried man                             940 Venetian Shores Blvd.     Bay Pompano Beach               Unknown            Y
                                                                         Islamorada, FL 33036
        Raymond J. Eberlin & Karen Eberlin, husband & wife, as joint     P O Box 6795                  Huntsville                      Unknown            Y
        tenants with right of survivorship                               Stateline, NV 89449
        Raymond J. Eberlin & Karen Eberlin, husband & wife, as joint     P O Box 6795                  Margarita Annex                 Unknown            Y
        tenants with right of survivorship                               Stateline, NV 89449
        Raymond J. Eberlin & Karen Eberlin, husband & wife, as joint     P O Box 6795                  Marlton Square                  Unknown            Y
        tenants with right of survivorship                               Stateline, NV 89449
        Raymond J. Eberlin & Karen Eberlin, husband & wife, as joint     P O Box 6795                  Wasco Investments               Unknown            Y
        tenants with right of survivorship                               Stateline, NV 89449
        Raymond J. Healey                                                330 S. Decatur Blvd #360      6425 Gess, LTD                  Unknown            Y
                                                                         Las Vegas, NV 89107
        Raymond J. Healey                                                330 S. Decatur Blvd #360      Amesbury/Hatters Point          Unknown            Y
                                                                         Las Vegas, NV 89107
        Raymond J. Zurfluh, Jr. & Shirley J. Zurfluh, husband & wife, as 120 Danbury Dr                Placer Vineyards                Unknown            Y
        joint tenants with right of survivorship                         Redding, CA 96003
        Raymond J. Zurfluh, Jr. & Shirley J. Zurfluh, husband & wife, as 120 Danbury Dr                Bay Pompano Beach               Unknown            Y
        joint tenants with right of survivorship                         Redding, CA 96003
        Raymond J. Zurfluh, Jr. & Shirley J. Zurfluh, husband & wife, as 120 Danbury Dr                Marlton Square                  Unknown            Y
        joint tenants with right of survivorship                         Redding, CA 96003
        Raymond J. Zurfluh, Jr. & Shirley J. Zurfluh, husband & wife, as 120 Danbury Dr                Tapia Ranch                     Unknown            Y
        joint tenants with right of survivorship                         Redding, CA 96003
        Raymond M. Smith & Margaret M. Smith Grantors of the             P O Box 1195                  Bay Pompano Beach               Unknown            Y
        Raymond M. Smith Revocable Trust dated 3/12/79                   Minden, NV 89423
        Raymond M. Smith & Margaret M. Smith Grantors of the             P O Box 1195                  Eagle Meadows Development       Unknown            Y
        Raymond M. Smith Revocable Trust dated 3/12/79                   Minden, NV 89423
        Raymond M. Smith & Margaret M. Smith Grantors of the             P O Box 1195                  Margarita Annex                 Unknown            Y
        Raymond M. Smith Revocable Trust dated 3/12/79                   Minden, NV 89423
        Raymond Nunez & Sandra L. Lawson Trustees of the The             4238 Curragh Oaks lane        Amesbury/Hatters Point          Unknown            Y
        Raymond & Sandra Nunez Family Trust                              Fair Oaks, CA 95628
        Raymond Nunez & Sandra L. Lawson Trustees of the The             4238 Curragh Oaks lane        Freeway 101                     Unknown            Y
        Raymond & Sandra Nunez Family Trust                              Fair Oaks, CA 95628
        Raymond Nunez & Sandra L. Lawson Trustees of the The             4238 Curragh Oaks lane        HFA- North Yonkers              Unknown            Y
        Raymond & Sandra Nunez Family Trust                              Fair Oaks, CA 95628
        Raymond Nunez & Sandra L. Lawson Trustees of the The             4238 Curragh Oaks lane        Tapia Ranch                     Unknown            Y
        Raymond & Sandra Nunez Family Trust                              Fair Oaks, CA 95628
        Raymond Nunez & Sandra L. Lawson Trustees of the The             4238 Curragh Oaks lane        6425 Gess, LTD                  Unknown            Y
        Raymond & Sandra Nunez Family Trust                              Fair Oaks, CA 95628




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In re            USA Commercial Mortgage Company                     ,                                                                Case No. 06-10725-LBR
                                  Debtor                                                                                                           (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                            Description and Location of Property                                              Property


                                Legal vesting                                     Mailing Address                     Loan Name          Amount    Contingent
        RBR Partnership                                                P.O. Box 376                  Marlton Square                    Unknown            Y
                                                                       Indian Springs, NV 89018
        RBR Partnership                                                P O Box 376                   Marlton Square                    Unknown            Y
                                                                       Indian Springs, NV 89018
        Reba Jo Cardwell, a married woman dealing with her sole and    505 E Windmill Lane 1-B-158   Gilroy                            Unknown            Y
        separate property                                              Las Vegas, NV 89123
        Rebecca A. Rogers Trustee of the Rebecca A. Rogers Trust dated 2309 Sierra Heights Dr        Gramercy Court Condos             Unknown            Y
        9/18/96                                                        Las Vegas, NV 89134
        Rebecca A. Rogers Trustee of the Rebecca A. Rogers Trust dated 2309 Sierra Heights Dr        Marlton Square                    Unknown            Y
        9/18/96                                                        Las Vegas, NV 89134
        Rebecca A. Rogers Trustee of the Rebecca A. Rogers Trust dated 2309 Sierra Heights Dr        Brookmere/Matteson $27,050,000    Unknown            Y
        9/18/96                                                        Las Vegas, NV 89134
        Rena F. De Hart Trustee of the A. Robert De Hart Trust C dated 2737 Billy Casper Dr          Harbor Georgetown                 Unknown            Y
        1/21/93                                                        Las Vegas, NV 89134
        Rena F. De Hart Trustee of the A. Robert De Hart Trust C dated 2737 Billy Casper Drive       Harbor Georgetown                 Unknown            Y
        1/21/93                                                        Las Vegas, NV 89134
        Rena F. De Hart Trustee of the A. Robert De Hart Trust C dated 2737 Billy Casper Dr          Tapia Ranch                       Unknown            Y
        1/21/93                                                        Las Vegas, NV 89134
        Rena F. De Hart Trustee of the A. Robert De Hart Trust C dated 2737 Billy Casper Drive       Tapia Ranch                       Unknown            Y
        1/21/93                                                        Las Vegas, NV 89134
        Rene C. Blanchard Trustee of the Rene C. Blanchard Charitable 3131 West Mead Ave A1          HFA- Clear Lake                   Unknown            Y
        Remainder Trust dated 5/6/04                                   Las Vegas, NV 89102
        Rene C. Blanchard Trustee of the Rene C. Blanchard Charitable 3131 West Meade Ave A1         HFA- Clear Lake                   Unknown            Y
        Remainder Trust dated 5/6/04                                   Las Vegas, NV 89102
        Rene C. Blanchard Trustee of the Rene C. Blanchard Revocable 3131 West Mead Ave A1           HFA- Clear Lake                   Unknown            Y
        Living Trust dated 2/14/73                                     Las Vegas, NV 89102
        Rene C. Blanchard Trustee of the Rene C. Blanchard Revocable 3131 West Meade Ave A1          HFA- Clear Lake                   Unknown            Y
        Living Trust dated 2/14/73                                     Las Vegas, NV 89102
        Resident Agents of Nevada, Inc.                                711 S Carson St Ste #4        Placer Vineyards 2nd              Unknown            Y
                                                                       Carson City, NV 89701
        Retirement Accounts Inc C/F Judd Robbins IRA                   1340 Anderson Creek Rd        6425 Gess, LTD                    Unknown            Y
                                                                       Talent, OR 97540
        Retirement Accounts Inc C/F Judd Robbins IRA                   1340 Anderson Creek Rd        6425 Gess, LTD                    Unknown            Y
                                                                       Talent, OR 97540
        Reverend Timothy Hall Trustee of the Nash Irrevocable Trust    75 Prospect Street            Fiesta USA/Stoneridge             Unknown            Y
                                                                       Nanticoke, PA 18634
        Reverend Timothy Hall Trustee of the Nash Irrevocable Trust    75 Prospect Street            Brookmere/Matteson $27,050,000    Unknown            Y
                                                                       Nanticoke, PA 18634
        Rhoda Dybvig Schaefer Trustee of the Rhoda Dybvig Schaefer     2173 Burris Hill Drive        Huntsville                        Unknown            Y
        Revocable Living Trust dated 7/29/02                           Henderson, NV 89052
        Ricardo Giannetti & Rose Giannetti Trustees of the Ricardo &   5295 Via Andalusia            Amesbury/Hatters Point            Unknown            Y
        Rose Giannetti Trust                                           Yorba Linda, CA 92886
        Richard A. Brening, Sr. and Helen R. Brening Trustees of the   656 Goldstrike Court          Bay Pompano Beach                 Unknown            Y
        Richard A. Brening, Sr. and Helen R. Brening Revocable Trust   Lincoln, CA 95648
        dated 7/17/97
        Richard A. Helmberger & Genene M. Helmberger, joint tenants 39080 Santa Rosa Ct              Amesbury/Hatters Point            Unknown            Y
        with right of survivorship                                     Murrieta, CA 92563
        Richard A. Helmberger & Genene M. Helmberger, joint tenants 2300 Rock Springs Dr # 2044      Amesbury/Hatters Point            Unknown            Y
        with right of survivorship                                     Las Vegas, NV 89125
        Richard A. Helmberger & Genene M. Helmberger, joint tenants 39080 Santa Rosa Ct              Fiesta Oak Valley                 Unknown            Y
        with right of survivorship                                     Murrieta, CA 92563
        Richard A. Helmberger & Genene M. Helmberger, joint tenants 2300 Rock Springs Dr # 2044      Fiesta Oak Valley                 Unknown            Y
        with right of survivorship                                     Las Vegas, NV 89125
        Richard A. Helmberger & Genene M. Helmberger, joint tenants 39080 Santa Rosa Ct              Placer Vineyards 2nd              Unknown            Y
        with right of survivorship                                     Murrieta, CA 92563
        Richard A. Helmberger & Genene M. Helmberger, joint tenants 2300 Rock Springs Dr # 2044      Placer Vineyards 2nd              Unknown            Y
        with right of survivorship                                     Las Vegas, NV 89125
        Richard A. Johnson, a married man dealing with his sole &      PO Box 1844                   Amesbury/Hatters Point            Unknown            Y
        separate property                                              Zephyr Cove, NV 89448




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In re            USA Commercial Mortgage Company                        ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                              Description and Location of Property                                              Property


                                 Legal vesting                                       Mailing Address                    Loan Name         Amount     Contingent
        Richard A. Johnson, a married man dealing with his sole &         PO Box 1844                  Bay Pompano Beach                 Unknown           Y
        separate property                                                 Zephyr Cove, NV 89448
        Richard A. Johnson, a married man dealing with his sole &         PO Box 1844                  Marlton Square 2nd                Unknown           Y
        separate property                                                 Zephyr Cove, NV 89448
        Richard A. Nielsen Inc., a California Corporation                 1305 Bonnie Cove Ave         Midvale Marketplace, LLC          Unknown           Y
                                                                          Glendora, CA 91740
        Richard A. Nielsen Inc., a California Corporation                 1305 Bonnie Cove Ave         Midvale Marketplace, LLC          Unknown           Y
                                                                          Glendora, CA 91740
        Richard A. Nielsen Incorporated Profit Sharing Plan               1305 Bonnie Cove Ave         HFA- Clear Lake                   Unknown           Y
                                                                          Glendora, CA 91740
        Richard A. Nielsen Incorporated Profit Sharing Plan               1305 Bonnie Cove Ave         HFA- Clear Lake                   Unknown           Y
                                                                          Glendora, CA 91740
        Richard C. L. Lee & Estella W. Y. Lee, husband & wife, as joint 1446 35th Avenue               Bay Pompano Beach                 Unknown           Y
        tenants with right of survivorship                                San Francisco, CA 94122
        Richard C. MacDonald and Claire MacDonald Co Trustees of          1730 Horizon Ridge Pkwy      Castaic Partners II, LLC          Unknown           Y
        the 92173 Family Trust (1)                                        Henderson, NV 89012
        Richard C. MacDonald and Claire MacDonald Co Trustees of          1730 Horizon Ridge Pkwy      Castaic Partners II, LLC          Unknown           Y
        the 92173 Family Trust (1)                                        Henderson, NV 89012
        Richard C. MacDonald and Claire MacDonald Co Trustees of          1730 Horizon Ridge Pkwy      Castaic Partners II, LLC          Unknown           Y
        the 92173 Family Trust (1)                                        Henderson, NV 89012
        Richard C. MacDonald Trustee of the 42145 Trust                   1730 Horizon Ridge Pkwy      Castaic Partners II, LLC          Unknown           Y
                                                                          Henderson, NV 89012
        Richard C. MacDonald Trustee of the 42145 Trust                   1730 Horizon Ridge Pkwy      Castaic Partners II, LLC          Unknown           Y
                                                                          Henderson, NV 89012
        Richard C. MacDonald Trustee of the 42145 Trust                   1730 Horizon Ridge Pkwy      Castaic Partners II, LLC          Unknown           Y
                                                                          Henderson, NV 89012
        Richard Case, a single man                                        3333 228th St Southeast 46   HFA- Riviera 2nd                  Unknown           Y
                                                                          Bothel, WA 98021
        Richard D. Barzan and Lelia J. Barzan, husband and wife, as joint 7231 Langworth Rd            Gramercy Court Condos             Unknown           Y
        tenants with the right of survivorship                            Oakdale, CA 95361
        Richard D. Barzan and Lelia J. Barzan, husband and wife, as joint 7231 Langworth Rd            Bay Pompano Beach                 Unknown           Y
        tenants with the right of survivorship                            Oakdale, CA 95361
        Richard D. Barzan and Lelia J. Barzan, husband and wife, as joint 7231 Langworth Rd            BarUSA/$15,300,000                Unknown           Y
        tenants with the right of survivorship                            Oakdale, CA 95361
        Richard D. Luthi Trustee of the Richard D. Luthi Trust dated      4908 Womack Circle           Eagle Meadows Development         Unknown           Y
        5/20/93                                                           The Colony, TX 75056
        Richard D. Luthi Trustee of the Richard D. Luthi Trust dated      4908 Womack Circle           Bay Pompano Beach                 Unknown           Y
        5/20/93                                                           The Colony, TX 75056
        Richard D. Luthi Trustee of the Richard D. Luthi Trust dated      4908 Womack Circle           Brookmere/Matteson $27,050,000    Unknown           Y
        5/20/93                                                           The Colony, TX 75056
        Richard D. Wood Trustee of the Wood Living Trust dated            1075 La Guardia Lane         Marquis Hotel                     Unknown           Y
        10/1/99                                                           Reno, NV 89511
        Richard D. Wood Trustee of the Wood Living Trust dated            1075 La Guardia Lane         Marlton Square                    Unknown           Y
        10/1/99                                                           Reno, NV 89511
        Richard D. Wood Trustee of the Wood Living Trust dated            1075 La Guardia Lane         Eagle Meadows Development         Unknown           Y
        10/1/99                                                           Reno, NV 89511
        Richard D. Wood Trustee of the Wood Living Trust dated            1075 La Guardia Lane         Placer Vineyards                  Unknown           Y
        10/1/99                                                           Reno, NV 89511
        Richard D. Wood Trustee of the Wood Living Trust dated            1075 La Guardia Lane         Tapia Ranch                       Unknown           Y
        10/1/99                                                           Reno, NV 89511
        Richard D. Wood Trustee of the Wood Living Trust dated            1075 La Guardia Lane         6425 Gess, LTD                    Unknown           Y
        10/1/99                                                           Reno, NV 89511
        Richard E. Di Jorio, Transfer on Death to Robert B. Di Jorio      856 Nonie St                 Gateway Stone                     Unknown           Y
                                                                          Santa Rosa, CA 95403
        Richard E. Schneider & Phyllis I. Pratt Co-Trustees of the        3424 Herring Gull Lane       BarUSA/$15,300,000                Unknown           Y
        Richard E. Schneider & Phyllis I. Pratt Revocable Trust dated     North Las Vegas, NV 89084
        12/16/04
        Richard E. Thurmond Limited Partnership, a Nevada limited         749 Willow Ave               Ashby Financial $7,200,000        Unknown           Y
        partnership                                                       Henderson, NV 89015




SCHEDULES                                                                             Exhibit B-21                                                    PAGE 203
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In re             USA Commercial Mortgage Company                        ,                                                               Case No. 06-10725-LBR
                                     Debtor                                                                                                           (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                                Description and Location of Property                                             Property


                                  Legal vesting                                       Mailing Address                    Loan Name         Amount     Contingent
        Richard E. Thurmond Limited Partnership, a Nevada limited         749 Willow Ave                Bay Pompano Beach                 Unknown          Y
        partnership                                                       Henderson, NV 89015
        Richard F. Casey, III & Kathryn A. Casey Trustees of the Casey P O Box 1578                     Anchor B, LLC                     Unknown          Y
        Family Trust                                                      Los Gatos, CA 95031
        Richard F. Casey, III & Kathryn A. Casey Trustees of the Casey P O Box 1578                     Anchor B, LLC                     Unknown          Y
        Family Trust                                                      Los Gatos, CA 95031
        Richard F. Casey, III & Kathryn A. Casey Trustees of the Casey P O Box 1578                     Gramercy Court Condos             Unknown          Y
        Family Trust                                                      Los Gatos, CA 95031
        Richard F. Casey, III & Kathryn A. Casey Trustees of the Casey P O Box 1578                     Gramercy Court Condos             Unknown          Y
        Family Trust                                                      Los Gatos, CA 95031
        Richard F. Kudrna Jr., a married man dealing with his sole and    P O Box 2846                  6425 Gess, LTD                    Unknown          Y
        separate property                                                 Gardnerville, NV 89410
        Richard F. Ulrich, a married man dealing with his sole & separate 1849 Amsterdam                BarUSA/$15,300,000                Unknown          Y
        property                                                          Scotia, NY 12302
        Richard G. Evans and Dorothy D. Evans, Trustees of The Richard 7143 Via Solana                  Bay Pompano Beach                 Unknown          Y
        G. Evans and Dorothy D. Evans Revocable Trust dated 3/5/01        San Jose, CA 95135

        Richard G. Evans and Dorothy D. Evans, Trustees of The Richard 7143 Via Solana                  Bay Pompano Beach                 Unknown          Y
        G. Evans and Dorothy D. Evans Revocable Trust dated 3/5/01     San Jose, CA 95135

        Richard G. Vrbancic, a single man                                103 Willowbrook Dr             Hasley Canyon                     Unknown          Y
                                                                         Waren, OH 44483
        Richard G. Vrbancic, a single man                                103 Willowbrook Dr             Marlton Square 2nd                Unknown          Y
                                                                         Waren, OH 44483
        Richard G. Vrbancic, a single man                                103 Willowbrook Dr             Placer Vineyards 2nd              Unknown          Y
                                                                         Waren, OH 44483
        Richard G. Vrbancic, a single man                                103 Willowbrook Dr             Bay Pompano Beach                 Unknown          Y
                                                                         Waren, OH 44483
        Richard G. Worthen and La Rue S. Worthen Trustees of the         125 Worthen Circle             Marlton Square                    Unknown          Y
        Richard G. Worthen Family Trust                                  Las Vegas, NV 89145
        Richard G. Worthen and La Rue S. Worthen Trustees of the         125 Worthen Circle             Tapia Ranch                       Unknown          Y
        Richard G. Worthen Family Trust                                  Las Vegas, NV 89145
        Richard G. Worthen and La Rue S. Worthen Trustees of the         125 Worthen Circle             Eagle Meadows Development         Unknown          Y
        Richard G. Worthen Family Trust                                  Las Vegas, NV 89145
        Richard Glenn Leiby & Carol K. Leiby Trustees of the Leiby       3101 Brownbirds Nest Dr        Gramercy Court Condos             Unknown          Y
        Family 1992 Trust dated 7/8/92                                   Henderson, NV 89052
        Richard Glenn Leiby & Carol K. Leiby Trustees of the Leiby       3101 Brownbirds Nest Dr        Castaic Partners II, LLC          Unknown          Y
        Family 1992 Trust dated 7/8/92                                   Henderson, NV 89052
        Richard Glenn Leiby & Carol K. Leiby Trustees of the Leiby       3101 Brownbirds Nest Dr        Placer Vineyards                  Unknown          Y
        Family 1992 Trust dated 7/8/92                                   Henderson, NV 89052
        Richard Glenn Leiby & Carol K. Leiby Trustees of the Leiby       3101 Brownbirds Nest Dr        Huntsville                        Unknown          Y
        Family 1992 Trust dated 7/8/92                                   Henderson, NV 89052
        Richard Holeyfield and Marsha Holeyfield, Trustees of the        1103 W Red Oak Rd              Lerin Hills                       Unknown          Y
        Holeyfield Family Trust dated 01/12/01                           P O Box 538
                                                                         Waxahachie, TX 75168
        Richard Holeyfield and Marsha Holeyfield, Trustees of the        1103 W Red Oak Rd              6425 Gess, LTD                    Unknown          Y
        Holeyfield Family Trust dated 01/12/01                           P O Box 538
                                                                         Waxahachie, TX 75168
        Richard Ianni, an unmarried man                                  2840 N Ocean Blvd #1004        Marlton Square                    Unknown          Y
                                                                         Fort Lauderdale , FL 33308
        Richard Ianni, an unmarried man                                  2840 N Ocean Blvd #1004        HFA- North Yonkers                Unknown          Y
                                                                         Fort Lauderdale , FL 33308
        Richard Ianni, an unmarried man                                  2840 N Ocean Blvd #1004        Freeway 101                       Unknown          Y
                                                                         Fort Lauderdale , FL 33308
        Richard Ianni, an unmarried man                                  2840 N Ocean Blvd #1004        Harbor Georgetown                 Unknown          Y
                                                                         Fort Lauderdale , FL 33308
        Richard J. Harris Trustee of the Richard J. Harris Trust dated   2400 West Coast Hwy Suite K    Marlton Square                    Unknown          Y
        1/6/95                                                           Newport Beach, CA 92663
        Richard J. Kane & Dianne M. Kane, husband & wife, as joint       2525 Greensboro Point          Eagle Meadows Development         Unknown          Y
        tenants with right of survivorship                               Reno, NV 89509




SCHEDULES                                                                             Exhibit B-21                                                     PAGE 204
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In re            USA Commercial Mortgage Company                     ,                                                                Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                             Description and Location of Property                                             Property


                                Legal vesting                                     Mailing Address                   Loan Name            Amount    Contingent
        Richard J. Kane & Dianne M. Kane, husband & wife, as joint    2525 Greensboro Point         Gramercy Court Condos              Unknown            Y
        tenants with right of survivorship                            Reno, NV 89509
        Richard J. Kane & Dianne M. Kane, husband & wife, as joint    2525 Greensboro Point         Wasco Investments                  Unknown            Y
        tenants with right of survivorship                            Reno, NV 89509
        Richard J. Loughlin & Roberta L. Loughlin Trustees of the     50 Greenbriar Circle          Castaic Partners II, LLC           Unknown            Y
        Loughlin Family Trust                                         Napa, CA 94558
        Richard J. Loughlin & Roberta L. Loughlin Trustees of the     50 Greenbriar Circle          Brookmere/Matteson $27,050,000     Unknown            Y
        Loughlin Family Trust                                         Napa, CA 94558
        Richard J. Ryan Trustee of the Ryan 1999 Revocable Living     9072 Sundial Drive            Amesbury/Hatters Point             Unknown            Y
        Trust dated 11/15/99                                          Las Vegas, NV 89134
        Richard J. Ryan Trustee of the Ryan 1999 Revocable Living     9072 Sundial Drive            HFA- Clear Lake                    Unknown            Y
        Trust dated 11/15/99                                          Las Vegas, NV 89134
        Richard J. Ryan Trustee of the Ryan 1999 Revocable Living     9072 Sundial Drive            Margarita Annex                    Unknown            Y
        Trust dated 11/15/99                                          Las Vegas, NV 89134
        Richard J. Ryan Trustee of the Ryan 1999 Revocable Living     9072 Sundial Drive            Opaque/Mt. Edge $7,350,000         Unknown            Y
        Trust dated 11/15/99                                          Las Vegas, NV 89134
        Richard K. Harrison, an unmarried man                         5463 Sierra Brook Court       Amesbury/Hatters Point             Unknown            Y
                                                                      Las Vegas, NV 89129
        Richard K. Ross and Lynda J. Ross, Trustees of The Richard & 386 Questa Ct                  Gramercy Court Condos              Unknown            Y
        Lynda Ross Family Trust dated 3/16/05                         Reno, NV 89511
        Richard K. Ross and Lynda J. Ross, Trustees of The Richard & 386 Questa Ct                  Marquis Hotel                      Unknown            Y
        Lynda Ross Family Trust dated 3/16/05                         Reno, NV 89511
        Richard K. Ross and Lynda J. Ross, Trustees of The Richard & 386 Questa Ct                  Shamrock Tower, LP                 Unknown            Y
        Lynda Ross Family Trust dated 3/16/05                         Reno, NV 89511
        Richard Kim, an unmarried man                                 139 Skyview Way               Castaic Partners II, LLC           Unknown            Y
                                                                      San Francisco, CA 94131
        Richard Kim, an unmarried man                                 139 Skyview Way               Golden State Investments II        Unknown            Y
                                                                      San Francisco, CA 94131
        Richard Kleinbaum & Jennifer Kleinbaum, husband & wife        419 Indigo Springs            Harbor Georgetown                  Unknown            Y
                                                                      Henderson, NV 89014
        Richard L. Bowman Trustee for the benefit of The Bowman 1989 10500 Valley Drive             Placer Vineyards                   Unknown            Y
        Revocable Trust                                               Plymouth, CA 95669
        Richard L. Cadieux & Clara M. Cadieux, husband & wife, as     1730 Terrace Heights Lane     Gramercy Court Condos              Unknown            Y
        joint tenants with right of survivorship                      Reno, NV 89523
        Richard L. Cadieux & Clara M. Cadieux, husband & wife, as     1730 Terrace Heights Ln       Gramercy Court Condos              Unknown            Y
        joint tenants with right of survivorship                      Reno, NV 89523
        Richard L. Cadieux & Clara M. Cadieux, husband & wife, as     1730 Terrace Heights Lane     HFA- Windham                       Unknown            Y
        joint tenants with right of survivorship                      Reno, NV 89523
        Richard L. Cadieux & Clara M. Cadieux, husband & wife, as     1730 Terrace Heights Ln       HFA- Windham                       Unknown            Y
        joint tenants with right of survivorship                      Reno, NV 89523
        Richard L. English, an unmarried man, Transfer on Death to    6727 East Swarthmore Drive    Hasley Canyon                      Unknown            Y
        Allison R. English & Andrea R. English, his daughters equally Anaheim, CA 92807
        Richard L. English, an unmarried man, Transfer on Death to    6727 East Swarthmore Drive    HFA- Riviera 2nd                   Unknown            Y
        Allison R. English & Andrea R. English, his daughters equally Anaheim, CA 92807
        Richard L. English, an unmarried man, Transfer on Death to    6727 East Swarthmore Drive    Brookmere/Matteson $27,050,000     Unknown            Y
        Allison R. English & Andrea R. English, his daughters equally Anaheim, CA 92807
        Richard McKnight and Sheila J. McKnight, Trustees of the      330 S. Third Street           Eagle Meadows Development          Unknown            Y
        McKnight 2000 Family Trust, dated 4/20/00                     Las Vegas, NV 89101
        Richard McKnight and Sheila J. McKnight, Trustees of the      330 South Third Street        Eagle Meadows Development          Unknown            Y
        McKnight 2000 Family Trust, dated 4/20/00                     Las Vegas, NV 89101
        Richard McKnight and Sheila J. McKnight, Trustees of the      330 S. Third Street           Gateway Stone                      Unknown            Y
        McKnight 2000 Family Trust, dated 4/20/00                     Las Vegas, NV 89101
        Richard McKnight and Sheila J. McKnight, Trustees of the      330 South Third Street        Gateway Stone                      Unknown            Y
        McKnight 2000 Family Trust, dated 4/20/00                     Las Vegas, NV 89101
        Richard N. Dahlke, a married man dealing with his sole &      25 Harmony Lane               Margarita Annex                    Unknown            Y
        separate property                                             Walnut Creek, CA 94596
        Richard N. Dahlke, a married man dealing with his sole &      25 Harmony Lane               Shamrock Tower, LP                 Unknown            Y
        separate property                                             Walnut Creek, CA 94596
        Richard N. Dahlke, a married man dealing with his sole &      25 Harmony Lane               Placer Vineyards                   Unknown            Y
        separate property                                             Walnut Creek, CA 94596




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In re            USA Commercial Mortgage Company                     ,                                                                  Case No. 06-10725-LBR
                                  Debtor                                                                                                             (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                            Description and Location of Property                                                Property


                                Legal vesting                                     Mailing Address                       Loan Name         Amount     Contingent
        Richard N. Dahlke, a married man dealing with his sole &         25 Harmony Lane               Bay Pompano Beach                 Unknown          Y
        separate property                                                Walnut Creek, CA 94596
        Richard N. Dahlke, a married man dealing with his sole &         25 Harmony Lane               Opaque/Mt. Edge $7,350,000        Unknown          Y
        separate property                                                Walnut Creek, CA 94596
        Richard N. Krupp a married man dealing with his sole & separate 101 State Place Ste. I         Marlton Square                    Unknown          Y
        property                                                         Escondido, CA 92029
        Richard Nevins & Michele Nevins, husband & wife, as joint        1547 Bob Goalby               BarUSA/$15,300,000                Unknown          Y
        tenants with right of survivorship                               El Paso, TX 79935
        Richard Nevins & Michele Nevins, husband & wife, as joint        1547 Bob Goalby               Hasley Canyon                     Unknown          Y
        tenants with right of survivorship                               El Paso, TX 79935
        Richard Nevins & Michele Nevins, husband & wife, as joint        1547 Bob Goalby               HFA- Riviera 2nd                  Unknown          Y
        tenants with right of survivorship                               El Paso, TX 79935
        Richard P. Marson & Mary I. Marson Trustees of the Marson        2046 Cascade Canyon Dr        Marlton Square                    Unknown          Y
        Family Trust dated 6/9/86                                        Saint George, UT 84770
        Richard Pocock & Cathy Pocock, husband & wife, as joint          1101 West Broadway            Fiesta USA/Stoneridge             Unknown          Y
        tenants with right of survivorship                               Needles, CA 92363
        Richard R. Tracy & Ursula W. Tracy, husband & wife, as joint     P O Box 1404                  HFA- Clear Lake                   Unknown          Y
        tenants with right of survivorship                               Carson City, NV 89702
        Richard R. Tracy & Ursula W. Tracy, husband & wife, as joint     P. O. Box 1404                HFA- Clear Lake                   Unknown          Y
        tenants with right of survivorship                               Carson City, NV 89702
        Richard R. Tracy Trustee of the Reno Aeronautical Corporation P O Box 1404                     Anchor B, LLC                     Unknown          Y
        Defined Benefit Retirement Plan                                  Carson City, NV 89702
        Richard R. Tracy Trustee of the Reno Aeronautical Corporation P. O. Box 1404                   Anchor B, LLC                     Unknown          Y
        Defined Benefit Retirement Plan                                  Carson City, NV 89702
        Richard R. Tracy Trustee of the Reno Aeronautical Corporation P O Box 1404                     HFA- Clear Lake                   Unknown          Y
        Defined Benefit Retirement Plan                                  Carson City, NV 89702
        Richard R. Tracy Trustee of the Reno Aeronautical Corporation P. O. Box 1404                   HFA- Clear Lake                   Unknown          Y
        Defined Benefit Retirement Plan                                  Carson City, NV 89702
        Richard S. McDonough, a single man                               6912 South 125 East           Marlton Square 2nd                Unknown          Y
                                                                         Midvale, UT 84047
        Richard S. Worthen and Stephany Worthen, Trustees of the         117 Worthen Circle            Marlton Square                    Unknown          Y
        Richard S. Worthen Family Trust dated 5/4/05                     Las Vegas, NV 89145
        Richard Small & Jacqueline Small Trustees of the Small Family 4801 Calle Santa Cruz            BarUSA/$15,300,000                Unknown          Y
        Trust                                                            Prescott Valley, AZ 86314
        Richard Small & Jacqueline Small Trustees of the Small Family 4801 N Calle Santa Cruz          BarUSA/$15,300,000                Unknown          Y
        Trust                                                            Prescott Valley, AZ 86314
        Richard Small & Jacqueline Small Trustees of the Small Family 4801 Calle Santa Cruz            Gramercy Court Condos             Unknown          Y
        Trust                                                            Prescott Valley, AZ 86314
        Richard Small & Jacqueline Small Trustees of the Small Family 4801 N Calle Santa Cruz          Gramercy Court Condos             Unknown          Y
        Trust                                                            Prescott Valley, AZ 86314
        Richard Small & Jacqueline Small Trustees of the Small Family 4801 Calle Santa Cruz            HFA- Windham                      Unknown          Y
        Trust                                                            Prescott Valley, AZ 86314
        Richard Small & Jacqueline Small Trustees of the Small Family 4801 N Calle Santa Cruz          HFA- Windham                      Unknown          Y
        Trust                                                            Prescott Valley, AZ 86314
        Richard Small & Jacqueline Small Trustees of the Small Family 4801 Calle Santa Cruz            6425 Gess, LTD                    Unknown          Y
        Trust                                                            Prescott Valley, AZ 86314
        Richard Small & Jacqueline Small Trustees of the Small Family 4801 N Calle Santa Cruz          6425 Gess, LTD                    Unknown          Y
        Trust                                                            Prescott Valley, AZ 86314
        Richard Small & Jacqueline Small Trustees of the Small Family 4801 Calle Santa Cruz            Brookmere/Matteson $27,050,000    Unknown          Y
        Trust                                                            Prescott Valley, AZ 86314
        Richard Small & Jacqueline Small Trustees of the Small Family 4801 N Calle Santa Cruz          Brookmere/Matteson $27,050,000    Unknown          Y
        Trust                                                            Prescott Valley, AZ 86314
        Richard Stevenson & Doris Stevenson Trustees of the Stevenson 2051 High Mesa Dr                Gramercy Court Condos             Unknown          Y
        Family Trust                                                     Henderson, NV 89012
        Richard T. Fiory Trustee of the Richard T. Fiory Revocable Trust 55 New Montgomery Blvd #805   Bay Pompano Beach                 Unknown          Y
        dated 05/30/01                                                   San Francisco, CA 94105
        Richard T. Fiory Trustee of the Richard T. Fiory Revocable Trust 55 New Montgomery St. #805    Bay Pompano Beach                 Unknown          Y
        dated 05/30/01                                                   San Francisco, CA 94105
        Richard T. Fiory Trustee of the Richard T. Fiory Revocable Trust 55 New Montgomery Blvd #805   Gramercy Court Condos             Unknown          Y
        dated 05/30/01                                                   San Francisco, CA 94105




SCHEDULES                                                                          Exhibit B-21                                                       PAGE 206
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In re            USA Commercial Mortgage Company                     ,                                                                    Case No. 06-10725-LBR
                                  Debtor                                                                                                               (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                           Current Market Value of
                                                                                                                                             Debtor's Interest in
                                                            Description and Location of Property                                                  Property


                                Legal vesting                                     Mailing Address                       Loan Name           Amount     Contingent
        Richard T. Fiory Trustee of the Richard T. Fiory Revocable Trust 55 New Montgomery St. #805    Gramercy Court Condos               Unknown         Y
        dated 05/30/01                                                   San Francisco, CA 94105
        Richard T. Fiory Trustee of the Topflight Specs Profit Sharing   55 New Montgomery Blvd #805   6425 Gess, LTD                      Unknown         Y
        Plan                                                             San Francisco, CA 94105
        Richard T. Fiory Trustee of the Topflight Specs Profit Sharing   55 New Montgomery St. #805    6425 Gess, LTD                      Unknown         Y
        Plan                                                             San Francisco, CA 94105
        Richard T. Todd & Valere J. Todd Trustees of the Todd Family 5961 Saddle Tree Rd               Opaque/Mt. Edge $7,350,000          Unknown         Y
        Living Trust Agreement dated 12/13/01                            Pahrump, NV 89061
        Richard T. Todd & Valere J. Todd Trustees of the Todd Family 5961 Saddle Tree Rd               Copper Sage Commerce Center, LLC    Unknown         Y
        Living Trust Agreement dated 12/13/01                            Pahrump, NV 89061
        Richard W. Murphy & Virgnia E. Murphy, Trustees of the           255 Stags Leap Circle         6425 Gess, LTD                      Unknown         Y
        Richard W. Murphy & Virgnia E. Murphy Revocable Living           Sparks, NV 89436
        Trust Agreement as of 7/1790
        Richard Woldorsky, a single man                                  2517 Lynn Avenue South        Placer Vineyards                    Unknown         Y
                                                                         St. Louis Park, MN 55416
        Richard Z. Evans, an unmarried man                               10409 Summershade Lane        Bay Pompano Beach                   Unknown         Y
                                                                         Reno, NV 89521
        Richmond Dean II & Jean Dean Trustees of the Dean Family         8730 Petite Creek Dr          Bay Pompano Beach                   Unknown         Y
        Trust dated 12/26/84                                             Orangevale, CA 95662
        Rifqa Shahin Trustor & Trustee of The Rifqa Shahin Trust dated 19211 Chole Rd                  Marlton Square                      Unknown         Y
        6/8/94                                                           Apple Valley, CA 92307
        Rifqa Shahin Trustor & Trustee of The Rifqa Shahin Trust dated 19211 Chole Rd                  Midvale Marketplace, LLC            Unknown         Y
        6/8/94                                                           Apple Valley, CA 92307
        Rita B. Taylor Trustee of the Rita B. Taylor Revocable Living    P O Box 81                    Amesbury/Hatters Point              Unknown         Y
        Trust dated 10/2/96                                              McArthur, CA 96056
        Rita K. Malkin Trustee of the Rita K. Malkin Trust dated         1705 Burwood Circle           Bay Pompano Beach                   Unknown         Y
        7/26/2002                                                        Reno, NV 89521
        Rita P. Anderson Trustee For the Benefit of Rita P. Anderson     211 Copper Ridge Court        HFA- North Yonkers                  Unknown         Y
        Trust                                                            Boulder City, NV 89005
        Rita P. Anderson Trustee For the Benefit of Rita P. Anderson     211 Copper Ridge Court        Wasco Investments                   Unknown         Y
        Trust                                                            Boulder City, NV 89005
        Rita P. Anderson Trustee For the Benefit of Rita P. Anderson     211 Copper Ridge Court        Tapia Ranch                         Unknown         Y
        Trust                                                            Boulder City, NV 89005
        Rita P. Anderson Trustee For the Benefit of Rita P. Anderson     211 Copper Ridge Court        Marlton Square                      Unknown         Y
        Trust                                                            Boulder City, NV 89005
        Rita P. Anderson Trustee For the Benefit of Rita P. Anderson     211 Copper Ridge Court        HFA- Clear Lake                     Unknown         Y
        Trust                                                            Boulder City, NV 89005
        Rita P. Anderson Trustee For the Benefit of Rita P. Anderson     211 Copper Ridge Court        Eagle Meadows Development           Unknown         Y
        Trust                                                            Boulder City, NV 89005
        Rita P. Anderson Trustee For the Benefit of Rita P. Anderson     211 Copper Ridge Court        6425 Gess, LTD                      Unknown         Y
        Trust                                                            Boulder City, NV 89005
        Rita P. Anderson Trustee For the Benefit of Rita P. Anderson     211 Copper Ridge Court        Placer Vineyards                    Unknown         Y
        Trust                                                            Boulder City, NV 89005
        Robert A. Cowman & Sandra L. Cowman, husband & wife, as          1525 Winterwood Ave           6425 Gess, LTD                      Unknown         Y
        joint tenants with right of survivorship                         Sparks, NV 89434
        Robert A. Kehl & Tina M. Kehl, husband & wife, as joint tenants 9001 Lincoln Road              Ten-Ninety, Ltd./$4,150,000         Unknown         Y
        with right of survivorship                                       Fulton, IL 61252
        Robert A. Kehl & Tina M. Kehl, husband & wife, as joint tenants 9001 Lincoln Road              BarUSA/$15,300,000                  Unknown         Y
        with right of survivorship                                       Fulton, IL 61252
        Robert A. Kehl & Tina M. Kehl, husband & wife, as joint tenants 9001 Lincoln Road              Bay Pompano Beach                   Unknown         Y
        with right of survivorship                                       Fulton, IL 61252
        Robert A. Schell & Ruth M Schell Trustees of the Schell Family 855 Blue Spruce Rd              Amesbury/Hatters Point              Unknown         Y
        Trust dated 8/21/92                                              Reno, NV 89511
        Robert A. Schell & Ruth M Schell Trustees of the Schell Family 855 Blue Spruce Rd              BarUSA/$15,300,000                  Unknown         Y
        Trust dated 8/21/92                                              Reno, NV 89511
        Robert A. Schell & Ruth M Schell Trustees of the Schell Family 855 Blue Spruce Rd              Fiesta Oak Valley                   Unknown         Y
        Trust dated 8/21/92                                              Reno, NV 89511
        Robert A. Shaddy, an unmarried man                               7968 Marbella Circle          Gramercy Court Condos               Unknown         Y
                                                                         Las Vegas, NV 89128




SCHEDULES                                                                          Exhibit B-21                                                         PAGE 207
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In re            USA Commercial Mortgage Company                         ,                                                             Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                             Description and Location of Property                                              Property


                                Legal vesting                                       Mailing Address                    Loan Name         Amount     Contingent
        Robert A. Susskind, an unmarried man                             9900 Wilbur May Pkwy #206    Fiesta Oak Valley                 Unknown           Y
                                                                         Reno, NV 89521
        Robert A. Susskind, an unmarried man                             9900 Wilbur May Pkwy #206    Brookmere/Matteson $27,050,000    Unknown           Y
                                                                         Reno, NV 89521
        Robert Alan Bryant Sr. Trustee of The Robert Alan Bryant Sr.     16247 W Cottonwood St        6425 Gess, LTD                    Unknown           Y
        Revocable Trust under agreement dated 9/25/03                    Surprise, AZ 85374
        Robert Alan Cowman & Terry Lee Cowman Co-Trustees of the         1525 Winterwood Ave          Brookmere/Matteson $27,050,000    Unknown           Y
        Charles Robert Cowman & Geneva Cowman Joint Revocable            Sparks, NV 89434
        Inter Vivos Trust
        Robert B. Bender & Paula S. Bender, husband & wife, as joint    733 Champagne                 Margarita Annex                   Unknown           Y
        tenants with right of survivorship                              Incline Village, NV 89451
        Robert B. Bender & Paula S. Bender, husband & wife, as joint    733 Champagne                 Margarita Annex                   Unknown           Y
        tenants with right of survivorship                              Incline Village, NV 89451
        Robert B. Bender & Paula S. Bender, husband & wife, as joint    733 Champagne                 Bay Pompano Beach                 Unknown           Y
        tenants with right of survivorship                              Incline Village, NV 89451
        Robert B. Bender & Paula S. Bender, husband & wife, as joint    733 Champagne                 Bay Pompano Beach                 Unknown           Y
        tenants with right of survivorship                              Incline Village, NV 89451
        Robert B. Lawrence and Patricia A. Lawrence, husband and wife, 44560 Country Club Dr          Marlton Square 2nd                Unknown           Y
        as joint tenants with the rights of survivorship                El Macero, CA 95618
        Robert B. Lawrence and Patricia A. Lawrence, husband and wife, 44560 Country Club Dr          HFA- Riviera 2nd                  Unknown           Y
        as joint tenants with the rights of survivorship                El Macero, CA 95618
        Robert B. Lundberg, a married man dealing with his sole &       340 E 300 N                   Huntsville                        Unknown           Y
        separate property                                               Manti, UT 84642
        Robert B. Lundberg, a married man dealing with his sole &       340 E 300 N                   Shamrock Tower, LP                Unknown           Y
        separate property                                               Manti, UT 84642
        Robert B. Lundberg, a married man dealing with his sole &       340 E 300 N                   Fiesta Oak Valley                 Unknown           Y
        separate property                                               Manti, UT 84642
        Robert B. Sandler & Patricia D. Sandler Trustees of the Sandler 8912 E Pinnacle Rd Box 591    Lerin Hills                       Unknown           Y
        Living Trust dated August 29, 2005                              Scottsdale, AZ 85255
        Robert Bennett & Michele Bennett, Husband and wife as joint     426 W Englewood Ave           Marlton Square                    Unknown           Y
        tenants with right of survivorship                              Chicago, IL 60621
        Robert Bennett & Michele Bennett, Husband and wife as joint     426 W Englewood Ave           Marlton Square                    Unknown           Y
        tenants with right of survivorship                              Chicago, IL 60621
        Robert Bennett, a married man dealing with his sole & separate 426 W Englewood Ave            Placer Vineyards                  Unknown           Y
        property & Dorothy Bennett, a single woman, as joint tenants    Chicago, IL 60621
        with right of survivorship
        Robert Bennett, a married man dealing with his sole & separate 426 W Englewood Ave            Placer Vineyards                  Unknown           Y
        property & Dorothy Bennett, a single woman, as joint tenants    Chicago, IL 60621
        with right of survivorship
        Robert C. Patterson-Rogers and Joyce Patterson-Rogers, Trustees P O Box 60175                 HFA- North Yonkers                Unknown           Y
        of the Patterson-Rogers Family 2001 Trust, dated 9/5/01         Las Vegas, NV 89160

        Robert C. Toombes and Patsy G. Toombes, husband and wife, as     P. O. Box 11665              Gateway Stone                     Unknown           Y
        joint tenants with the right of survivorship                     Zephyr Cove, NV 89448
        Robert Carollo & Beverly Carollo, husband & wife, as joint       5607 Gateway Road            Fiesta USA/Stoneridge             Unknown           Y
        tenants with right of survivorship                               Las Vegas, NV 89120
        Robert Carollo & Beverly Carollo, husband & wife, as joint       5607 Gateway Road            Harbor Georgetown                 Unknown           Y
        tenants with right of survivorship                               Las Vegas, NV 89120
        Robert D. Earp, a married man dealing with his sole & separate   609 North Laurel             Tapia Ranch                       Unknown           Y
        property                                                         El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate   609 North Laurel             Tapia Ranch                       Unknown           Y
        property                                                         El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate   609 North Laurel             Tapia Ranch                       Unknown           Y
        property                                                         El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate   609 North Laurel             Shamrock Tower, LP                Unknown           Y
        property                                                         El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate   609 North Laurel             Shamrock Tower, LP                Unknown           Y
        property                                                         El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate   609 North Laurel             Shamrock Tower, LP                Unknown           Y
        property                                                         El Paso, TX 79903




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In re            USA Commercial Mortgage Company                     ,                                                                Case No. 06-10725-LBR
                                  Debtor                                                                                                           (If known)




                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                           Description and Location of Property                                               Property


                                Legal vesting                                     Mailing Address                   Loan Name            Amount    Contingent
        Robert D. Earp, a married man dealing with his sole & separate 609 North Laurel             HFA- Windham                       Unknown            Y
        property                                                       El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate 609 North Laurel             HFA- Windham                       Unknown            Y
        property                                                       El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate 609 North Laurel             HFA- Windham                       Unknown            Y
        property                                                       El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate 609 North Laurel             Fiesta USA/Stoneridge              Unknown            Y
        property                                                       El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate 609 North Laurel             Fiesta USA/Stoneridge              Unknown            Y
        property                                                       El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate 609 North Laurel             Fiesta USA/Stoneridge              Unknown            Y
        property                                                       El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate 609 North Laurel             Amesbury/Hatters Point             Unknown            Y
        property                                                       El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate 609 North Laurel             Amesbury/Hatters Point             Unknown            Y
        property                                                       El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate 609 North Laurel             Amesbury/Hatters Point             Unknown            Y
        property                                                       El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate 609 North Laurel             6425 Gess, LTD                     Unknown            Y
        property                                                       El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate 609 North Laurel             6425 Gess, LTD                     Unknown            Y
        property                                                       El Paso, TX 79903
        Robert D. Earp, a married man dealing with his sole & separate 609 North Laurel             6425 Gess, LTD                     Unknown            Y
        property                                                       El Paso, TX 79903
        Robert D. Howard Sr. Trustee of The 2001 Robert D. Howard Sr. 2361 Zuni Avenue              Marlton Square 2nd                 Unknown            Y
        Trust                                                          Pahrump, NV 89048
        Robert D. Howard Sr. Trustee of The 2001 Robert D. Howard Sr. 2361 Zuni Avenue              Cabernet                           Unknown            Y
        Trust                                                          Pahrump, NV 89048
        Robert D. Mierau & Sandra J. Mierau Trustees of the Mierau     P O Box 562                  Amesbury/Hatters Point             Unknown            Y
        Living Trust dated 9/14/98                                     Glenbrook, NV 89413
        Robert D. Mierau & Sandra J. Mierau Trustees of the Mierau     P O Box 562                  Placer Vineyards                   Unknown            Y
        Living Trust dated 9/14/98                                     Glenbrook, NV 89413
        Robert D. Mierau & Sandra J. Mierau Trustees of the Mierau     P O Box 562                  Huntsville                         Unknown            Y
        Living Trust dated 9/14/98                                     Glenbrook, NV 89413
        Robert D. Mierau & Sandra J. Mierau Trustees of the Mierau     P O Box 562                  Bay Pompano Beach                  Unknown            Y
        Living Trust dated 9/14/98                                     Glenbrook, NV 89413
        Robert D. Mierau & Sandra J. Mierau Trustees of the Mierau     P O Box 562                  Fiesta Oak Valley                  Unknown            Y
        Living Trust dated 9/14/98                                     Glenbrook, NV 89413
        Robert D. Mierau & Sandra J. Mierau Trustees of the Mierau     P O Box 562                  Eagle Meadows Development          Unknown            Y
        Living Trust dated 9/14/98                                     Glenbrook, NV 89413
        Robert D. Moskowitz, a single man                              387 Jalisco Court            Marquis Hotel                      Unknown            Y
                                                                       Camarillo, Ca 93010
        Robert D. Phillips, an unmarried man                           5382 Edinger Avenue          Fiesta Oak Valley                  Unknown            Y
                                                                       Huntington Beach, CA 92649
        Robert D. Phillips, an unmarried man                           5382 Edinger Avenue          Placer Vineyards 2nd               Unknown            Y
                                                                       Huntington Beach, CA 92649
        Robert D. Phillips, an unmarried man                           5382 Edinger Avenue          Cabernet                           Unknown            Y
                                                                       Huntington Beach, CA 92649
        Robert D. Sleeper & Mary A. Sleeper Trustees of the Robert &   4340 Johanna Road            Brookmere/Matteson $27,050,000     Unknown            Y
        Mary Sleeper Family Trust dated 3/30/90                        Aptos, CA 95003
        Robert D. Sleeper & Mary A. Sleeper Trustees of the Robert &   100 Cotton Lane              Brookmere/Matteson $27,050,000     Unknown            Y
        Mary Sleeper Family Trust dated 3/30/90                        Soquel, CA 95073
        Robert DiBias & Louise G. Sherk Trustees of the Louise G.      3830 Ocean Birch Drive       Eagle Meadows Development          Unknown            Y
        Sherk, MD, a medical corporation, Employee Benefit Plan Trust Corona Del Mar, CA 92625
        Robert DiBias & Louise G. Sherk Trustees of the Louise G.      3830 Ocean Birch Drive       Wasco Investments                  Unknown            Y
        Sherk, MD, a medical corporation, Employee Benefit Plan Trust Corona Del Mar, CA 92625
        Robert DiBias & Louise G. Sherk Trustees of the Louise G.      3830 Ocean Birch Drive       Placer Vineyards                   Unknown            Y
        Sherk, MD, a medical corporation, Employee Benefit Plan Trust Corona Del Mar, CA 92625
        Robert DiBias & Louise G. Sherk Trustees of the Louise G.      3830 Ocean Birch Drive       Opaque/Mt. Edge $7,350,000         Unknown            Y
        Sherk, MD, a medical corporation, Employee Benefit Plan Trust Corona Del Mar, CA 92625




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In re             USA Commercial Mortgage Company                          ,                                                                     Case No. 06-10725-LBR
                                    Debtor                                                                                                                    (If known)




                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                    EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                  Current Market Value of
                                                                                                                                                    Debtor's Interest in
                                                                Description and Location of Property                                                     Property


                                 Legal vesting                                         Mailing Address                    Loan Name                Amount     Contingent
        Robert DiBias & Louise G. Sherk Trustees of the Louise G.          3830 Ocean Birch Drive        Fiesta Oak Valley                        Unknown         Y
        Sherk, MD, a medical corporation, Employee Benefit Plan Trust      Corona Del Mar, CA 92625
        Robert DiBias & Louise G. Sherk Trustees of the Louise G.          3830 Ocean Birch Drive        BarUSA/$15,300,000                       Unknown         Y
        Sherk, MD, a medical corporation, Employee Benefit Plan Trust      Corona Del Mar, CA 92625
        Robert DiBias & Louise G. Sherk Trustees of the Louise G.          3830 Ocean Birch Drive        Gramercy Court Condos                    Unknown         Y
        Sherk, MD, a medical corporation, Employee Benefit Plan Trust      Corona Del Mar, CA 92625
        Robert Dollar & Barbara Dollar Trustees of The Dollar Family       8 Tether Moon Lane            Riviera - Homes for America Holdings,    Unknown         Y
        Trust dated 3/16/01                                                Ladera Ranch, CA 92694        L.L.C.
        Robert Dollar & Barbara Dollar Trustees of The Dollar Family       8 Tether Moon Lane            HFA- Windham                             Unknown         Y
        Trust dated 3/16/01                                                Ladera Ranch, CA 92694
        Robert E. Brooks, a married man dealing with his sole and          1405 14th Ave SW              Bay Pompano Beach                        Unknown         Y
        separate property                                                  Minot, ND 58701
        Robert E. Brooks, a married man dealing with his sole and          1405 14th Ave SW              Bay Pompano Beach                        Unknown         Y
        separate property                                                  Minot, ND 58701
        Robert E. Brooks, a married man dealing with his sole and          1405 14th Ave SW              Anchor B, LLC                            Unknown         Y
        separate property                                                  Minot, ND 58701
        Robert E. Brooks, a married man dealing with his sole and          1405 14th Ave SW              Anchor B, LLC                            Unknown         Y
        separate property                                                  Minot, ND 58701
        Robert E. Brooks, a married man, and Candith Brooks, an            1405 14th Ave SW              HFA- North Yonkers                       Unknown         Y
        unmarried woman, as joint tenants with the right of survivorship   Minot, ND 58701
        Robert E. Brooks, a married man, and Candith Brooks, an            1405 14th Ave SW              HFA- North Yonkers                       Unknown         Y
        unmarried woman, as joint tenants with the right of survivorship   Minot, ND 58701
        Robert E. Finnman Trustee of the Finnman Family Trust dated        4538 Silver Berry Court       6425 Gess, LTD                           Unknown         Y
        4/4/94                                                             Jacksonville, FL 32224
        Robert E. Finnman Trustee of the Finnman Family Trust dated        4538 Silver Berry Court       Marquis Hotel                            Unknown         Y
        4/4/94                                                             Jacksonville, FL 32224
        Robert E. Finnman Trustee of the Finnman Family Trust dated        4538 Silver Berry Court       Clear Creek Plantation                   Unknown         Y
        4/4/94                                                             Jacksonville, FL 32224
        Robert E. Hughes, an unmarried man                                 3465 Brittlewood Avenue       6425 Gess, LTD                           Unknown         Y
                                                                           Las Vegas, NV 89120
        Robert E. Meldrum, a married man dealing with his sole &           7077 Heatherwood Drive        HFA- North Yonkers                       Unknown         Y
        separate property                                                  Reno, NV 89523
        Robert E. Ray & Peggie Ray Trustees of the Ray Family Trust        1202 Jessie Rd                Amesbury/Hatters Point                   Unknown         Y
        dated 6/28/89                                                      Henderson, NV 89015
        Robert E. Ray & Peggie Ray Trustees of the Ray Family Trust        1202 Jessie Rd                Amesbury/Hatters Point                   Unknown         Y
        dated 6/28/89                                                      Henderson, NV 89015
        Robert E. Ray & Peggie Ray Trustees of the Ray Family Trust        1202 Jessie Rd                Eagle Meadows Development                Unknown         Y
        dated 6/28/89                                                      Henderson, NV 89015
        Robert E. Ray & Peggie Ray Trustees of the Ray Family Trust        1202 Jessie Rd                Eagle Meadows Development                Unknown         Y
        dated 6/28/89                                                      Henderson, NV 89015
        Robert E. Ray & Peggie Ray Trustees of the Ray Family Trust        1202 Jessie Rd                Gilroy                                   Unknown         Y
        dated 6/28/89                                                      Henderson, NV 89015
        Robert E. Ray & Peggie Ray Trustees of the Ray Family Trust        1202 Jessie Rd                Gilroy                                   Unknown         Y
        dated 6/28/89                                                      Henderson, NV 89015
        Robert Eric Brandin and Evelyn Mary Brandin, Trustees of The       2 La Lomita Street            Marlton Square                           Unknown         Y
        Brandin Family Trust dated December 1980 as updated.               Newbury Park, CA 91320
        Robert Eric Brandin and Evelyn Mary Brandin, Trustees of The       726 Idaho Ave #305            Marlton Square                           Unknown         Y
        Brandin Family Trust dated December 1980 as updated.               Santa Monica, CA 90403
        Robert Eric Brandin and Evelyn Mary Brandin, Trustees of The       2 La Lomita Street            Gramercy Court Condos                    Unknown         Y
        Brandin Family Trust dated December 1980 as updated.               Newbury Park, CA 91320
        Robert Eric Brandin and Evelyn Mary Brandin, Trustees of The       726 Idaho Ave #305            Gramercy Court Condos                    Unknown         Y
        Brandin Family Trust dated December 1980 as updated.               Santa Monica, CA 90403
        Robert Essaff & Cindy H. Essaff Trustees of the Essaff Family      2860 Heybourne Road           Golden State Investments II              Unknown         Y
        Trust dated 6/18/02                                                Minden, NV 89423
        Robert Essaff & Cindy H. Essaff Trustees of the Essaff Family      2860 Heybourne Road           Ashby Financial $7,200,000               Unknown         Y
        Trust dated 6/18/02                                                Minden, NV 89423
        Robert Essaff & Cindy H. Essaff Trustees of the Essaff Family      2860 Heybourne Road           Placer Vineyards                         Unknown         Y
        Trust dated 6/18/02                                                Minden, NV 89423
        Robert Essaff & Cindy H. Essaff Trustees of the Essaff Family      2860 Heybourne Road           Marquis Hotel                            Unknown         Y
        Trust dated 6/18/02                                                Minden, NV 89423




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In re            USA Commercial Mortgage Company                      ,                                                                 Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                            Description and Location of Property                                                Property


                                Legal vesting                                      Mailing Address                     Loan Name          Amount     Contingent
        Robert Essaff & Cindy H. Essaff Trustees of the Essaff Family     2860 Heybourne Road          Huntsville                        Unknown          Y
        Trust dated 6/18/02                                               Minden, NV 89423
        Robert Essaff & Cindy H. Essaff Trustees of the Essaff Family     2860 Heybourne Road          HFA- North Yonkers                Unknown          Y
        Trust dated 6/18/02                                               Minden, NV 89423
        Robert Essaff & Cindy H. Essaff Trustees of the Essaff Family     2860 Heybourne Road          Freeway 101                       Unknown          Y
        Trust dated 6/18/02                                               Minden, NV 89423
        Robert Essaff & Cindy H. Essaff Trustees of the Essaff Family     2860 Heybourne Road          6425 Gess, LTD                    Unknown          Y
        Trust dated 6/18/02                                               Minden, NV 89423
        Robert Essaff & Cindy H. Essaff Trustees of the Essaff Family     2860 Heybourne Road          BarUSA/$15,300,000                Unknown          Y
        Trust dated 6/18/02                                               Minden, NV 89423
        Robert Essaff & Cindy H. Essaff Trustees of the Essaff Family     2860 Heybourne Road          Eagle Meadows Development         Unknown          Y
        Trust dated 6/18/02                                               Minden, NV 89423
        Robert Essaff & Cindy H. Essaff Trustees of the Essaff Family     2860 Heybourne Road          Gateway Stone                     Unknown          Y
        Trust dated 6/18/02                                               Minden, NV 89423
        Robert F. Anderson & Roberta J. Anderson, husband & wife, as 530 E. Bonanza Dr                 Midvale Marketplace, LLC          Unknown          Y
        joint tenants with right of survivorship                          Carson City, NV 89706
        Robert F. Samuels & Linda M. Samuels, husband & wife, as joint 5324 Boca Marina Circle North   Lerin Hills                       Unknown          Y
        tenants with right of survivorship                                Boca Raton, FL 33487
        Robert F. Smith and Terrylin W. Smith, Trustees of the Robert F. P O Box 40072                 Anchor B, LLC                     Unknown          Y
        and Terrylin W. Smith Trust dated 2/6/92                          Reno, NV 89504
        Robert G. Baker & Miriam D. Baker, husband & wife, as joint       3951 S Jeffreys St           Tapia Ranch                       Unknown          Y
        tenants with right of survivorship                                Las Vegas, NV 89119
        Robert G. Fuller Trustee of the RGF Revocable Trust               5172 English Daisy Way       Huntsville                        Unknown          Y
                                                                          Las Vegas, NV 89142
        Robert G. Fuller Trustee of the RGF Revocable Trust               5172 English Daisy Way       Huntsville                        Unknown          Y
                                                                          Las Vegas, NV 89142
        Robert G. Fuller Trustee of the RGF Revocable Trust               5172 English Daisy Way       Eagle Meadows Development         Unknown          Y
                                                                          Las Vegas, NV 89142
        Robert G. Fuller Trustee of the RGF Revocable Trust               5172 English Daisy Way       Eagle Meadows Development         Unknown          Y
                                                                          Las Vegas, NV 89142
        Robert G. Sikorski                                                2877 Paradise Road 2702      Tapia Ranch                       Unknown          Y
                                                                          Las Vegas, NV 89109
        Robert G. Teeter, an unmarried man                                4201 Via Marina Suite 300    Fiesta Oak Valley                 Unknown          Y
                                                                          Marina Del Rey, CA 90292
        Robert G. Teeter, an unmarried man                                4201 Via Marina Suite 300    Brookmere/Matteson $27,050,000    Unknown          Y
                                                                          Marina Del Rey, CA 90292
        Robert Geiger & Ruth Geiger, husband & wife                       1352 Mt Hood Street          HFA- Clear Lake                   Unknown          Y
                                                                          Las Vegas, NV 89110
        Robert H. Knobel II, an unmarried man, and Matthew S. Knobel, 225 Riverton Rd                  Marquis Hotel                     Unknown          Y
        an unmarried man, as joint tenants with the right of survivorship Weddington, NC 28104
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the         200 Rainbow Dr #10236        Ashby Financial $7,200,000        Unknown          Y
        O'Connor Revocable Trust UTD 9/17/97                              Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the         200 Rainbow Dr #10236        Ashby Financial $7,200,000        Unknown          Y
        O'Connor Revocable Trust UTD 9/17/97                              Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the         200 Rainbow Dr #10236        Tapia Ranch                       Unknown          Y
        O'Connor Revocable Trust UTD 9/17/97                              Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the         200 Rainbow Dr #10236        Tapia Ranch                       Unknown          Y
        O'Connor Revocable Trust UTD 9/17/97                              Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the         200 Rainbow Dr #10236        HFA- Riviera 2nd                  Unknown          Y
        O'Connor Revocable Trust UTD 9/17/97                              Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the         200 Rainbow Dr #10236        HFA- Riviera 2nd                  Unknown          Y
        O'Connor Revocable Trust UTD 9/17/97                              Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the         200 Rainbow Dr #10236        HFA-Clear Lake 2nd                Unknown          Y
        O'Connor Revocable Trust UTD 9/17/97                              Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the         200 Rainbow Dr #10236        HFA-Clear Lake 2nd                Unknown          Y
        O'Connor Revocable Trust UTD 9/17/97                              Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the         200 Rainbow Dr #10236        Gramercy Court Condos             Unknown          Y
        O'Connor Revocable Trust UTD 9/17/97                              Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the         200 Rainbow Dr #10236        Gramercy Court Condos             Unknown          Y
        O'Connor Revocable Trust UTD 9/17/97                              Livingston, TX 77399




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In re            USA Commercial Mortgage Company                        ,                                                              Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                            Description and Location of Property                                               Property


                                Legal vesting                                       Mailing Address                   Loan Name          Amount     Contingent
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the       200 Rainbow Dr #10236         Amesbury/Hatters Point            Unknown           Y
        O'Connor Revocable Trust UTD 9/17/97                            Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the       200 Rainbow Dr #10236         Amesbury/Hatters Point            Unknown           Y
        O'Connor Revocable Trust UTD 9/17/97                            Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the       200 Rainbow Dr #10236         Bay Pompano Beach                 Unknown           Y
        O'Connor Revocable Trust UTD 9/17/97                            Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the       200 Rainbow Dr #10236         Bay Pompano Beach                 Unknown           Y
        O'Connor Revocable Trust UTD 9/17/97                            Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the       200 Rainbow Dr #10236         Eagle Meadows Development         Unknown           Y
        O'Connor Revocable Trust UTD 9/17/97                            Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the       200 Rainbow Dr #10236         Eagle Meadows Development         Unknown           Y
        O'Connor Revocable Trust UTD 9/17/97                            Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the       200 Rainbow Dr #10236         Hasley Canyon                     Unknown           Y
        O'Connor Revocable Trust UTD 9/17/97                            Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the       200 Rainbow Dr #10236         Hasley Canyon                     Unknown           Y
        O'Connor Revocable Trust UTD 9/17/97                            Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the       200 Rainbow Dr #10236         Goss Road                         Unknown           Y
        O'Connor Revocable Trust UTD 9/17/97                            Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the       200 Rainbow Dr #10236         Goss Road                         Unknown           Y
        O'Connor Revocable Trust UTD 9/17/97                            Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the       200 Rainbow Dr #10236         Cabernet                          Unknown           Y
        O'Connor Revocable Trust UTD 9/17/97                            Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the       200 Rainbow Dr #10236         Cabernet                          Unknown           Y
        O'Connor Revocable Trust UTD 9/17/97                            Livingston, TX 77399
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       HFA- Riviera 2nd                  Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       Wasco Investments                 Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       Tapia Ranch                       Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       Shamrock Tower, LP                Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       Placer Vineyards 2nd              Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       Placer Vineyards                  Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       Marquis Hotel                     Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       Lerin Hills                       Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       Amesbury/Hatters Point            Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       Gramercy Court Condos             Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       Golden State Investments II       Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       Gateway Stone                     Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       Eagle Meadows Development         Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       BarUSA/$15,300,000                Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       Ashby Financial $7,200,000        Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       HFA- North Yonkers                Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       Marlton Square 2nd                Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H.   2877 Paradise Road 3501       Brookmere/Matteson $27,050,000    Unknown           Y
        Perlman & Lynn R. Perlman Trust dated 9/17/92                   Las Vegas, NV 89109




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In re            USA Commercial Mortgage Company                       ,                                                                  Case No. 06-10725-LBR
                                   Debtor                                                                                                              (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                           Current Market Value of
                                                                                                                                             Debtor's Interest in
                                                             Description and Location of Property                                                 Property


                                Legal vesting                                       Mailing Address                     Loan Name           Amount     Contingent
        Robert H. Schultz & Sharon L. Schultz Trustees of the Robert H. P.O. Box 8648                  Placer Vineyards 2nd                Unknown         Y
        Schultz & Sharon L. Schultz Living Trust dated 2/25/97            South Lake Tahoe, CA 96158
        Robert H. Schultz & Sharon L. Schultz Trustees of the Robert H. P.O. Box 8648                  Marquis Hotel                       Unknown         Y
        Schultz & Sharon L. Schultz Living Trust dated 2/25/97            South Lake Tahoe, CA 96158
        Robert H. Turner & Nancy A. Turner Trustees of the 1994 Turner 60354 Woodside Loop             Bay Pompano Beach                   Unknown         Y
        Family Trust dated 9/23/94                                        Bend, OR 97702
        Robert H. Turner & Nancy A. Turner Trustees of the 1994 Turner 60354 Woodside Loop             Marlton Square 2nd                  Unknown         Y
        Family Trust dated 9/23/94                                        Bend, OR 97702
        Robert H. Turner & Nancy A. Turner Trustees of the 1994 Turner 60354 Woodside Loop             Placer Vineyards                    Unknown         Y
        Family Trust dated 9/23/94                                        Bend, OR 97702
        Robert Hitchins, an unmarried man                                 5935 30th Ave Apt 214        Amesbury/Hatters Point              Unknown         Y
                                                                          Gulfport, FL 33707
        Robert Hitchins, an unmarried man                                 5935 30th Ave Apt 214        Brookmere/Matteson $27,050,000      Unknown         Y
                                                                          Gulfport, FL 33707
        Robert J. Asselin & Mary E. Asselin Trustees of the 1994 Robert 10305 Bighorn Dr               HFA- North Yonkers                  Unknown         Y
        Asselin & Mary Asselin Family Trust                               Reno, NV 89506
        Robert J. Asselin & Mary E. Asselin Trustees of the 1994 Robert 10305 Bighorn Dr               Marlton Square 2nd                  Unknown         Y
        Asselin & Mary Asselin Family Trust                               Reno, NV 89506
        Robert J. Asselin & Mary E. Asselin Trustees of the 1994 Robert 10305 Bighorn Dr               Tapia Ranch                         Unknown         Y
        Asselin & Mary Asselin Family Trust                               Reno, NV 89506
        Robert J. Cowen Trustee of the Robert J. Cowen Trust dated        10403 Sawmill Avenue         Bay Pompano Beach                   Unknown         Y
        11/7/97                                                           Las Vegas, NV 89134
        Robert J. Cowen Trustee of the Robert J. Cowen Trust dated        10403 Sawmill Avenue         Eagle Meadows Development           Unknown         Y
        11/7/97                                                           Las Vegas, NV 89134
        Robert J. Cowen Trustee of the Robert J. Cowen Trust dated        10403 Sawmill Avenue         Brookmere/Matteson $27,050,000      Unknown         Y
        11/7/97                                                           Las Vegas, NV 89134
        Robert J. Kehl & Ruth Ann Kehl, husband & wife, as joint          4963 Mesa Capella Dr         Eagle Meadows Development           Unknown         Y
        tenants with right of survivorship                                Las Vegas, NV 89148
        Robert J. Kehl & Ruth Ann Kehl, husband & wife, as joint          4963 Mesa Capella Dr         Ten-Ninety, Ltd./$4,150,000         Unknown         Y
        tenants with right of survivorship                                Las Vegas, NV 89148
        Robert J. Kehl & Ruth Ann Kehl, husband & wife, as joint          4963 Mesa Capella Dr         Tapia Ranch                         Unknown         Y
        tenants with right of survivorship                                Las Vegas, NV 89148
        Robert J. Kehl & Ruth Ann Kehl, husband & wife, as joint          4963 Mesa Capella Dr         Placer Vineyards                    Unknown         Y
        tenants with right of survivorship                                Las Vegas, NV 89148
        Robert J. Kehl & Ruth Ann Kehl, husband & wife, as joint          4963 Mesa Capella Dr         Huntsville                          Unknown         Y
        tenants with right of survivorship                                Las Vegas, NV 89148
        Robert J. Kehl & Ruth Ann Kehl, husband & wife, as joint          4963 Mesa Capella Dr         Gateway Stone                       Unknown         Y
        tenants with right of survivorship                                Las Vegas, NV 89148
        Robert J. Kehl & Ruth Ann Kehl, husband & wife, as joint          4963 Mesa Capella Dr         Fiesta USA/Stoneridge               Unknown         Y
        tenants with right of survivorship                                Las Vegas, NV 89148
        Robert J. Kehl & Ruth Ann Kehl, husband & wife, as joint          4963 Mesa Capella Dr         Ashby Financial $7,200,000          Unknown         Y
        tenants with right of survivorship                                Las Vegas, NV 89148
        Robert J. Kehl & Ruth Ann Kehl, husband & wife, as joint          4963 Mesa Capella Dr         Anchor B, LLC                       Unknown         Y
        tenants with right of survivorship                                Las Vegas, NV 89148
        Robert J. Kehl & Ruth Ann Kehl, husband & wife, as joint          4963 Mesa Capella Dr         Freeway 101                         Unknown         Y
        tenants with right of survivorship                                Las Vegas, NV 89148
        Robert J. Kehl & Ruth Ann Kehl, husband & wife, as joint          4963 Mesa Capella Dr         Brookmere/Matteson $27,050,000      Unknown         Y
        tenants with right of survivorship                                Las Vegas, NV 89148
        Robert J. Kehl & Ruth Ann Kehl, husband & wife, as joint          4963 Mesa Capella Dr         Copper Sage Commerce Center, LLC    Unknown         Y
        tenants with right of survivorship                                Las Vegas, NV 89148
        Robert J. Moretto & Josephine Moretto Trustees of the Moretto 3211 Baker Street                Bay Pompano Beach                   Unknown         Y
        Family Living Trust dated 9/19/94                                 San Francisco, CA 94123
        Robert J. Moretto & Josephine Moretto Trustees of the Moretto 3211 Baker Street                Placer Vineyards                    Unknown         Y
        Family Living Trust dated 9/19/94                                 San Francisco, CA 94123
        Robert J. Moretto & Josephine Moretto Trustees of the Moretto 3211 Baker Street                6425 Gess, LTD                      Unknown         Y
        Family Living Trust dated 9/19/94                                 San Francisco, CA 94123
        Robert J. Rossetter & Jane L. Rossetter, husband & wife, as joint 1090 S E Shadowood Dr        Placer Vineyards                    Unknown         Y
        tenants with right of survivorship                                Bend, OR 97702
        Robert J. Rowley and Kathleen M. Rowley, Trustees of The          398 Arboleda Rd.             Marlton Square                      Unknown         Y
        Robert J. Rowley and Kathleen M. Rowley Living Trust              Santa Barbara, CA 93110




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In re            USA Commercial Mortgage Company                          ,                                                                         Case No. 06-10725-LBR
                                    Debtor                                                                                                                       (If known)




                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                     Current Market Value of
                                                                                                                                                       Debtor's Interest in
                                                              Description and Location of Property                                                          Property


                                 Legal vesting                                        Mailing Address                        Loan Name                Amount     Contingent
        Robert J. Scott & Lois Mae Scott, husband & wife, as joint        2100 Plaza Way Apt 101            Opaque/Mt. Edge $7,350,000               Unknown         Y
        tenants with right of survivorship                                Walla Walla, WA 99362
        Robert J. Yoder Trustee of the Robert J. Yoder Defined Benefit    12261 Prosser Dam Rd              6425 Gess, LTD                           Unknown         Y
        Plan                                                              Truckee, CA 96161
        Robert J. Yoder Trustee of the Robert J. Yoder Defined Benefit    12261 Prosser Dam Road            6425 Gess, LTD                           Unknown         Y
        Plan                                                              Truckee, CA 96161
        Robert J. Yoder Trustee of the Robert J. Yoder Defined Benefit    12261 Prosser Dam Rd              Bay Pompano Beach                        Unknown         Y
        Plan                                                              Truckee, CA 96161
        Robert J. Yoder Trustee of the Robert J. Yoder Defined Benefit    12261 Prosser Dam Road            Bay Pompano Beach                        Unknown         Y
        Plan                                                              Truckee, CA 96161
        Robert L. Allgeier & Donna L. Allgeier Trustees of the R. L.      1767 Shamrock Circle              Fiesta Oak Valley                        Unknown         Y
        Allgeier Family Trust dated 10/4/97                               Minden, NV 89423
        Robert L. Allgeier & Donna L. Allgeier Trustees of the R. L.      1767 Shamrock Circle              Freeway 101                              Unknown         Y
        Allgeier Family Trust dated 10/4/97                               Minden, NV 89423
        Robert L. Allgeier & Donna L. Allgeier Trustees of the R. L.      1767 Shamrock Circle              Harbor Georgetown                        Unknown         Y
        Allgeier Family Trust dated 10/4/97                               Minden, NV 89423
        Robert L. Allgeier & Donna L. Allgeier Trustees of the R. L.      1767 Shamrock Circle              Marlton Square                           Unknown         Y
        Allgeier Family Trust dated 10/4/97                               Minden, NV 89423
        Robert L. Allgeier & Donna L. Allgeier Trustees of the R. L.      1767 Shamrock Circle              Opaque/Mt. Edge $7,350,000               Unknown         Y
        Allgeier Family Trust dated 10/4/97                               Minden, NV 89423
        Robert L. Allgeier & Donna L. Allgeier Trustees of the R. L.      1767 Shamrock Circle              Placer Vineyards                         Unknown         Y
        Allgeier Family Trust dated 10/4/97                               Minden, NV 89423
        Robert L. Beall & Vicki E. Beall, husband & wife, as joint        1802 East Park Avenue             6425 Gess, LTD                           Unknown         Y
        tenants with right of survivorship                                Gilbert, AZ 85234
        Robert L. Benson and Mona L. Benson, husband and wife, as         605 Centennial Drive              Gateway Stone                            Unknown         Y
        joint tenants with the right of survivorship                      Whitefish, MT 59937
        Robert L. De Ruff Trustee of the De Ruff 1988 Trust dated         8175 S Virginia St #850 PMB 221   Gateway Stone                            Unknown         Y
        4/25/88                                                           Reno, NV 89511
        Robert L. Hansen & Patricia S. Hansen, husband & wife, as joint   PO Box 110                        Fiesta Oak Valley                        Unknown         Y
        tenants with the right of survivorship                            Clio, CA 96106
        Robert L. Herpst Trustee of the Herpst Family Trust dated         1805 Royal Birkdale Drive         Placer Vineyards 2nd                     Unknown         Y
        8/16/90                                                           Boulder City, NV 89005
        Robert L. Herpst Trustee of the Herpst Family Trust dated         1805 Royal Birkdale Drive         Tapia Ranch                              Unknown         Y
        8/16/90                                                           Boulder City, NV 89005
        Robert L. Lowe & Mary M. Lowe Trustees of the Lowe Family         225 Garfield Drive                Amesbury/Hatters Point                   Unknown         Y
        Trust                                                             Henderson, NV 89074
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren    3768 Rick Stratton Drive          Gramercy Court Condos                    Unknown         Y
        Trust dated 6/30/92                                               Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren    3768 Rick Stratton Drive          Gramercy Court Condos                    Unknown         Y
        Trust dated 6/30/92                                               Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren    3768 Rick Stratton Drive          Riviera - Homes for America Holdings,    Unknown         Y
        Trust dated 6/30/92                                               Las Vegas, NV 89120               L.L.C.
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren    3768 Rick Stratton Drive          Riviera - Homes for America Holdings,    Unknown         Y
        Trust dated 6/30/92                                               Las Vegas, NV 89120               L.L.C.
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren    3768 Rick Stratton Drive          Marlton Square                           Unknown         Y
        Trust dated 6/30/92                                               Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren    3768 Rick Stratton Drive          Marlton Square                           Unknown         Y
        Trust dated 6/30/92                                               Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren    3768 Rick Stratton Drive          Margarita Annex                          Unknown         Y
        Trust dated 6/30/92                                               Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren    3768 Rick Stratton Drive          Margarita Annex                          Unknown         Y
        Trust dated 6/30/92                                               Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren    3768 Rick Stratton Drive          HFA- Windham                             Unknown         Y
        Trust dated 6/30/92                                               Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren    3768 Rick Stratton Drive          HFA- Windham                             Unknown         Y
        Trust dated 6/30/92                                               Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren    3768 Rick Stratton Drive          BarUSA/$15,300,000                       Unknown         Y
        Trust dated 6/30/92                                               Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren    3768 Rick Stratton Drive          BarUSA/$15,300,000                       Unknown         Y
        Trust dated 6/30/92                                               Las Vegas, NV 89120




SCHEDULES                                                                              Exhibit B-21                                                               PAGE 214
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In re            USA Commercial Mortgage Company                         ,                                                               Case No. 06-10725-LBR
                                    Debtor                                                                                                            (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                              Description and Location of Property                                               Property


                                 Legal vesting                                        Mailing Address                    Loan Name         Amount     Contingent
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren   3768 Rick Stratton Drive       Amesbury/Hatters Point            Unknown          Y
        Trust dated 6/30/92                                              Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren   3768 Rick Stratton Drive       Amesbury/Hatters Point            Unknown          Y
        Trust dated 6/30/92                                              Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren   3768 Rick Stratton Drive       HFA- Clear Lake                   Unknown          Y
        Trust dated 6/30/92                                              Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren   3768 Rick Stratton Drive       HFA- Clear Lake                   Unknown          Y
        Trust dated 6/30/92                                              Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren   3768 Rick Stratton Drive       Brookmere/Matteson $27,050,000    Unknown          Y
        Trust dated 6/30/92                                              Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren   3768 Rick Stratton Drive       Brookmere/Matteson $27,050,000    Unknown          Y
        Trust dated 6/30/92                                              Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren   3768 Rick Stratton Drive       Clear Creek Plantation            Unknown          Y
        Trust dated 6/30/92                                              Las Vegas, NV 89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren   3768 Rick Stratton Drive       Clear Creek Plantation            Unknown          Y
        Trust dated 6/30/92                                              Las Vegas, NV 89120
        Robert L. Ogren Trustee of the Robert L. Ogren Trust dated       3768 Rick Stratton Drive       Gateway Stone                     Unknown          Y
        6/30/92 (Acct#2)                                                 Las Vegas, NV 89120
        Robert L. Ogren Trustee of the Robert L. Ogren Trust dated       3768 Rick Stratton Drive       Gateway Stone                     Unknown          Y
        6/30/92 (Acct#2)                                                 Las Vegas, NV 89120
        Robert L. Pech & Judith G. Pech Trustees of the Robert L. Pech   80382 Green Hills Drive        Marlton Square                    Unknown          Y
        & Judith G. Pech Family Trust dated 9/5/96                       Indio, CA 92201
        Robert L. Pech & Judith G. Pech Trustees of the Robert L. Pech   80382 Green Hills Dr           Marlton Square                    Unknown          Y
        & Judith G. Pech Family Trust dated 9/5/96                       Indio, CA 92201
        Robert Levy & Renee Levy Trustees of the RNR Living Trust        2115 Bensley St                Fiesta Oak Valley                 Unknown          Y
        dated 10/1/04                                                    Henderson, NV 89044
        Robert Levy & Renee Levy Trustees of the RNR Living Trust        2115 Bensley St                Gramercy Court Condos             Unknown          Y
        dated 10/1/04                                                    Henderson, NV 89044
        Robert Levy & Renee Levy Trustees of the RNR Living Trust        2115 Bensley St                BarUSA/$15,300,000                Unknown          Y
        dated 10/1/04                                                    Henderson, NV 89044
        Robert M. Barnes & Violet M. Barnes, husband & wife, as joint    105 Devere Way                 Tapia Ranch                       Unknown          Y
        tenants with right of survivorship                               Sparks, NV 89431
        Robert M. Lampert Trustee of the Pulmonary Associates Profit     2024 Winter Wind               HFA- North Yonkers                Unknown          Y
        Sharing Plan #002 for the Benefit of Robert M. Lampert dated     Las Vegas, NV 89134
        01/01/03
        Robert M. Taylor & Lettie Ladelle Taylor, husband & wife, as     275 La Cuenta Circle           BarUSA/$15,300,000                Unknown          Y
        joint tenants with right of survivorship                         Henderson, NV 89014
        Robert M. Taylor & Lettie Ladelle Taylor, husband & wife, as     275 La Cuenta Circle           Gramercy Court Condos             Unknown          Y
        joint tenants with right of survivorship                         Henderson, NV 89014
        Robert M. Taylor & Lettie Ladelle Taylor, husband & wife, as     275 La Cuenta Circle           Brookmere/Matteson $27,050,000    Unknown          Y
        joint tenants with right of survivorship                         Henderson, NV 89014
        Robert O'Connor Sr. Administrator of the Bob O'Connor Self       200 Rainbow Dr #10236          Hasley Canyon                     Unknown          Y
        Employed Retirement Account                                      Livingston, TX 77399
        Robert O'Connor Sr. Administrator of the Bob O'Connor Self       200 Rainbow Dr #10236          Hasley Canyon                     Unknown          Y
        Employed Retirement Account                                      Livingston, TX 77399
        Robert O'Connor Sr. Administrator of the Bob O'Connor Self       200 Rainbow Dr #10236          Cabernet                          Unknown          Y
        Employed Retirement Account                                      Livingston, TX 77399
        Robert O'Connor Sr. Administrator of the Bob O'Connor Self       200 Rainbow Dr #10236          Cabernet                          Unknown          Y
        Employed Retirement Account                                      Livingston, TX 77399
        Robert O'Connor Sr. Administrator of the Bob O'Connor Self       200 Rainbow Dr #10236          Goss Road                         Unknown          Y
        Employed Retirement Account                                      Livingston, TX 77399
        Robert O'Connor Sr. Administrator of the Bob O'Connor Self       200 Rainbow Dr #10236          Goss Road                         Unknown          Y
        Employed Retirement Account                                      Livingston, TX 77399
        Robert Oxendorf & Gary C. Mehlberg Trustees of the Robert        6902 W Oklahoma Ave            Fiesta USA/Stoneridge             Unknown          Y
        Oxendorf Trust dated 3/27/90                                     Milwaukee, WI 53219
        Robert P. Anderson, Trustee of the Robert P. Anderson            3363 Rolan Court               Gateway Stone                     Unknown          Y
        Revocable Living Trust dated 10/22/01                            Las Vegas, NV 89121
        Robert P. Anderson, Trustee of the Robert P. Anderson            3363 Rolan Court               Castaic Partners II, LLC          Unknown          Y
        Revocable Living Trust dated 10/22/01                            Las Vegas, NV 89121




SCHEDULES                                                                              Exhibit B-21                                                    PAGE 215
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In re            USA Commercial Mortgage Company                        ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                                Description and Location of Property                                            Property


                                 Legal vesting                                       Mailing Address                   Loan Name          Amount     Contingent
        Robert P. Anderson, Trustee of the Robert P. Anderson           3363 Rolan Court               Midvale Marketplace, LLC          Unknown          Y
        Revocable Living Trust dated 10/22/01                           Las Vegas, NV 89121
        Robert R. Rodriguez, an unmarried man                           2809 Easy St                   Midvale Marketplace, LLC          Unknown          Y
                                                                        Placerville, CA 95667
        Robert R. Rodriguez, an unmarried man                           2809 Easy St                   Midvale Marketplace, LLC          Unknown          Y
                                                                        Placerville, CA 95667
        Robert R. Rodriguez, an unmarried man                           2809 Easy St                   Placer Vineyards 2nd              Unknown          Y
                                                                        Placerville, CA 95667
        Robert R. Rodriguez, an unmarried man                           2809 Easy St                   Placer Vineyards 2nd              Unknown          Y
                                                                        Placerville, CA 95667
        Robert R. Rodriguez, an unmarried man                           2809 Easy St                   Marquis Hotel                     Unknown          Y
                                                                        Placerville, CA 95667
        Robert R. Rodriguez, an unmarried man                           2809 Easy St                   Marquis Hotel                     Unknown          Y
                                                                        Placerville, CA 95667
        Robert R. Rodriguez, an unmarried man                           2809 Easy St                   Ashby Financial $7,200,000        Unknown          Y
                                                                        Placerville, CA 95667
        Robert R. Rodriguez, an unmarried man                           2809 Easy St                   Ashby Financial $7,200,000        Unknown          Y
                                                                        Placerville, CA 95667
        Robert R. Rodriguez, Trustee of The Robert R. Rodriguez         2809 Easy St                   Lerin Hills                       Unknown          Y
        Revocable Trust dated 1/31/06                                   Placerville, CA 95667
        Robert R. Rodriguez, Trustee of The Robert R. Rodriguez         2809 Easy St                   Lerin Hills                       Unknown          Y
        Revocable Trust dated 1/31/06                                   Placerville, CA 95667
        Robert R. Wade & Shirley E. Wade, husband & wife, as joint      P.O. Box 911209                Brookmere/Matteson $27,050,000    Unknown          Y
        tenants with right of survivorship                              St George, UT 84791
        Robert R. Wade & Shirley E. Wade, husband & wife, as joint      P.O. Box 911209                Brookmere/Matteson $27,050,000    Unknown          Y
        tenants with right of survivorship                              St. George, UT 84791
        Robert R. Wade Trustee of the Robert R. Wade Revocable Trust    P.O. Box 911209                BarUSA/$15,300,000                Unknown          Y
        dated 5/22/01                                                   St George, UT 84791
        Robert R. Wade Trustee of the Robert R. Wade Revocable Trust    P.O. Box 911209                BarUSA/$15,300,000                Unknown          Y
        dated 5/22/01                                                   St. George, UT 84791
        Robert R. Wade Trustee of the Robert R. Wade Revocable Trust    P.O. Box 911209                Placer Vineyards                  Unknown          Y
        dated 5/22/01                                                   St George, UT 84791
        Robert R. Wade Trustee of the Robert R. Wade Revocable Trust    P.O. Box 911209                Placer Vineyards                  Unknown          Y
        dated 5/22/01                                                   St. George, UT 84791
        Robert R. Wade Trustee of the Robert R. Wade Revocable Trust    P.O. Box 911209                Fiesta USA/Stoneridge             Unknown          Y
        dated 5/22/01                                                   St George, UT 84791
        Robert R. Wade Trustee of the Robert R. Wade Revocable Trust    P.O. Box 911209                Fiesta USA/Stoneridge             Unknown          Y
        dated 5/22/01                                                   St. George, UT 84791
        Robert R. Wade Trustee of the Robert R. Wade Revocable Trust    P.O. Box 911209                Anchor B, LLC                     Unknown          Y
        dated 5/22/01                                                   St George, UT 84791
        Robert R. Wade Trustee of the Robert R. Wade Revocable Trust    P.O. Box 911209                Anchor B, LLC                     Unknown          Y
        dated 5/22/01                                                   St. George, UT 84791
        Robert R. Wade Trustee of the Robert R. Wade Revocable Trust    P.O. Box 911209                Bay Pompano Beach                 Unknown          Y
        dated 5/22/01                                                   St George, UT 84791
        Robert R. Wade Trustee of the Robert R. Wade Revocable Trust    P.O. Box 911209                Bay Pompano Beach                 Unknown          Y
        dated 5/22/01                                                   St. George, UT 84791
        Robert R. Wade Trustee of the Robert R. Wade Revocable Trust    P.O. Box 911209                Brookmere/Matteson $27,050,000    Unknown          Y
        dated 5/22/01                                                   St George, UT 84791
        Robert R. Wade Trustee of the Robert R. Wade Revocable Trust    P.O. Box 911209                Brookmere/Matteson $27,050,000    Unknown          Y
        dated 5/22/01                                                   St. George, UT 84791
        Robert R. Wright & Betty M. Wright Trustees of the Wright       1258 Dotta Drive               HFA- North Yonkers                Unknown          Y
        Trust                                                           Elko, NV 89801
        Robert Roeder & Patricia Roeder, husband & wife, as joint       728 Carpenter Drive            BarUSA/$15,300,000                Unknown          Y
        tenants with right of survivorship                              Las Vegas, NV 89107
        Robert Roeder & Patricia Roeder, husband & wife, as joint       728 Carpenter Drive            HFA- North Yonkers                Unknown          Y
        tenants with right of survivorship                              Las Vegas, NV 89107
        Robert Roy Ecker, a single man                                  RR 1 Box 4482                  HFA- North Yonkers                Unknown          Y
                                                                        Kooskia, ID 83539




SCHEDULES                                                                             Exhibit B-21                                                    PAGE 216
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In re            USA Commercial Mortgage Company                       ,                                                                Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                             Description and Location of Property                                               Property


                                Legal vesting                                        Mailing Address                   Loan Name          Amount     Contingent
        Robert S. Louis and Rose M. Louis, Trustees of The Robert S.     5814 Engstrom Dr              Placer Vineyards 2nd              Unknown          Y
        Louis and Rose M. Louis Family Revocable Living Trust dated Riverbank, CA 95367
        4/22/05
        Robert S. Louis and Rose M. Louis, Trustees of The Robert S.     5814 Engstrom Dr              HFA- Windham                      Unknown          Y
        Louis and Rose M. Louis Family Revocable Living Trust dated Riverbank, CA 95367
        4/22/05
        Robert S. Louis and Rose M. Louis, Trustees of The Robert S.     5814 Engstrom Dr              Eagle Meadows Development         Unknown          Y
        Louis and Rose M. Louis Family Revocable Living Trust dated Riverbank, CA 95367
        4/22/05
        Robert S. Louis and Rose M. Louis, Trustees of The Robert S.     5814 Engstrom Dr              Fiesta Oak Valley                 Unknown          Y
        Louis and Rose M. Louis Family Revocable Living Trust dated Riverbank, CA 95367
        4/22/05
        Robert S. Speckert Trustee of the Robert S. Speckert Rev. Living 2128 Red Dawn Sky St          Eagle Meadows Development         Unknown          Y
        Trust dated 6/11/92                                              Las Vegas, NV 89134
        Robert S. Speckert Trustee of the Robert S. Speckert Rev. Living 2128 Red Dawn Sky St          Fiesta Oak Valley                 Unknown          Y
        Trust dated 6/11/92                                              Las Vegas, NV 89134
        Robert S. Speckert Trustee of the Robert S. Speckert Rev. Living 2128 Red Dawn Sky St          Fiesta USA/Stoneridge             Unknown          Y
        Trust dated 6/11/92                                              Las Vegas, NV 89134
        Robert S. Speckert Trustee of the Robert S. Speckert Rev. Living 2128 Red Dawn Sky St          Gateway Stone                     Unknown          Y
        Trust dated 6/11/92                                              Las Vegas, NV 89134
        Robert S. Speckert Trustee of the Robert S. Speckert Rev. Living 2128 Red Dawn Sky St          Gramercy Court Condos             Unknown          Y
        Trust dated 6/11/92                                              Las Vegas, NV 89134
        Robert S. Speckert Trustee of the Robert S. Speckert Rev. Living 2128 Red Dawn Sky St          HFA- North Yonkers                Unknown          Y
        Trust dated 6/11/92                                              Las Vegas, NV 89134
        Robert S. Speckert Trustee of the Robert S. Speckert Rev. Living 2128 Red Dawn Sky St          Margarita Annex                   Unknown          Y
        Trust dated 6/11/92                                              Las Vegas, NV 89134
        Robert S. Speckert Trustee of the Robert S. Speckert Rev. Living 2128 Red Dawn Sky St          Marquis Hotel                     Unknown          Y
        Trust dated 6/11/92                                              Las Vegas, NV 89134
        Robert S. Speckert Trustee of the Robert S. Speckert Rev. Living 2128 Red Dawn Sky St          Placer Vineyards                  Unknown          Y
        Trust dated 6/11/92                                              Las Vegas, NV 89134
        Robert S. Speckert Trustee of the Robert S. Speckert Rev. Living 2128 Red Dawn Sky St          Tapia Ranch                       Unknown          Y
        Trust dated 6/11/92                                              Las Vegas, NV 89134
        Robert S. Speckert Trustee of the Robert S. Speckert Rev. Living 2128 Red Dawn Sky St          Brookmere/Matteson $27,050,000    Unknown          Y
        Trust dated 6/11/92                                              Las Vegas, NV 89134
        Robert S. Watson & Joyce A. Watson, husband & wife, as joint 2903 Wimpole Court                HFA- North Yonkers                Unknown          Y
        tenants with right of survivorship                               Louisville, KY 40218
        Robert Shapiro & Betty Grant, husband & wife, as joint tenants 139 Weatherstone Drive          Placer Vineyards 2nd              Unknown          Y
        with right of survivorship                                       Henderson, NV 89011
        Robert Swedelson Trustee of the Swedelson Family Trust dated 2086 King Mesa                    Brookmere/Matteson $27,050,000    Unknown          Y
        12/23/92                                                         Henderson, NV 89012
        Robert T. Chylak & Barbara M Chylak Trustees of the Robert T 261 Fredricksburg Rd              Gramercy Court Condos             Unknown          Y
        Chylak & Barbara M Chylak Family Trust dated 10/30/90            Gardnerville, NV 89460
        Robert T. Chylak & Barbara M Chylak Trustees of the Robert T 261 Fredricksburg Rd              HFA- Riviera 2nd                  Unknown          Y
        Chylak & Barbara M Chylak Family Trust dated 10/30/90            Gardnerville, NV 89460
        Robert T. Chylak & Barbara M Chylak Trustees of the Robert T 261 Fredricksburg Rd              6425 Gess, LTD                    Unknown          Y
        Chylak & Barbara M Chylak Family Trust dated 10/30/90            Gardnerville, NV 89460
        Robert T. Chylak & Barbara M Chylak Trustees of the Robert T 261 Fredricksburg Rd              Hasley Canyon                     Unknown          Y
        Chylak & Barbara M Chylak Family Trust dated 10/30/90            Gardnerville, NV 89460
        Robert T. Chylak & Barbara M Chylak Trustees of the Robert T 261 Fredricksburg Rd              Fiesta Oak Valley                 Unknown          Y
        Chylak & Barbara M Chylak Family Trust dated 10/30/90            Gardnerville, NV 89460
        Robert T. Chylak & Barbara M Chylak Trustees of the Robert T 261 Fredricksburg Rd              Eagle Meadows Development         Unknown          Y
        Chylak & Barbara M Chylak Family Trust dated 10/30/90            Gardnerville, NV 89460
        Robert T. Chylak & Barbara M Chylak Trustees of the Robert T 261 Fredricksburg Rd              BarUSA/$15,300,000                Unknown          Y
        Chylak & Barbara M Chylak Family Trust dated 10/30/90            Gardnerville, NV 89460
        Robert T. Chylak & Barbara M Chylak Trustees of the Robert T 261 Fredricksburg Rd              Ashby Financial $7,200,000        Unknown          Y
        Chylak & Barbara M Chylak Family Trust dated 10/30/90            Gardnerville, NV 89460
        Robert T. Chylak & Barbara M Chylak Trustees of the Robert T 261 Fredricksburg Rd              Amesbury/Hatters Point            Unknown          Y
        Chylak & Barbara M Chylak Family Trust dated 10/30/90            Gardnerville, NV 89460
        Robert T. Chylak & Barbara M Chylak Trustees of the Robert T 261 Fredricksburg Rd              Shamrock Tower, LP                Unknown          Y
        Chylak & Barbara M Chylak Family Trust dated 10/30/90            Gardnerville, NV 89460




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In re            USA Commercial Mortgage Company                      ,                                                               Case No. 06-10725-LBR
                                  Debtor                                                                                                           (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                            Description and Location of Property                                              Property


                                Legal vesting                                      Mailing Address                    Loan Name          Amount    Contingent
        Robert T. Chylak & Barbara M Chylak Trustees of the Robert T 261 Fredricksburg Rd            HFA- Windham                      Unknown            Y
        Chylak & Barbara M Chylak Family Trust dated 10/30/90           Gardnerville, NV 89460
        Robert T. Dietz Trustee of the Robert T. Dietz Family Trust of  PO Box 612599                Opaque/Mt. Edge $7,350,000        Unknown            Y
        1997                                                            South Lake Tahoe, CA 96152
        Robert T. Fort and Julie A. Fort, Trustees of the Fort Living   7931 E Coronado Rd           Bay Pompano Beach                 Unknown            Y
        Trust, dated 5/17/04                                            Scottsdale, AZ 85257
        Robert W. Browne & Muriel L. Browne Trustees of the Browne 700 Keele Drive                   Fiesta Oak Valley                 Unknown            Y
        1990 Family Trust dated 6/11/90                                 Reno, NV 89509
        Robert W. Browne & Muriel L. Browne Trustees of the Browne 700 Keele Drive                   Amesbury/Hatters Point            Unknown            Y
        1990 Family Trust dated 6/11/90                                 Reno, NV 89509
        Robert W. Heinsohn & Phyllis A. Heinsohn Trustees of the        546 Wedge Lane               Hasley Canyon                     Unknown            Y
        Robert W. Heinsohn & Phyllis A. Heinsohn Trust                  Fernley, NV 89408
        Robert W. Hill, a married man, dealing with his sole & separate 4900 San Timoteo Ave NW      Marlton Square                    Unknown            Y
        property                                                        Albuquerque, NM 87114
        Robert W. Hill, a married man, dealing with his sole & separate 4900 San Timoteo Ave NW      Marquis Hotel                     Unknown            Y
        property                                                        Albuquerque, NM 87114
        Robert W. Hill, a married man, dealing with his sole & separate 4900 San Timoteo Ave NW      BarUSA/$15,300,000                Unknown            Y
        property                                                        Albuquerque, NM 87114
        Robert W. Hill, a married man, dealing with his sole & separate 4900 San Timoteo Ave NW      Eagle Meadows Development         Unknown            Y
        property                                                        Albuquerque, NM 87114
        Robert W. Inch and Jennie R. Inch Trustees of the Inch Family   73487 Purselane              Marlton Square 2nd                Unknown            Y
        Trust dtd 04/19/95                                              Palm Desert, CA 92260
        Robert W. Inch and Jennie R. Inch Trustees of the Inch Family   73487 Purslane               Marlton Square 2nd                Unknown            Y
        Trust dtd 04/19/95                                              Palm Desert, CA 92260
        Robert W. Inch and Jennie R. Inch Trustees of the Inch Family   73487 Purselane              6425 Gess, LTD                    Unknown            Y
        Trust dtd 04/19/95                                              Palm Desert, CA 92260
        Robert W. Inch and Jennie R. Inch Trustees of the Inch Family   73487 Purslane               6425 Gess, LTD                    Unknown            Y
        Trust dtd 04/19/95                                              Palm Desert, CA 92260
        Robert W. Inch and Jennie R. Inch Trustees of the Inch Family   73487 Purselane              Bay Pompano Beach                 Unknown            Y
        Trust dtd 04/19/95                                              Palm Desert, CA 92260
        Robert W. Inch and Jennie R. Inch Trustees of the Inch Family   73487 Purslane               Bay Pompano Beach                 Unknown            Y
        Trust dtd 04/19/95                                              Palm Desert, CA 92260
        Robert W. Inch and Jennie R. Inch Trustees of the Inch Family   73487 Purselane              Gramercy Court Condos             Unknown            Y
        Trust dtd 04/19/95                                              Palm Desert, CA 92260
        Robert W. Inch and Jennie R. Inch Trustees of the Inch Family   73487 Purslane               Gramercy Court Condos             Unknown            Y
        Trust dtd 04/19/95                                              Palm Desert, CA 92260
        Robert W. Roberts & Donna R. Roberts, husband & wife, as joint 4708 NE. 199th Ave            Placer Vineyards                  Unknown            Y
        tenants with right of survivorship                              Vancouver, WA 98682
        Robert W. Roberts & Donna R. Roberts, husband & wife, as joint 4708 NE. 199th Ave            Margarita Annex                   Unknown            Y
        tenants with right of survivorship                              Vancouver, WA 98682
        Robert W. Roberts & Donna R. Roberts, husband & wife, as joint 4708 NE. 199th Ave            6425 Gess, LTD                    Unknown            Y
        tenants with right of survivorship                              Vancouver, WA 98682
        Robert W. Roberts & Donna R. Roberts, husband & wife, as joint 4708 NE. 199th Ave            Huntsville                        Unknown            Y
        tenants with right of survivorship                              Vancouver, WA 98682
        Robert W. Scott & Joan H. Scott Trustees of the Robert W. &     P O Box 33014                Marquis Hotel                     Unknown            Y
        Joan H. Scott Trust dated 3/22/93                               Las Vegas, NV 89133
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd           HFA-Clear Lake 2nd                Unknown            Y
        4/11/05                                                         St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd           HFA-Clear Lake 2nd                Unknown            Y
        4/11/05                                                         St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd           Shamrock Tower, LP                Unknown            Y
        4/11/05                                                         St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd           Shamrock Tower, LP                Unknown            Y
        4/11/05                                                         St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd           Placer Vineyards                  Unknown            Y
        4/11/05                                                         St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd           Placer Vineyards                  Unknown            Y
        4/11/05                                                         St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd           Lerin Hills                       Unknown            Y
        4/11/05                                                         St Marys, GA 31558




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In re            USA Commercial Mortgage Company                     ,                                                                Case No. 06-10725-LBR
                                  Debtor                                                                                                           (If known)




                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                           Description and Location of Property                                               Property


                               Legal vesting                                      Mailing Address                   Loan Name            Amount    Contingent
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd          Lerin Hills                        Unknown            Y
        4/11/05                                                       St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd          HFA- Riviera 2nd                   Unknown            Y
        4/11/05                                                       St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd          HFA- Riviera 2nd                   Unknown            Y
        4/11/05                                                       St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd          HFA- North Yonkers                 Unknown            Y
        4/11/05                                                       St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd          HFA- North Yonkers                 Unknown            Y
        4/11/05                                                       St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd          Hasley Canyon                      Unknown            Y
        4/11/05                                                       St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd          Hasley Canyon                      Unknown            Y
        4/11/05                                                       St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd          Gramercy Court Condos              Unknown            Y
        4/11/05                                                       St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd          Gramercy Court Condos              Unknown            Y
        4/11/05                                                       St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd          Fiesta Oak Valley                  Unknown            Y
        4/11/05                                                       St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd          Fiesta Oak Valley                  Unknown            Y
        4/11/05                                                       St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd          Ashby Financial $7,200,000         Unknown            Y
        4/11/05                                                       St Marys, GA 31558
        Robert W. Ulm Trustee of the Robert W. Ulm Living Trust dated 414 Morning Glory Rd          Ashby Financial $7,200,000         Unknown            Y
        4/11/05                                                       St Marys, GA 31558
        Roberta J. Lycett, a single woman                             2806 Otsego Drive             Amesbury/Hatters Point             Unknown            Y
                                                                      Oak Hill, VA 20171
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             HFA- Clear Lake                    Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             HFA- Clear Lake                    Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             Tapia Ranch                        Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             Tapia Ranch                        Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             Placer Vineyards                   Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             Placer Vineyards                   Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             HFA- North Yonkers                 Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             HFA- North Yonkers                 Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             Harbor Georgetown                  Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             Harbor Georgetown                  Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             Bay Pompano Beach                  Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             Bay Pompano Beach                  Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             6425 Gess, LTD                     Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             6425 Gess, LTD                     Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             Margarita Annex                    Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road             Margarita Annex                    Unknown            Y
        Family Trust dated 10/26/78                                   Santa Barbara, CA 93111




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In re            USA Commercial Mortgage Company                    ,                                                                      Case No. 06-10725-LBR
                                  Debtor                                                                                                                (If known)




                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                           Description and Location of Property                                                    Property


                               Legal vesting                                     Mailing Address                   Loan Name                 Amount     Contingent
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road            Brookmere/Matteson $27,050,000           Unknown         Y
        Family Trust dated 10/26/78                                  Santa Barbara, CA 93111
        Robin B. Graham & Celia Allen-Graham Trustees of the Graham 1460 Twinridge Road            Brookmere/Matteson $27,050,000           Unknown         Y
        Family Trust dated 10/26/78                                  Santa Barbara, CA 93111
        Robin B. Graham Trustee of the Graham Family Marital Trust B 1460 Twinridge Road           Brookmere/Matteson $27,050,000           Unknown         Y
        dated 2/13/97                                                Santa Barbara, CA 93111
        Robin B. Graham Trustee of the Graham Family Marital Trust B 1460 Twinridge Road           Brookmere/Matteson $27,050,000           Unknown         Y
        dated 2/13/97                                                Santa Barbara, CA 93111
        Robin E. McQuown and Brian C. McQuown, wife and husband, 2399 Brockton Way                 HFA-Clear Lake 2nd                       Unknown         Y
        as joint tenants with right of survivorship                  Henderson, NV 89074
        Rochelle Hornsby Trustee of the Rochelle Hornsby Trust dated 3959 Pembridge Ct             HFA- North Yonkers                       Unknown         Y
        1/92                                                         Las Vegas, NV 89121
        Rocklin/Redding LLC                                          278 Sussex Pl                 Fiesta Oak Valley                        Unknown         Y
                                                                     Carson City, NV 89703
        Rocklin/Redding LLC                                          278 Sussex Pl                 Fiesta Oak Valley                        Unknown         Y
                                                                     Carson City, NV 89703
        Rocklin/Redding LLC                                          278 Sussex St                 Fiesta Oak Valley                        Unknown         Y
                                                                     Carson City, NV 89702
        Rocklin/Redding LLC                                          278 Sussex Pl                 Fiesta Oak Valley                        Unknown         Y
                                                                     Carson City, NV 89701
        Rocklin/Redding LLC                                          278 Sussex Pl                 Tapia Ranch                              Unknown         Y
                                                                     Carson City, NV 89703
        Rocklin/Redding LLC                                          278 Sussex Pl                 Tapia Ranch                              Unknown         Y
                                                                     Carson City, NV 89703
        Rocklin/Redding LLC                                          278 Sussex St                 Tapia Ranch                              Unknown         Y
                                                                     Carson City, NV 89702
        Rocklin/Redding LLC                                          278 Sussex Pl                 Tapia Ranch                              Unknown         Y
                                                                     Carson City, NV 89701
        Rocklin/Redding LLC                                          278 Sussex Pl                 Riviera - Homes for America Holdings,    Unknown         Y
                                                                     Carson City, NV 89703         L.L.C.
        Rocklin/Redding LLC                                          278 Sussex Pl                 Riviera - Homes for America Holdings,    Unknown         Y
                                                                     Carson City, NV 89703         L.L.C.
        Rocklin/Redding LLC                                          278 Sussex St                 Riviera - Homes for America Holdings,    Unknown         Y
                                                                     Carson City, NV 89702         L.L.C.
        Rocklin/Redding LLC                                          278 Sussex Pl                 Riviera - Homes for America Holdings,    Unknown         Y
                                                                     Carson City, NV 89701         L.L.C.
        Rocklin/Redding LLC                                          278 Sussex Pl                 Placer Vineyards 2nd                     Unknown         Y
                                                                     Carson City, NV 89703
        Rocklin/Redding LLC                                          278 Sussex Pl                 Placer Vineyards 2nd                     Unknown         Y
                                                                     Carson City, NV 89703
        Rocklin/Redding LLC                                          278 Sussex St                 Placer Vineyards 2nd                     Unknown         Y
                                                                     Carson City, NV 89702
        Rocklin/Redding LLC                                          278 Sussex Pl                 Placer Vineyards 2nd                     Unknown         Y
                                                                     Carson City, NV 89701
        Rocklin/Redding LLC                                          278 Sussex Pl                 Marquis Hotel                            Unknown         Y
                                                                     Carson City, NV 89703
        Rocklin/Redding LLC                                          278 Sussex Pl                 Marquis Hotel                            Unknown         Y
                                                                     Carson City, NV 89703
        Rocklin/Redding LLC                                          278 Sussex St                 Marquis Hotel                            Unknown         Y
                                                                     Carson City, NV 89702
        Rocklin/Redding LLC                                          278 Sussex Pl                 Marquis Hotel                            Unknown         Y
                                                                     Carson City, NV 89701
        Rocklin/Redding LLC                                          278 Sussex Pl                 Marlton Square 2nd                       Unknown         Y
                                                                     Carson City, NV 89703
        Rocklin/Redding LLC                                          278 Sussex Pl                 Marlton Square 2nd                       Unknown         Y
                                                                     Carson City, NV 89703
        Rocklin/Redding LLC                                          278 Sussex St                 Marlton Square 2nd                       Unknown         Y
                                                                     Carson City, NV 89702
        Rocklin/Redding LLC                                          278 Sussex Pl                 Marlton Square 2nd                       Unknown         Y
                                                                     Carson City, NV 89701




SCHEDULES                                                                         Exhibit B-21                                                           PAGE 220
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In re             USA Commercial Mortgage Company                        ,                                                             Case No. 06-10725-LBR
                                    Debtor                                                                                                          (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                               Description and Location of Property                                            Property


                                 Legal vesting                                        Mailing Address                    Loan Name        Amount    Contingent
        Rocklin/Redding LLC                                              278 Sussex Pl                  Fiesta USA/Stoneridge           Unknown            Y
                                                                         Carson City, NV 89703
        Rocklin/Redding LLC                                              278 Sussex Pl                  Fiesta USA/Stoneridge           Unknown            Y
                                                                         Carson City, NV 89703
        Rocklin/Redding LLC                                              278 Sussex St                  Fiesta USA/Stoneridge           Unknown            Y
                                                                         Carson City, NV 89702
        Rocklin/Redding LLC                                              278 Sussex Pl                  Fiesta USA/Stoneridge           Unknown            Y
                                                                         Carson City, NV 89701
        Rocklin/Redding LLC                                              278 Sussex Pl                  Amesbury/Hatters Point          Unknown            Y
                                                                         Carson City, NV 89703
        Rocklin/Redding LLC                                              278 Sussex Pl                  Amesbury/Hatters Point          Unknown            Y
                                                                         Carson City, NV 89703
        Rocklin/Redding LLC                                              278 Sussex St                  Amesbury/Hatters Point          Unknown            Y
                                                                         Carson City, NV 89702
        Rocklin/Redding LLC                                              278 Sussex Pl                  Amesbury/Hatters Point          Unknown            Y
                                                                         Carson City, NV 89701
        Rocklin/Redding LLC                                              278 Sussex Pl                  Lerin Hills                     Unknown            Y
                                                                         Carson City, NV 89703
        Rocklin/Redding LLC                                              278 Sussex Pl                  Lerin Hills                     Unknown            Y
                                                                         Carson City, NV 89703
        Rocklin/Redding LLC                                              278 Sussex St                  Lerin Hills                     Unknown            Y
                                                                         Carson City, NV 89702
        Rocklin/Redding LLC                                              278 Sussex Pl                  Lerin Hills                     Unknown            Y
                                                                         Carson City, NV 89701
        Rocklin/Redding LLC                                              278 Sussex Pl                  Goss Road                       Unknown            Y
                                                                         Carson City, NV 89703
        Rocklin/Redding LLC                                              278 Sussex Pl                  Goss Road                       Unknown            Y
                                                                         Carson City, NV 89703
        Rocklin/Redding LLC                                              278 Sussex St                  Goss Road                       Unknown            Y
                                                                         Carson City, NV 89702
        Rocklin/Redding LLC                                              278 Sussex Pl                  Goss Road                       Unknown            Y
                                                                         Carson City, NV 89701
        Roderick J. Harvey, Sr. and Pauline W. Harvey, Trustees of the   2932 Eaglestone Circle         6425 Gess, LTD                  Unknown            Y
        Harvey Family Trust, dated 4/13-                                 Las Vegas, NV 89128
        Roderick J. Harvey, Sr. and Pauline W. Harvey, Trustees of the   2932 Eaglestone Circle         Marlton Square                  Unknown            Y
        Harvey Family Trust, dated 4/13/87                               Las Vegas, NV 89128
        Roderick W. Lins                                                 1502 Stanford Drive            Margarita Annex                 Unknown            Y
                                                                         Carson City, NV 89701
        Roderick W. Lins                                                 1502 Stanford Drive            BarUSA/$15,300,000              Unknown            Y
                                                                         Carson City, NV 89701
        Rodney C. Hulse and Cathryn J. Hulse, trustees of the Hulse      355 East 1100 South            HFA- Clear Lake                 Unknown            Y
        Family Trust                                                     Mapleton, UT 84664
        Rodney C. Hulse and Cathryn J. Hulse, trustees of the Hulse      355 East 1100 South            Cabernet                        Unknown            Y
        Family Trust                                                     Mapleton, UT 84664
        Rodney C. Hulse and Cathryn J. Hulse, trustees of the Hulse      355 East 1100 South            Tapia Ranch                     Unknown            Y
        Family Trust                                                     Mapleton, UT 84664
        Rodney C. Hulse and Cathryn J. Hulse, trustees of the Hulse      355 East 1100 South            Marlton Square                  Unknown            Y
        Family Trust                                                     Mapleton, UT 84664
        Rodney C. Hulse and Cathryn J. Hulse, trustees of the Hulse      355 East 1100 South            Gramercy Court Condos           Unknown            Y
        Family Trust                                                     Mapleton, UT 84664
        Rodney C. Hulse and Cathryn J. Hulse, trustees of the Hulse      355 East 1100 South            Placer Vineyards                Unknown            Y
        Family Trust                                                     Mapleton, UT 84664
        Rodney G. Huppi & Virginia M. Huppi Trustees of the Huppi        378 Odin Place                 Amesbury/Hatters Point          Unknown            Y
        Trust dated 1/30/92                                              Pleasant Hill, CA 94523
        Rodney G. Huppi & Virginia M. Huppi Trustees of the Huppi        378 Odin Place                 BarUSA/$15,300,000              Unknown            Y
        Trust dated 1/30/92                                              Pleasant Hill, CA 94523
        Rodney G. Huppi & Virginia M. Huppi Trustees of the Huppi        378 Odin Place                 Gramercy Court Condos           Unknown            Y
        Trust dated 1/30/92                                              Pleasant Hill, CA 94523
        Rodney G. Huppi & Virginia M. Huppi Trustees of the Huppi        378 Odin Place                 HFA- North Yonkers              Unknown            Y
        Trust dated 1/30/92                                              Pleasant Hill, CA 94523




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In re             USA Commercial Mortgage Company                         ,                                                                     Case No. 06-10725-LBR
                                      Debtor                                                                                                                 (If known)




                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                 Current Market Value of
                                                                                                                                                   Debtor's Interest in
                                                               Description and Location of Property                                                     Property


                                 Legal vesting                                        Mailing Address                   Loan Name                 Amount     Contingent
        Rodney G. Huppi & Virginia M. Huppi Trustees of the Huppi         378 Odin Place                6425 Gess, LTD                           Unknown         Y
        Trust dated 1/30/92                                               Pleasant Hill, CA 94523
        Rodney J. Arbogast & Donna Arbogast Trustees of the Arbogast      C/O Outdoor Resorts           Eagle Meadows Development                Unknown         Y
        Family Trust                                                      8175 Arville St # 166
                                                                          Las Vegas, NV 89139
        Rodney J. Arbogast & Donna Arbogast Trustees of the Arbogast      C/O Outdoor Resorts           Fiesta Oak Valley                        Unknown         Y
        Family Trust                                                      8175 Arville St # 166
                                                                          Las Vegas, NV 89139
        Rodney J. Arbogast & Donna Arbogast Trustees of the Arbogast      C/O Outdoor Resorts           Gateway Stone                            Unknown         Y
        Family Trust                                                      8175 Arville St # 166
                                                                          Las Vegas, NV 89139
        Rodney J. Arbogast & Donna Arbogast Trustees of the Arbogast      C/O Outdoor Resorts           HFA- North Yonkers                       Unknown         Y
        Family Trust                                                      8175 Arville St # 166
                                                                          Las Vegas, NV 89139
        Rodney J. Arbogast & Donna Arbogast Trustees of the Arbogast      C/O Outdoor Resorts           Lerin Hills                              Unknown         Y
        Family Trust                                                      8175 Arville St # 166
                                                                          Las Vegas, NV 89139
        Rodney L. Roloff & Sharyn A. Roloff Trustees of the R & S         1319 Stony Brook Lane         Lerin Hills                              Unknown         Y
        Roloff Trust dated 9/20/03                                        Pleasanton, CA 94566
        Roger C. Bruce, a single man                                      7825 Geyser Hill Lane         Placer Vineyards                         Unknown         Y
                                                                          Las Vegas, NV 89147
        Roger C. Bruce, a single man                                      7825 Geyser Hill Lane         Brookmere/Matteson $27,050,000           Unknown         Y
                                                                          Las Vegas, NV 89147
        Roger C. Phillips and Joann Phillips, Trustees of The Roger and   7132 Oakcreek Drive           Marlton Square 2nd                       Unknown         Y
        Joann Phillips Revocable 2001 Trust                               Stockton, CA 95207
        Roger L. Ghormley & Frances L. Ghormley, husband & wife, as       2770 Harbor Hills Lane        HFA- North Yonkers                       Unknown         Y
        joint tenants with right of survivorship                          Las Vegas, NV 89117
        Roger L. Ghormley & Frances L. Ghormley, husband & wife, as       2770 Harbor Hills Lane        Brookmere/Matteson $27,050,000           Unknown         Y
        joint tenants with right of survivorship                          Las Vegas, NV 89117
        Roger L. Janssen, a widower                                       16600 92nd Ave. N, #324       Amesbury/Hatters Point                   Unknown         Y
                                                                          Maple Grove, MN 55311
        Roger L. Janssen, a widower                                       16600 92nd Ave. N, #324       Tapia Ranch                              Unknown         Y
                                                                          Maple Grove, MN 55311
        Roger L. Janssen, a widower                                       16600 92nd Ave. N, #324       Shamrock Tower, LP                       Unknown         Y
                                                                          Maple Grove, MN 55311
        Roger L. Janssen, a widower                                       16600 92nd Ave. N, #324       BarUSA/$15,300,000                       Unknown         Y
                                                                          Maple Grove, MN 55311
        Roger L. Janssen, a widower                                       16600 92nd Ave. N, #324       Riviera - Homes for America Holdings,    Unknown         Y
                                                                          Maple Grove, MN 55311         L.L.C.
        Roger Marvin Bryan and Ann T. Bryan, Trustees of The Bryan        1644 N Palo Verde Drive       Riviera - Homes for America Holdings,    Unknown         Y
        Family Trust dated August 19, 1992                                St George, UT 84770           L.L.C.
        Roger Marvin Bryan and Ann T. Bryan, Trustees of The Bryan        1644 N Palo Verde Drive       Marquis Hotel                            Unknown         Y
        Family Trust dated August 19, 1992                                St George, UT 84770
        Roger N. Havekost, a married man dealing with his sole &          204 N Blue Ridge Trail        Bay Pompano Beach                        Unknown         Y
        separate property                                                 Horseshoe Bay, TX 78657
        Roger N. Havekost, a married man dealing with his sole &          204 N Blue Ridge Trail        Gateway Stone                            Unknown         Y
        separate property                                                 Horseshoe Bay, TX 78657
        Roger N. Havekost, a married man dealing with his sole &          204 N Blue Ridge Trail        BarUSA/$15,300,000                       Unknown         Y
        separate property                                                 Horseshoe Bay, TX 78657
        Roger N. Havekost, a married man dealing with his sole &          204 N Blue Ridge Trail        Placer Vineyards                         Unknown         Y
        separate property                                                 Horseshoe Bay, TX 78657
        Roger Najarian & Janice Najarian Trustees of The Najarian         8320 Sedona Sunrise Dr        Ashby Financial $7,200,000               Unknown         Y
        Family Revocable Living Trust dated 7/9/04                        Las Vegas, NV 89128
        Roger Najarian & Janice Najarian Trustees of The Najarian         8320 Sedona Sunrise Dr        HFA- North Yonkers                       Unknown         Y
        Family Revocable Living Trust dated 7/9/04                        Las Vegas, NV 89128
        Roger Najarian & Janice Najarian Trustees of The Najarian         8320 Sedona Sunrise Dr        Bay Pompano Beach                        Unknown         Y
        Family Revocable Living Trust dated 7/9/04                        Las Vegas, NV 89128
        Roger Najarian & Janice Najarian Trustees of The Najarian         8320 Sedona Sunrise Dr        Brookmere/Matteson $27,050,000           Unknown         Y
        Family Revocable Living Trust dated 7/9/04                        Las Vegas, NV 89128




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In re             USA Commercial Mortgage Company                          ,                                                               Case No. 06-10725-LBR
                                    Debtor                                                                                                              (If known)




                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                    EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                               Description and Location of Property                                                Property


                                 Legal vesting                                         Mailing Address                     Loan Name         Amount     Contingent
        Roger Noorthoek, an unmarried man                                  13910 Northwest Passage #106   Amesbury/Hatters Point            Unknown         Y
                                                                           Marina Del Rey, CA 90292
        Roger Noorthoek, an unmarried man                                  13910 Northwest Passage #106   Bay Pompano Beach                 Unknown         Y
                                                                           Marina Del Rey, CA 90292
        Roger Noorthoek, an unmarried man                                  13910 Northwest Passage #106   Fiesta USA/Stoneridge             Unknown         Y
                                                                           Marina Del Rey, CA 90292
        Roger Noorthoek, an unmarried man                                  13910 Northwest Passage #106   Hasley Canyon                     Unknown         Y
                                                                           Marina Del Rey, CA 90292
        Roger Noorthoek, an unmarried man                                  13910 Northwest Passage #106   6425 Gess, LTD                    Unknown         Y
                                                                           Marina Del Rey, CA 90292
        Roger Scott Anderson & Tiffiny Leigh Anderson, husband &           116 Newcastle Drive            Amesbury/Hatters Point            Unknown         Y
        wife, as joint tenants with right of survivorship                  Jacksonville, NC 28540
        Roger Scott Anderson & Tiffiny Leigh Anderson, husband &           116 Newcastle Drive            Placer Vineyards 2nd              Unknown         Y
        wife, as joint tenants with right of survivorship                  Jacksonville, NC 28540
        Rogie C. Madlambayan, a single man                                 29 Olive Tree Court            Fiesta Oak Valley                 Unknown         Y
                                                                           Henderson, NV 89074
        Rogie C. Madlambayan, a single man                                 29 Olive Tree Court            Fiesta Oak Valley                 Unknown         Y
                                                                           Henderson, NV 89074
        Rogie C. Madlambayan, a single man                                 29 Olive Tree Court            Opaque/Mt. Edge $7,350,000        Unknown         Y
                                                                           Henderson, NV 89074
        Rogie C. Madlambayan, a single man                                 29 Olive Tree Court            Opaque/Mt. Edge $7,350,000        Unknown         Y
                                                                           Henderson, NV 89074
        Roland Chavez, Administrator of the Roland Chavez & Assoc.,        5 Falkner Drive                Marlton Square                    Unknown         Y
        Inc. Defined Benefit Pension Plan                                  Ladera Ranch, CA 92694
        Ron L. Moskowitz                                                   4724 Mascagni St               Amesbury/Hatters Point            Unknown         Y
                                                                           Ventura, Ca 93003
        Ron L. Moskowitz                                                   4724 Mascagni St               Opaque/Mt. Edge $7,350,000        Unknown         Y
                                                                           Ventura, Ca 93003
        Ron L. Moskowitz                                                   4724 Mascagni St               Hasley Canyon                     Unknown         Y
                                                                           Ventura, Ca 93003
        Ron L. Moskowitz                                                   4724 Mascagni St               Brookmere/Matteson $27,050,000    Unknown         Y
                                                                           Ventura, Ca 93003
        Ronald A. Johnson & Marilyn Johnson, husband & wife, as joint      50 Snyder Way                  Bay Pompano Beach                 Unknown         Y
        tenants with right of survivorship                                 Sparks, NV 89431
        Ronald A. Johnson & Marilyn Johnson, husband & wife, as joint      50 Snyder Way                  Bay Pompano Beach                 Unknown         Y
        tenants with right of survivorship                                 Sparks, NV 89431
        Ronald A. Johnson & Marilyn Johnson, husband & wife, as joint      50 Snyder Way                  Bay Pompano Beach                 Unknown         Y
        tenants with right of survivorship                                 Sparks, NV 89431
        Ronald A. Johnson & Marilyn Johnson, husband & wife, as joint      50 Snyder Way                  Bay Pompano Beach                 Unknown         Y
        tenants with right of survivorship                                 Sparks, NV 89431
        Ronald A. Johnson & Marilyn Johnson, husband & wife, as joint      50 Snyder Way                  Eagle Meadows Development         Unknown         Y
        tenants with right of survivorship                                 Sparks, NV 89431
        Ronald A. Johnson & Marilyn Johnson, husband & wife, as joint      50 Snyder Way                  Eagle Meadows Development         Unknown         Y
        tenants with right of survivorship                                 Sparks, NV 89431
        Ronald A. Johnson & Marilyn Johnson, husband & wife, as joint      50 Snyder Way                  Eagle Meadows Development         Unknown         Y
        tenants with right of survivorship                                 Sparks, NV 89431
        Ronald A. Johnson & Marilyn Johnson, husband & wife, as joint      50 Snyder Way                  Eagle Meadows Development         Unknown         Y
        tenants with right of survivorship                                 Sparks, NV 89431
        Ronald A. Johnson Trustee of the Burgarello, Inc. Profit Sharing   50 Snyder Way                  Gateway Stone                     Unknown         Y
        Plan                                                               Sparks, NV 89431
        Ronald A. Johnson Trustee of the Burgarello, Inc. Profit Sharing   50 Snyder Way                  Gateway Stone                     Unknown         Y
        Plan                                                               Sparks, NV 89431
        Ronald A. Johnson Trustee of the Burgarello, Inc. Profit Sharing   50 Snyder Way                  Gateway Stone                     Unknown         Y
        Plan                                                               Sparks, NV 89431
        Ronald A. Johnson Trustee of the Burgarello, Inc. Profit Sharing   50 Snyder Way                  Gateway Stone                     Unknown         Y
        Plan                                                               Sparks, NV 89431
        Ronald A. Johnson Trustee of the Burgarello, Inc. Profit Sharing   50 Snyder Way                  Wasco Investments                 Unknown         Y
        Plan                                                               Sparks, NV 89431
        Ronald A. Johnson Trustee of the Burgarello, Inc. Profit Sharing   50 Snyder Way                  Wasco Investments                 Unknown         Y
        Plan                                                               Sparks, NV 89431




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In re             USA Commercial Mortgage Company                          ,                                                           Case No. 06-10725-LBR
                                    Debtor                                                                                                          (If known)




                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                    EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                               Description and Location of Property                                            Property


                                 Legal vesting                                     Mailing Address                     Loan Name          Amount    Contingent
        Ronald A. Johnson Trustee of the Burgarello, Inc. Profit Sharing50 Snyder Way                 Wasco Investments                 Unknown            Y
        Plan                                                            Sparks, NV 89431
        Ronald A. Johnson Trustee of the Burgarello, Inc. Profit Sharing50 Snyder Way                 Wasco Investments                 Unknown            Y
        Plan                                                            Sparks, NV 89431
        Ronald A. Johnson Trustee of the C. I. B. B., Inc. Pension Plan 50 Snyder Way                 Eagle Meadows Development         Unknown            Y
                                                                        Sparks, NV 89431
        Ronald A. Johnson Trustee of the C. I. B. B., Inc. Pension Plan 50 Snyder Way                 Eagle Meadows Development         Unknown            Y
                                                                        Sparks, NV 89431
        Ronald A. Johnson Trustee of the C. I. B. B., Inc. Pension Plan 50 Snyder Way                 Eagle Meadows Development         Unknown            Y
                                                                        Sparks, NV 89431
        Ronald A. Johnson Trustee of the C. I. B. B., Inc. Pension Plan 50 Snyder Way                 Eagle Meadows Development         Unknown            Y
                                                                        Sparks, NV 89431
        Ronald A. Kantor and Ruth E. Kantor, Trustees of the Kantor     1921 N Beverly Drive          HFA- Clear Lake                   Unknown            Y
        Family Trust, dated 5/6/82                                      Beverly Hills, CA 90210
        Ronald Abrams & Claire Abrams Trustees of the Ronald Abrams 9665 Wilshire Blvd Ste 101        BarUSA/$15,300,000                Unknown            Y
        Enterprises Inc. Employee Retirement Trust                      Beverly Hills, CA 90212
        Ronald C. Busk Trustee of the Ronald C. Busk Separate Property 10624 S Eastern Avenue A161    Amesbury/Hatters Point            Unknown            Y
        Trust dated 3/1/01                                              Henderson, NV 89052
        Ronald C. Busk Trustee of the Ronald C. Busk Separate Property 10624 S Eastern Avenue A161    Margarita Annex                   Unknown            Y
        Trust dated 3/1/01                                              Henderson, NV 89052
        Ronald D. Powell and Jane A. Powell, Trustees of the Powell     4820 W Hidden Valley Dr       Amesbury/Hatters Point            Unknown            Y
        Family Trust dated 09/01/05                                     Reno, NV 89502
        Ronald D. Powell and Jane A. Powell, Trustees of the Powell     4820 W Hidden Valley Dr       Golden State Investments II       Unknown            Y
        Family Trust dated 09/01/05                                     Reno, NV 89502
        Ronald Douglas Neal, a married man, dealing with his sole and   22853 Boxwood Lane            Gramercy Court Condos             Unknown            Y
        separate property                                               Saugus, CA 91390
        Ronald F. Ryan and Mary A. Ryan, husband and wife as joint      217 Pancho Via Dr             Gilroy                            Unknown            Y
        tenants with the right of survivorship                          Henderson, NV 89012
        Ronald G. Finkel & Karen B. Finkel, husband & wife, as joint    32158 Beachlake Lane          Marlton Square                    Unknown            Y
        tenants with right of survivorship                              Westlake Village, CA 91361
        Ronald G. Finkel & Karen B. Finkel, husband & wife, as joint    32158 Beachlake Lane          Marlton Square                    Unknown            Y
        tenants with right of survivorship                              Westlake Village, CA 91361
        Ronald G. Finkel & Karen B. Finkel, husband & wife, as joint    32158 Beachlake Lane          HFA- North Yonkers                Unknown            Y
        tenants with right of survivorship                              Westlake Village, CA 91361
        Ronald G. Finkel & Karen B. Finkel, husband & wife, as joint    32158 Beachlake Lane          HFA- North Yonkers                Unknown            Y
        tenants with right of survivorship                              Westlake Village, CA 91361
        Ronald G. Finkel & Karen B. Finkel, husband & wife, as joint    32158 Beachlake Lane          BarUSA/$15,300,000                Unknown            Y
        tenants with right of survivorship                              Westlake Village, CA 91361
        Ronald G. Finkel & Karen B. Finkel, husband & wife, as joint    32158 Beachlake Lane          BarUSA/$15,300,000                Unknown            Y
        tenants with right of survivorship                              Westlake Village, CA 91361
        Ronald G. Finkel & Karen B. Finkel, husband & wife, as joint    32158 Beachlake Lane          6425 Gess, LTD                    Unknown            Y
        tenants with right of survivorship                              Westlake Village, CA 91361
        Ronald G. Finkel & Karen B. Finkel, husband & wife, as joint    32158 Beachlake Lane          6425 Gess, LTD                    Unknown            Y
        tenants with right of survivorship                              Westlake Village, CA 91361
        Ronald G. Gardner Trustee of the Ronald G. Gardner Trust        430 Bavarian Drive            Fiesta USA/Stoneridge             Unknown            Y
                                                                        Carson City, NV 89705
        Ronald G. Gardner Trustee of the Ronald G. Gardner Trust        430 Bavarian Drive            Gramercy Court Condos             Unknown            Y
                                                                        Carson City, NV 89705
        Ronald G. Gardner Trustee of the Ronald G. Gardner Trust        430 Bavarian Drive            Huntsville                        Unknown            Y
                                                                        Carson City, NV 89705
        Ronald Gene Brown & Jagoda Brown, husband & wife, as joint P O Box 7006                       Tapia Ranch                       Unknown            Y
        tenants with right of survivorship                              Menlo Park, CA 94026
        Ronald Gene Brown & Jagoda Brown, husband & wife, as joint P O Box 7006                       HFA- North Yonkers                Unknown            Y
        tenants with right of survivorship                              Menlo Park, CA 94026
        Ronald Goldman & Barbara Goldman, Trustees of the Goldman 1717 Montana Avenue                 Bay Pompano Beach                 Unknown            Y
        Family Trust dated 10/29/93                                     Santa Monica, CA 90403
        Ronald J. Anthony & Nadine Anthony Trustees of The Anthony 1717 Pepper Street                 Freeway 101                       Unknown            Y
        Family Living Trust                                             Burbank, CA 91505
        Ronald K. Montesano Trustee for the benefit of The Underpass    5121 Big River Ave            Fiesta Oak Valley                 Unknown            Y
        Trust                                                           Las Vegas, NV 89130




SCHEDULES                                                                           Exhibit B-21                                                      PAGE 224
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In re            USA Commercial Mortgage Company                        ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                              Description and Location of Property                                              Property


                                 Legal vesting                                       Mailing Address                   Loan Name          Amount     Contingent
        Ronald K. Montesano Trustee for the benefit of The Underpass      5121 Big River Ave           Harbor Georgetown                 Unknown          Y
        Trust                                                             Las Vegas, NV 89130
        Ronald K. Montesano Trustee for the benefit of The Underpass      5121 Big River Ave           HFA- Clear Lake                   Unknown          Y
        Trust                                                             Las Vegas, NV 89130
        Ronald K. Peters Trustee of the Peters Family Trust dated 7/22/00 531 Cambrian Way             BarUSA/$15,300,000                Unknown          Y
                                                                          Danville, CA 94526
        Ronald K. Peters Trustee of the Peters Family Trust dated 7/22/00 531 Cambrian Way             BarUSA/$15,300,000                Unknown          Y
                                                                          Danville , CA 94526
        Ronald K. Peters Trustee of the Peters Family Trust dated 7/22/00 531 Cambrian Way             Gilroy                            Unknown          Y
                                                                          Danville, CA 94526
        Ronald K. Peters Trustee of the Peters Family Trust dated 7/22/00 531 Cambrian Way             Gilroy                            Unknown          Y
                                                                          Danville , CA 94526
        Ronald Kreykes & Linda Kreykes, husband & wife, as tenants in 4928 Wind Hill Court West        Bay Pompano Beach                 Unknown          Y
        common                                                            Ft Worth, TX 76179
        Ronald Kreykes & Linda Kreykes, husband & wife, as tenants in 4928 Wind Hill Court West        Shamrock Tower, LP                Unknown          Y
        common                                                            Ft Worth, TX 76179
        Ronald Kreykes & Linda Kreykes, husband & wife, as tenants in 4928 Wind Hill Court West        Placer Vineyards                  Unknown          Y
        common                                                            Ft Worth, TX 76179
        Ronald Kreykes & Linda Kreykes, husband & wife, as tenants in 4928 Wind Hill Court West        HFA- North Yonkers                Unknown          Y
        common                                                            Ft Worth, TX 76179
        Ronald Kreykes & Linda Kreykes, husband & wife, as tenants in 4928 Wind Hill Court West        Gramercy Court Condos             Unknown          Y
        common                                                            Ft Worth, TX 76179
        Ronald Kreykes & Linda Kreykes, husband & wife, as tenants in 4928 Wind Hill Court West        Amesbury/Hatters Point            Unknown          Y
        common                                                            Ft Worth, TX 76179
        Ronald Kreykes & Linda Kreykes, husband & wife, as tenants in 4928 Wind Hill Court West        Harbor Georgetown                 Unknown          Y
        common                                                            Ft Worth, TX 76179
        Ronald Kreykes & Linda Kreykes, husband & wife, as tenants in 4928 Wind Hill Court West        Brookmere/Matteson $27,050,000    Unknown          Y
        common                                                            Ft Worth, TX 76179
        Ronald M. Addy & Priscilla K. Addy, husband & wife, as joint      P. O. Box 9550               Bay Pompano Beach                 Unknown          Y
        tenants with right of survivorship                                Bend, OR 97708
        Ronald M. Addy & Priscilla K. Addy, husband & wife, as joint      P. O. Box 9550               Castaic Partners II, LLC          Unknown          Y
        tenants with right of survivorship                                Bend, OR 97708
        Ronald M. Addy & Priscilla K. Addy, husband & wife, as joint      P. O. Box 9550               Gateway Stone                     Unknown          Y
        tenants with right of survivorship                                Bend, OR 97708
        Ronald M. Cetovick and Barbara Cetovick, husband and wife, as 2410 Sunburst View St            Lerin Hills                       Unknown          Y
        joint tenants with the rights of survivorship                     Henderson, NV 89052
        Ronald Noel, a single man                                         7 Red Fox Lane               Marlton Square 2nd                Unknown          Y
                                                                          Flagler Beach, FL 32136
        Ronald Norman Cazier & Karen Rae Cazier Trustees of the           3053 S Sweetgum Way          HFA- Clear Lake                   Unknown          Y
        Ronald Norman Cazier & Karen Rae Cazier Family Trust dated St George, UT 84790
        3/9/00
        Ronald Norman Cazier & Karen Rae Cazier Trustees of the           3053 S Sweetgum Way          Amesbury/Hatters Point            Unknown          Y
        Ronald Norman Cazier & Karen Rae Cazier Family Trust dated St George, UT 84790
        3/9/00
        Ronald O. Dixon & Heidi R. Dixon, husband & wife, as joint        210 N Mall Dr Unit 78        Placer Vineyards                  Unknown          Y
        tenants with right of survivorship                                St George, UT 84790
        Ronald O. Dixon & Heidi R. Dixon, husband & wife, as joint        210 N. Mall Drive Unit 78    Placer Vineyards                  Unknown          Y
        tenants with right of survivorship                                St. George, UT 84790
        Ronald R. Carter & Leslie A. Carter Trustees of the Ronald R.     6508 Anasazi NE              HFA- Windham                      Unknown          Y
        Carter & Leslie A. Carter Revocable Trust dated 10/24/91          Albuquerque, NM 87111
        Ronald R. Carter & Leslie A. Carter Trustees of the Ronald R.     6508 Anasazi NE              Placer Vineyards                  Unknown          Y
        Carter & Leslie A. Carter Revocable Trust dated 10/24/91          Albuquerque, NM 87111
        Ronald R. Carter & Leslie A. Carter Trustees of the Ronald R.     6508 Anasazi NE              Lerin Hills                       Unknown          Y
        Carter & Leslie A. Carter Revocable Trust dated 10/24/91          Albuquerque, NM 87111
        Ronald R. Carter & Leslie A. Carter Trustees of the Ronald R.     6508 Anasazi NE              HFA- Riviera 2nd                  Unknown          Y
        Carter & Leslie A. Carter Revocable Trust dated 10/24/91          Albuquerque, NM 87111
        Ronald R. Carter & Leslie A. Carter Trustees of the Ronald R.     6508 Anasazi NE              Freeway 101                       Unknown          Y
        Carter & Leslie A. Carter Revocable Trust dated 10/24/91          Albuquerque, NM 87111
        Ronald R. Carter & Leslie A. Carter Trustees of the Ronald R.     6508 Anasazi NE              Eagle Meadows Development         Unknown          Y
        Carter & Leslie A. Carter Revocable Trust dated 10/24/91          Albuquerque, NM 87111




SCHEDULES                                                                             Exhibit B-21                                                    PAGE 225
